           Case 2:19-cv-01560-JAD-VCF Document 53 Filed 11/10/20 Page 1 of 91




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                                       UNITED STATES DISTRICT COURT
8
                                             DISTRICT OF NEVADA
9

10   UNITED STATES OF AMERICA ex rel.                      Case No.: 2:19-cv-01560-JAD-VCF
     TALI ARIK, M.D.
11
                      Plaintiffs/Relators,
12                                                         SECOND AMENDED COMPLAINT
     vs.                                                   FOR  VIOLATIONS    OF  THE
13
                                                           FEDERAL FALSE CLAIMS ACT
14   DVH HOSPITAL ALLIANCE, LLC, d/b/a
     DESERT VIEW HOSPITAL; VALLEY                                            &
15   HEALTH SYSTEM LLC, d/b/a THE
     VALLEY HEALTH SYSTEM; UNIVERSAL                              JURY TRIAL DEMANDED
16   HEALTH    SERVICES,   INC.;   VISTA
     HEALTH MIRZA, M.D. P.C. d/b/a VISTA
17
     HEALTH; and IRFAN MIRZA, M.D.
18

19                    Defendants,

20
                                                      I.
21

22                                           INTRODUCTION

23            1.   This case involves a widespread, massive, intentional, and fraudulent billing scheme to
24   defraud the Medicare and Medicaid health insurance programs by Defendants DVH Hospital Alliance,
25
     LLC, d/b/a Desert View Hospital; Valley Health System LLC, d/b/a The Valley Health System;
26
     Universal Health Services, Inc.; Vista Health Mirza, M.D. P.C., d/b/a Vista Health; and Irfan Mirza,
27
     M.D.
28

                                                  Page 1 of 91
         Case 2:19-cv-01560-JAD-VCF Document 53 Filed 11/10/20 Page 2 of 91




             2.     This action arises under the Federal False Claims Act, 31 U.S.C. §§ 3729, et seq. (the
1

2    “False Claims Act”).

3            3.     This Honorable Court has jurisdiction over this case pursuant to 31 U.S.C. §§ 3730(b)

4    and 3732(a).
5            4.     This Honorable Court also has jurisdiction over this case pursuant to 31 U.S.C. § 1331.
6
             5.     This action is not based on a public disclosure.
7
             6.     The operative allegations are based on the Relators’ direct knowledge.
8
             7.     Venue is proper in this District pursuant to 31 U.S.C. § 3732(a) because the Defendants
9

10   transact business in this District and because most, if not all, of the acts and omissions of which

11   Relator complains occurred in this District.

12           8.     As required by 31 U.S.C. § 3730(b)(2), Relators have provided to the Attorney General
13
     of the United States and the United States Attorney for the District of Nevada a statement of material
14
     evidence and information that Relators possess regarding this Complaint.
15
             9.     Because the statement includes attorney-client communications and work product of
16
     Relators’ counsel and was submitted to the Attorney General of the United States and the United
17

18   States Attorney, in their capacity as potential co-counsel in this litigation, the Relators understand the

19   subject statement to be confidential.

20                                                      II.
21
                                                  THE PARTIES
22
             10.    Relator Tali Arik, M.D. (“Dr. Arik”), is a resident of the State of Nevada and has been
23
     a board-certified cardiologist since 1987.
24
             11.    In or about January 2005, Dr. Arik began practicing medicine, in the field of
25

26   cardiology, in Pahrump, Nevada.

27

28

                                                    Page 2 of 91
        Case 2:19-cv-01560-JAD-VCF Document 53 Filed 11/10/20 Page 3 of 91




             12.   On or about November 15, 2015, Dr. Arik began seeing cardiac patients at Desert View
1

2    Hospital, the only hospital in Nye County, Nevada, which serves a rural population of approximately

3    forty-five thousand (45,000) people.

4            13.   From January 1, 2018 to December 31, 2018, Dr. Arik (who had completed residency
5    in internal medicine and a fellowship in cardiology) served as Medical Chief of Staff at Desert View
6
     Hospital.
7
             14.   The United States of America (the “United States”) provides reimbursement to Desert
8
     View Hospital for claims and requests for payment under Medicare, Champus, and Tricare.
9

10           15.   The United States also pays for a significant portion of claims and requests for

11   payments that are made to the Medicaid program of the State of Nevada.

12           16.   DVH Hospital Alliance, LLC, d/b/a Desert View Hospital (“Desert View Hospital”) is
13
     a Delaware corporation, which owns, operates, and does business as Desert View Hospital, a Critical
14
     Access Hospital in Pahrump, Nevada.
15
             17.    Valley Health System LLC, d/b/a The Valley Health System (“Valley Health”) is a
16
     Delaware Limited Liability Company.
17

18           18.   Based on information and belief, in or about August 2016, Valley Health acquired

19   Desert Valley Hospital.

20           19.   Based on information and belief, Universal Health Services, Inc. (“Universal Health”)
21
     is a foreign corporation and is the parent company of Valley Health and Desert View Hospital.
22
             20.   Since the acquisition of Desert View Hospital in or about August 2016, Valley Health
23
     and Universal Health have taken an active role in managing and directing the billing for medical
24
     services provided by Desert View Hospital to state and federally funded health insurance programs.
25

26           21.   Based on information and belief, there exists, and at all relevant times there existed, a

27   unity of interest and ownership between Defendants Desert View Hospital, Valley Health, and

28

                                                  Page 3 of 91
           Case 2:19-cv-01560-JAD-VCF Document 53 Filed 11/10/20 Page 4 of 91




     Universal Health such that any individuality and separateness between Desert View Hospital, Valley
1

2    Health, and Universal Health does not exist.

3             22.   Based on information and belief, Valley Health and Universal Health are the alter egos

4    of Desert View Hospital. Valley Health and Universal Health have been dominating and controlling
5    the business and daily operations of Desert View Hospital. Adherence to the fiction of the separate
6
     existence of Desert View Hospital, Valley Health, and Universal Health would permit an abuse of the
7
     corporate privilege, sanction fraud, and promote injustice.
8
              23.   Vista Health Mirza, M.D., P.C., d/b/a Vista Health (“Vista Health”) is a domestic
9

10   professional corporation.

11            24.   Since approximately January 10, 2019 to the present, Vista Health has provided

12   hospitalist services at Desert View Hospital pursuant to a Hospitalist Services Agreement.
13
              25.   Irfan Mirza, M.D. (“Dr. Mirza”) is a resident of the State of Nevada and is an
14
     officer/employee/agent of Vista Health.
15
              26.   Since approximately January 10, 2019, Dr. Mirza has provided hospitalist services at
16
     Desert View Hospital.
17

18            27.   Based on information and belief, there exists, and at all relevant times there existed, a

19   unity of interest and ownership between Defendants Vista Health and Dr. Mirza such that any

20   individuality and separateness between Vista Health and Dr. Mirza does not exist.
21
              28.   Based on information and belief, Dr. Mirza is the alter ego of Vista Health. Dr. Mirza
22
     has been dominating and controlling the business and daily operations of Vista Health. Adherence to
23
     the fiction of the separate existence of Vista Health would permit an abuse of the corporate privilege,
24
     sanction fraud, and promote injustice.
25

26   ///

27   ///

28   ///

                                                    Page 4 of 91
        Case 2:19-cv-01560-JAD-VCF Document 53 Filed 11/10/20 Page 5 of 91




                                                       III.
1

2                                        THE FALSE CLAIMS ACT

3           29.    In salient part, the False Claims Act provides that any person who:

4                  A. knowingly presents, or causes to be             presented,    a   false or
                      fraudulent claim for payment or approval;
5

6                  B. knowingly makes, uses, or causes to be made or used, a false record
                      or statement material to a false or fraudulent claim;
7
                   C. conspires to commit a violation of subparagraph (A), (B), (D), (E), (F),
8                     or (G)
9    31 U.S.C. §§ 3729(a)(1)(A)-(C)(emphases added).
10          30.    The term, “claim:”
11
                   (A) means any request or demand, whether under a contract or otherwise,
12                     for money or property and whether or not the United States has title to
                       the money or property, that—
13                         (i) is presented to an officer, employee, or agent of the United
                       States; or
14                         (ii) is made to a contractor, grantee, or other recipient, if the money
                       or property is to be spent or used on the Government’s behalf or to
15
                       advance a Government program or interest, and if the United States
16                     Government—
                                    (I)    provides or has provided any portion of the money
17                                         or property requested or demanded; or
                                    (II)   will reimburse such contractor, grantee, or other
18                                         recipient for any portion of the money or other
                                           property which is requested or demanded; and
19
                   ...
20
     31 U.S.C. §§ 3729(b)(2)(A)-(B).
21
            31.    A person who violates 31 U.S.C. §§ 3729(a)(1)(A)-(C)
22
                   is liable to the United States Government for a civil penalty of not less
23
                   than $5,000 and not more than $10,000, as adjusted by the Federal Civil
24                 Penalties Inflation Adjustment Act of 1990 (28 U.S.C. 2461 note; Public
                   Law 104–410 [1]), plus 3 times the amount of damages which the
25                 Government sustains because of the act of that person.

26
     31 U.S.C. § 3729(a)(1).
27

28

                                                    Page 5 of 91
         Case 2:19-cv-01560-JAD-VCF Document 53 Filed 11/10/20 Page 6 of 91




               32.   The False Claims Act is to be interpreted broadly, “in keeping with the Congress’s
1

2    intention ‘to reach all types of fraud, without qualification, that might result in financial loss to the

3    Government.’” United States v. Neifert-White Co., 390 U.S. 228, 232, 88 S.Ct. 959, 19 L.Ed.2d 1061

4    (1968).
5                                                      IV.
6
                           MEDICARE AND NEVADA MEDICAID PROGRAMS
7
               33.   Title XVIII of the Social Security Act, 42 U.S.C. §§ 1395, et seq., establishes the
8
     Health Insurance for the Aged and Disabled Program, commonly referred to as the Medicare Program
9

10   (the “Medicare Program” or “Medicare”).

11             34.   Under Title XIX of the Social Security Act (42 U.S.C. §§ 1396-1, et seq.) Nevada

12   Medicaid was established.
13
               35.   Medicaid provides health coverage for people with low income and various disabilities
14
     and is jointly administered by the Centers for Medicare and Medicaid Services (CMS) of the federal
15
     government and the Nevada Department of Health and Human Services. Medicaid is funded in part
16
     by federal government funds.
17

18             36.   The Medicare Program is comprised of four parts: A, B, C, and D.

19             37.   Medicare Part A provides federal government funds to help pay for, among other

20   things, the costs of hospital, related post-hospital, home health services, and hospice care provided to
21
     Medicare beneficiaries. See generally 42 U.S.C. §§ 1395c, et seq.
22
               38.   Medicare Part A is administered through contracts with Medicare administrative
23
     contractors. 42 U.S.C. § 1395h.
24
               39.   Medicare Part B provides federal government funds to help pay for, among other
25

26   things, physician services. See generally 42 U.S.C. §§ 1395j – 1395w-5.

27             40.   The Medicare Program, through the Medicare administrative contractor, pays a

28   significant portion of every claim. The Medicare beneficiary, or his or her supplemental insurance

                                                    Page 6 of 91
         Case 2:19-cv-01560-JAD-VCF Document 53 Filed 11/10/20 Page 7 of 91




     carrier, is required to pay the balance owed the provider. The beneficiary’s payment is sometimes
1

2    referred to as a “co-payment.” Beneficiaries also pay deductibles. See 42 U.S.C. §§ 1395d, 1395e,

3    1395f, 1395o, 1395p, 1395q, 1395r, 1395s.

4           41.       A Medicare Advantage Plan (like an HMO or PPO) is available under Medicare Part C
5    and is offered by private companies approved by Medicare. https://www.hhs.gov/answers/medicare-
6
     and-medicaid/what-is-medicare-part-c/index.html.
7
            42.       A person who joins a Medicare Advantage Plan will obtain Part A (Hospital Insurance)
8
     and Part B (Medical Insurance) coverage. Medicare Advantage Plans may offer extra coverage, such
9

10   as vision, hearing, dental, and/or health and wellness programs. Most include Medicare prescription

11   drug coverage (Part D). Id.

12          43.       Under a Medicare Advantage Plan, Medicare pays a fixed amount every month to the
13
     companies offering the Medicare Advantage Plan to enrollees. Id.
14
            44.       CMS adjusts the monthly payments to Medicare Advantage organizations to reflect the
15
     health status of their enrollees. See 42 U.S.C. § 1395w-23(a)(1)(C)(i), (a)(3); 42 C.F.R. §
16
     422.308(c)(2).
17

18          45.       Such adjustment ensures that Medicare Advantage “organizations are paid

19   appropriately for their plan enrollees (that is, less for healthier enrollees and more for less healthy

20   enrollees).” See Establishment of the Medicare Advantage Program, 70 Fed. Reg. 4588, 4657 (Jan. 28,
21
     2005). The risk adjustment methodology relies on enrollee diagnoses. See Policy and Technical
22
     Changes to the Medicare Advantage and the Medicare Prescription Drug Benefit Programs, 74 Fed.
23
     Reg. 54,634, 54,673 (Oct. 22, 2009).
24
            46.       Physicians and other health care providers submit diagnosis codes to the Medicare
25

26   Advantage organizations, which in turn submit them to CMS. See id. at 54,674. These diagnosis codes

27   contribute to an enrollee’s risk score, which is used to adjust a base payment rate. See id. Each

28

                                                   Page 7 of 91
         Case 2:19-cv-01560-JAD-VCF Document 53 Filed 11/10/20 Page 8 of 91




     diagnosis code submitted must be supported by a properly documented medical record. See 42 U.S.C.
1

2    §§ 1395l(e), 1395y(a)(1)(A); 42 C.F.R. § 422.310(d).

3           47.     Desert View Hospital’s fraud as it relates to the Medicare Advantage programs, as

4    alleged herein, went undetected, thereby passing along inflated risk-adjustment data to the government
5    and resulting in inaccurate capitation rates for services.
6
            48.     Desert View Hospital is liable for fraud as described herein, as it relates to Medicare,
7
     because it has submitted cost report(s) that contain inaccurate inpatient service reports and has
8
     received an inflated reimbursement above its per diem rate.
9

10                                                        V.

11                            THE “MEDICAL NECESSITY” REQUIREMENT

12          49.     The Medicare program provides basic health insurance for individuals who are 65 or
13
     older, disabled, or have end-stage renal disease. 42 U.S.C. § 1395c.
14
            50.     “[N]o payment [by Medicare] may be made ... for any expenses incurred for items or
15
     services ... [that] are not reasonable and necessary for the diagnosis or treatment of illness or injury or
16
     to improve the functioning of a malformed body member[.]” 42 U.S.C. § 1395y(a)(1)(A).
17

18          51.     Medicare reimburses medical providers for inpatient hospitalization only if “a

19   physician certifies that such services are required to be given on an inpatient basis for such

20   individual’s medical treatment, or that inpatient diagnostic study is medically required and such
21
     services are necessary for such purpose[.]” 42 U.S.C. § 1395f(a)(3).
22
           52.      The Department of Health and Human Services, Centers for Medicare & Medicaid
23
     Services (“CMS”), administers the Medicare program and issues guidance governing reimbursement.
24
           53.      CMS defines a “reasonable and necessary” service as one that “meets, but does not
25

26   exceed, the patient’s medical need,” and is furnished “in accordance with accepted standards of

27   medical practice for the diagnosis or treatment of the patient’s condition ... in a setting appropriate to

28

                                                     Page 8 of 91
           Case 2:19-cv-01560-JAD-VCF Document 53 Filed 11/10/20 Page 9 of 91




     the patient’s medical needs and condition[.]” CMS, Medicare Program Integrity Manual § 13.5.4
1

2    (2019).

3           54.       The Medicare program defines “medically necessary” as those health care services,

4    which are “needed to diagnose or treat an illness, injury, condition, disease, or its symptoms and that
5    meet accepted standards of medicine.” CMS, Medicare & You 2020: The Official U.S. Government
6
     Medicare Handbook 114 (2019).
7
            55.       Inpatient admission “is generally appropriate for payment under Medicare Part A when
8
     the admitting physician expects the patient to require hospital care that crosses two midnights” 42 CFR
9

10   § 412.3(d)(1).

11          56.       For inpatient CAH services, the physician must certify that the patient may reasonably

12   be expected to be discharged or transferred to a hospital within 96 hours after admission to the CAH.
13
     42 CFR § 424.15(a).
14
            57.       Doctors do not have unfettered discretion to decide whether inpatient admission is
15
     medically necessary: “The factors that lead to a particular clinical expectation must be documented in
16
     the medical record in order to be granted consideration.” 42 CFR § 412.3(d)(1)(i) (emphasis added).
17

18          58.       The regulations consider medical necessity a question of fact: “No presumptive weight

19   shall be assigned to the physician’s order under § 412.3 or the physician’s certification ... in

20   determining the medical necessity of inpatient hospital services .... A physician’s order or certification
21
     will be evaluated in the context of the evidence in the medical record.” Id. § 412.46(b).
22
               59.    “Because medical necessity is a condition of payment, every Medicare claim includes
23
     an express or implied certification that treatment was medically necessary.” Winter ex rel. United
24
     States v. Gardens Reg'l Hosp. & Med. Ctr., Inc., 953 F.3d 1108, 1114 (9th Cir. 2020). Therefore,
25

26   “claims for unnecessary treatment are false claims.” Id. (emphasis added).

27   ///

28   ///

                                                    Page 9 of 91
        Case 2:19-cv-01560-JAD-VCF Document 53 Filed 11/10/20 Page 10 of 91




                                                          VI.
1

2                                                   INTERQUAL

3
            60.       InterQual Level of Care Criteria 2019 (“InterQual”) is a hospital industry-standard set
4
     of criteria developed (and updated annually) by McKesson Health Solutions LLC, and are reviewed
5
     and validated by a national panel of clinicians and medical experts, including those in the community
6
     and academic practice settings, as well as within the managed care industry throughout the United
7
     States. See Winter, 953 F.3d at 1115.
8
            61.       InterQual criteria are a synthesis of evidence-based standards of care, current practices,
9
     and consensus from licensed specialists and/or primary care physicians. InterQual criteria provide
10
     support for determining the medical appropriateness of hospital admission, continued stay, and
11
     discharge. Id.
12
            62.       Medicare uses InterQual to evaluate whether claims are appropriate for payment. Id.
13
            63.       In fact, “the InterQual criteria represent the ‘consensus of medical professionals’
14
     opinions,’ so a failure to satisfy the criteria also means that the admission went against the medical
15
     consensus.” Id.
16
            64.       Many hospitals (including, upon information and belief, Desert View Hospital) use
17
     InterQual as a benchmark for whether a patient should be admitted to the hospital for treatment.
18
                                                         VII.
19
                             SCIENTER AND MATERIALITY UNDER THE FCA
20
            65.       Concerns about doctors being exposed to liability due to their clinical judgment can be
21
     alleviated through the “strict enforcement of [The False Claim] Act’s” scienter and materiality
22

23   requirements. Winter, 953 F.3d at 1117.

24          66.       “Defendants act with the required scienter if they know the treatment was not medically

25   necessary, or act in deliberate ignorance or reckless disregard of whether the treatment was medically
26   necessary.” Winter, 953 F.3d at 1117; see also 31 U.S.C. § 3729(b)(1).
27
           67.        “A complaint needs only to allege facts supporting a plausible inference of scienter.”
28
     Winter, 953 F.3d at 1122.
                                                     Page 10 of 91
        Case 2:19-cv-01560-JAD-VCF Document 53 Filed 11/10/20 Page 11 of 91




           68.      “[T]he term ‘material’ means having a natural tendency to influence, or be capable of
1

2    influencing, the payment or receipt of money or property.” 31 U.S.C. § 3729(b)(4).

3          69.      “[P]roof of materiality can include ... evidence that the defendant knows that the

4    Government consistently refuses to pay claims in the mine run of cases based on noncompliance with
5    the particular statutory, regulatory, or contractual requirement.” Universal Health Servs., Inc. v.
6
     United States, 136 S. Ct. 1989, 2003, 195 L. Ed. 2d 348 (2016).
7
           70.      “Congress prohibited payment for treatment ‘not reasonable and necessary for the
8
     diagnosis or treatment of illness or injury or to improve the functioning of a malformed body
9

10   member[.]’” Winter, 953 F.3d at 1122 (9th Cir. 2020) (quoting 42 U.S.C. § 1395y(a)(1)(A)).

11          71.     Medicare pays inpatient hospitalization “only if such services are required to be given

12   on in inpatient basis for such individuals’ medical treatment[.]” Id. (quoting 42 U.S.C. § 1395f(a)(3)).
13
            72.     To ensure compliance, Medicare regulations require all doctors to sign an
14
     acknowledgment that states as follows:
15
                    Medicare payment to hospitals is based in part on each patient’s principal
16                  and secondary diagnoses and the major procedures performed on the
                    patient, as attested to by the patient’s attending physician by virtue of his
17
                    or her signature in the medical record. Anyone who misrepresents,
18                  falsifies, or conceals essential information required for payment of Federal
                    funds, may be subject to fine, imprisonment, or civil penalty under
19                  applicable Federal laws.

20   Id. (quoting 42 C.F.R. § 412.46(a)(2)).
21
            73.     “[I]f a physician cannot in good faith certify that an individual may reasonably be
22
     expected to be discharged or transferred within 96 hours after admission to the CAH, the CAH will not
23
     receive Medicare reimbursement for any portion of that individual’s inpatient stay. This would be
24
     determined based on a medical review of the case.” CMS Manual, Transmittal 234, March 10, 2017.
25

26          74.     A hospital and physician’s compliance with the requirements and regulations detailed

27   above are material to Medicare’s decision of whether to allow payment of claims for services

28   provided. See 42 C.F.R. § 412.3(a) (“This physician order must be present in the medical record and

                                                   Page 11 of 91
           Case 2:19-cv-01560-JAD-VCF Document 53 Filed 11/10/20 Page 12 of 91




     be supported by the physician admission and progress notes, in order for the hospital to be paid for
1

2    hospital inpatient services under Medicare Part A”); 42 C.F.R. § 412.46(a)(2) (“Anyone who

3    misrepresents, falsifies, or conceals essential information required for payment of Federal funds, may

4    be subject to fine imprisonment, or civil penalty under applicable Federal laws”).
5             75.   Allegations of a provider’s false certification of the medical necessity requirement,
6
     along with those that the government would not have paid for such claims had it known that inpatient
7
     hospitalizations were medically unnecessary constitutes sufficiently pled materiality requirement
8
     under the FCA. Id. at 1122.
9

10                                                    VIII.

11          THE FALSE CLAIMS ACT & THE IMPLIED FALSE CERTIFICATION THEORY

12            76.   In Universal Health Services, Inc. v. United States, 136 S.Ct. 1989 (2016), the United
13
     States Supreme Court explained that the Implied False Certification Theory applies “when a defendant
14
     submits a claim, it impliedly certifies compliance with all conditions of payment. But if that claim
15
     fails to disclose the defendant’s violation of a material statutory, regulatory, or contractual
16
     requirement, so the theory goes, the defendant has made a misrepresentation that renders the claim
17

18   ‘false or fraudulent’ under § 3729(a)(1)(A).” Id. at 1995.

19            77.   Specifically, the United States Supreme Court held that, “[t]he implied false

20   certification theory can be a basis for FCA liability when a defendant submitting a claim makes
21
     specific representations about the goods or services provided, but fails to disclose noncompliance
22
     with material statutory, regulatory, or contractual requirements that make those representations
23
     misleading with respect to those goods or services.” Id. at 1993-94.
24
     ///
25

26   ///

27   ///

28   ///

                                                   Page 12 of 91
        Case 2:19-cv-01560-JAD-VCF Document 53 Filed 11/10/20 Page 13 of 91




                                                       IX.
1

2      DESERT VIEW HOSPITAL AND ITS INTERACTIONS WITH GOVERNMENT HEALTH
                                INSURANCE PLANS
3
            78.     Desert View Hospital is a rural hospital with a Medicare Critical Access Hospital
4
     (“CAH”) designation in accordance with 42 CFR § 485.601, et seq.
5

6           79.     CAH designation is given to eligible rural hospitals by the Centers for Medicare and

7    Medicaid Services (“CMS”).

8           80.     Congress created the CAH designation through the Balanced Budget Act of 1997 in
9    response to the prevalence of rural hospital closures during the 1980s and early 1990s.
10
            81.     The CAH designation is designed to reduce the financial vulnerability of rural hospitals
11
     and improve access to healthcare by keeping essential services in rural communities.
12
            82.     During the relevant time period, Desert View Hospital’s revenue was mostly derived
13

14   from Medicare, Medicare Advantage, and Medicaid, a joint state-federal program in which healthcare

15   providers serve financially disadvantaged or disabled patients and submit claims for government

16   reimbursement.
17
            83.     A CAH, such as Desert View Hospital, is paid for its services primarily by submitting
18
     invoices to various payers, including Medicare, Medicare Advantage, Medicaid, CHAMPUS, and
19
     Tricare.
20
            84.     Based on information and belief, employee/agents of Valley Health and Universal
21

22   Health perform billing services to state and federally funded health insurance programs (such as

23   Medicaid and Medicare) for Desert View Hospital relating to its hospital services.

24          85.     Desert View Hospital, as a CAH, is not subject to Medicare’s Inpatient Prospective
25
     Payment System (“IPPS”) or the Hospital Outpatient Prospective Payment System (“OPPS”).
26
            86.     Rather, due to its CAH status, the Medicare program reimburses Desert View Hospital
27
     for most inpatient and outpatient services to Medicare patients under a “cost-based reimbursement.”
28

                                                   Page 13 of 91
        Case 2:19-cv-01560-JAD-VCF Document 53 Filed 11/10/20 Page 14 of 91




            87.     “Cost-based reimbursement” provides a tremendous financial advantage to CAHs (such
1

2    as Desert View Hospital) by allowing them to be reimbursed at one hundred one percent (101%) of

3    costs on all their hospital Medicare revenue.

4                                                         X.
5                                   THE VISTA HEALTH DEFENDANTS
6
            88.     On January 10, 2019, to further its objective of enhancing its revenue by increasing
7
     inpatient admissions, decreasing patient transfers to a higher level of care facility, and performing
8
     more testing/procedures on individuals admitted as inpatients, Desert View Hospital entered into a
9
     Hospitalist Services Agreement with Vista Health and Dr. Mirza (collectively “Vista Health
10
     Defendants”) for the provision of hospitalist services to Desert View Hospital Patients (“Vista Health
11
     Hospitalist Agreement”).
12
            89.     On or about January 10, 2019, in accordance with the Vista Health Hospitalist
13
     Agreement, Dr. Mirza began to treat patients at Desert View Hospital.
14
            90.     Among other duties, in their role as the Desert View hospitalists, Vista Health
15
     Defendants were responsible for determining when a patient’s medical condition warrants an inpatient
16
     admission at Desert View Hospital, when the patients should be transferred to a facility with a higher
17
     level of care, and what types of medical testing/procedures the patient’s condition necessitates.
18
            91.     Pursuant to the Vista Health Hospitalist Agreement, in addition to direct compensation
19
     from Desert View hospital for their hospitalist services, the Vista Health Defendants directly billed to
20
     and collected from state and federally funded insurance programs (such as Medicare and Medicaid)
21
     for the services they provided to those individuals admitted as inpatients at the Desert View Hospital.
22
            92.     Therefore, the Vista Health Defendants’ compensation has been and is directly
23
     correlated to the earnings of Desert View Hospital. In other words, the more inpatient admissions, the
24
     less patient transfers, and the longer a patient remains hospitalized at Desert View Hospital, the more
25
     money Vista Health Defendants earned and continue to earn.
26
            93.     Since January 2019, based on documents recently produced by Desert View Hospital
27
     in this action and review of numerous medical charts generated by Desert View Hospital, the Vista
28

                                                     Page 14 of 91
        Case 2:19-cv-01560-JAD-VCF Document 53 Filed 11/10/20 Page 15 of 91




1    Health Defendants increased Desert View Hospital’s revenue by, among other things, (1) fraudulently

2    increasing inpatient admissions to Desert View Hospital; (2) not transferring patients to a higher level

3    of care facility and admitting them as inpatients at Desert View Hospital; (3) and ordering a multitude

4    of medical testing without supporting requisite medical necessity.

5           94.     Moreover, the Vista Health Defendants have been knowingly submitting claims for

6    payment to and collecting payments from Medicare and Medicaid health insurance programs for

7    medically unnecessary inpatient admissions.

8           95.     As a direct result of the concerted and fraudulent efforts of Desert View Hospital, the

9    Vista Health Defendants, and the other named Defendants to increase inpatient admissions without

10   medical necessity, Desert View Hospital’s inpatient volume grew tremendously.

11          96.     For example, despite generally lower emergency department visits at Desert View

12   Hospital, the Vista Health Defendants were able to convert such visits at an alarmingly high rate to

13   inpatient admissions. Specifically, in January 2019 inpatient admissions increased by 68.1% from

14   January 2018; in February 2019 inpatient admissions increased 63.1 % from February 2018; in March

15   2019 inpatient admissions increased by 37.4% from March 2018; and April 2019 inpatient admissions

16   increased by 62.7% from April 2018.

17                                                     XI.
18
                                          SUMMARY OF CLAIMS
19
            97.     From January 1, 2018 to December 31, 2018, Dr. Arik (who had completed residency
20
     in internal medicine and a fellowship in cardiology) served as Medical Chief of Staff at Desert View
21
     Hospital.
22

23          98.     Prior to January 10, 2019, Dr. Arik believed that Desert View Hospital was operating

24   under the guidelines of Federal law regarding inpatient admissions. However, in doing so, Desert
25   View Hospital’s inpatient admissions and volume of testing/procedures were low, which resulted in
26
     severe financial distress for Desert View Hospital.
27

28

                                                   Page 15 of 91
        Case 2:19-cv-01560-JAD-VCF Document 53 Filed 11/10/20 Page 16 of 91




            99.     Consequently, Susan Davila (the CEO at Desert View Hospital) met with Dr. Arik
1

2    (who was Medical Chief of Staff at Desert View Hospital at the time) on multiple occasions to

3    discuss increasing admissions of patients, decreasing transfers from the hospital, and performing

4    tests/procedures in order to enhance the financial stability and profitability of Desert View Hospital.
5           100.    In December 2018, a meeting was attended by Ms. Davila, Dr. Arik, and James
6
     Oscarson (manager of business development at Desert View Hospital).
7
            101.    During the meeting, Ms. Davila advised Dr. Arik and others that she had relieved
8
     Rural Physicians Group (“RPG”) of their duties as hospitalists at Desert View Hospital because RPG
9

10   was not admitting a sufficient number of individuals as inpatients, were transferring too many patients

11   out of Desert View Hospital to higher level of care facilities, and that RPG’s manner of practicing

12   medicine was contrary to the financial interests of Desert View Hospital.
13
            102.    Ms. Davila further advised Dr. Arik that her “job was on the line” if more beds are not
14
     filled at Desert View Hospital by increasing inpatient admissions and decreasing transfers in order to
15
     enhance revenue.
16
            103.     Ms. Davila further told Dr. Arik that more testing/procedures on patients must be
17

18   performed in order to ensure the financial viability of Desert View Hospital.

19          104.    Finally, Ms. Davila advised Dr. Arik that Desert View Hospital will be entering into a

20   lucrative contract (believed to be approximately 30% more than RPG was paid) with Vista Health, to
21
     replace RPG and to assume the hospitalist duties at Desert View Hospital.
22
            105.    From approximately January 10, 2019 to the present, Desert View Hospital (in
23
     conspiracy with other named defendants) implemented and executed a widespread scheme in violation
24
     of the False Claims Act.
25

26          106.    After becoming aware of Desert View Hospital’s scheme to defraud Medicare and

27   Medicaid and lack of concern for patient safety for the sake of profit, Dr. Arik met with Dr. Daniel

28   McBride (Chief Medical Officer at Valley Health) to convey his concerns.

                                                    Page 16 of 91
          Case 2:19-cv-01560-JAD-VCF Document 53 Filed 11/10/20 Page 17 of 91




             107.   On or about May 17, 2019, after Dr. Arik’s concerns about Desert View Hospital’s
1

2    widespread violation of the law and jeopardizing patient safety went unremedied, Dr. Arik resigned

3    his medical privileges at Desert View Hospital.

4            108.   Dr. Arik is presently the only resident cardiologist living and working in Pahrump,
5    Nevada who provides full-time outpatient cardiology medical care to members of the community.
6
             109.   In such capacity, Dr. Arik is privy to highly sensitive and confidential medical
7
     records/charts that are generated at Desert View Hospital for his cardiology patients.
8
             110.   In addition, Dr. Arik is privy to highly sensitive and confidential medical records/charts
9

10   from another medical provider in Pahrump, Nevada and acquired confidential information relating to

11   Desert View Hospital’s billing practices from a former biller at Desert View Hospital.

12           111.   Such information supports Dr. Arik’s allegations that the Defendants violated the False
13
     Claims Act as follows:
14
     A.      False Express Certification of Medical Necessity
15
     112.    Patient 1
16
             Patient 1 presented to Desert View Hospital on ____________ with complaints of chest pain
17
             and cardiac enzymes diagnostic of myocardial infarction, a heart attack. Patient
18           1’s presentation was consistent with the High-Risk-Criteria.

19           Dr. Mirza wrote in Patient 1’s chart, “stable for Lexiscan. I m [sic] aware of elevated
             enzymes.” Dr. Mirza’s notation is consistent with a patient experiencing a heart attack.
20
             According to Braunwald’s Cardiology Practice Standards, patients (like this patient) having a
21
             heart attack must be immediately transferred to an acute care hospital that has a cardiac cath
22           lab, which is properly equipped and staffed to provide angiograms and coronary intervention
             (stents). Braunwald’s Cardiology Practice Standards, pg. 290.
23
             However, even though Desert View Hospital does not have a cath lab necessary to treat this
24           patient, the medical chart reveals that the patient was admitted as an inpatient to Desert View
             Hospital. Therefore, the inpatient admission was not medically necessary because Desert
25
             View Hospital was not a setting appropriate for the subject patient’s medical needs and
26           condition. See Medicare Program Integrity Manual § 13.5.4 (2019); see also Winter, 953
             F.3d at 1114 (inpatient admissions of a patient to a medical facility, which lacks the ability to
27           provide treatment for the patient’s condition, gives rise to a false certification of medical
             necessity).
28

                                                    Page 17 of 91
        Case 2:19-cv-01560-JAD-VCF Document 53 Filed 11/10/20 Page 18 of 91




            In addition, according to the medical chart, this patient underwent an unnecessary nuclear
1           stress test, a very costly test used to determine whether a patient has coronary artery disease
2           and heart attack risk. However, according to the medical chart, the subject patient was already
            diagnosed with a heart attack using a very inexpensive blood test.
3
            The conduct of Desert View Hospital (in conspiracy with the Vista Health Defendants)
4           violated (among other things) 42 U.S.C. § 1395y(a)(1)(A); Winter, 953 F.3d at 1114 (“claims
            for unnecessary treatment are false claims”).
5

6           Desert View Hospital (in conspiracy with Vista Health, Valley Health, and Universal Health)
            knowingly submitted a false claim to Humana/Medicare in the amount of $20,854.80 for the
7           inpatient admission and the unreasonable and medically unnecessary testing performed on the
            subject patient.
8
            The Vista Health Defendants (in conspiracy with Desert View Hospital) also knowingly
9
            submitted a false claim in the amount of $_________ for payment to Humana/Medicare for
10          hospitalist services rendered to the subject patient.

11   113.   Patient 2

12          Patient 2 presented to Desert View Hospital on ______________with complaints of chest pain
            and cardiac enzymes diagnostic of myocardial infarction, a heart attack. Patient 2’s
13
            presentation was consistent with High-Risk Criteria.
14
            A notation on the nuclear stress test worksheet indicates that Dr. Mirza was aware of Patient
15          2’s elevated cardiac enzyme (troponin), which is evidence of myocardial infarction.

16          According to Braunwald’s Cardiology Practice Standards, patients (like this patient) having a
            heart attack must be immediately transferred to an acute care hospital that has a cardiac cath
17
            lab, which is properly equipped and staffed to provide angiograms and coronary intervention
18          (stents). Braunwald’s Cardiology Practice Standards, pg. 290.

19          However, even though Desert View Hospital does not have a cath lab necessary to treat this
            patient, the medical chart reveals that the patient was admitted as an inpatient to Desert View
20          Hospital. Therefore, the inpatient admission was not medically necessary because Desert
            View Hospital was not a setting appropriate for the subject patient’s medical needs and
21
            condition. See Medicare Program Integrity Manual § 13.5.4 (2019); see also Winter, 953
22          F.3d at 1114 (inpatient admissions of a patient to a medical facility, which lacks the ability to
            provide treatment for the patient’s condition, gives rise to a false certification of medical
23          necessity).

24          In addition, according to the medical chart, this patient underwent an unnecessary nuclear
            stress test, a very costly test used to determine whether a patient has coronary artery disease
25
            and heart attack risk. However, according to the medical chart, the subject patient was already
26          diagnosed with a heart attack using a very inexpensive blood test.

27          Desert View Hospital (in conspiracy with Vista Health, Valley Health, and Universal Health)
            knowingly submitted a false claim to Medicaid in the amount of $25,585.54 for the inpatient
28

                                                   Page 18 of 91
        Case 2:19-cv-01560-JAD-VCF Document 53 Filed 11/10/20 Page 19 of 91




            admission and the unreasonable and medically unnecessary testing performed on the subject
1           patient.
2
            The Vista Health Defendants (in conspiracy with Desert View Hospital) also knowingly
3           submitted a false claim in the amount of $_________ for payment to Medicaid for hospitalist
            services rendered to the subject patient.
4
     114.   Patient 3
5
            Patient 3 presented to Desert View Hospital on _________________ with complaints of chest
6           pain, abnormal EKG and enzymes positive for myocardial infarction, a heart attack. Patient
7           3’s presentation was consistent with Very-High-Risk Criteria.

8           According to Braunwald’s Cardiology Practice Standards, patients (like this patient) having a
            heart attack must be immediately transferred to an acute care hospital that has a cardiac cath
9           lab, which is properly equipped and staffed to provide angiograms and coronary intervention
            (stents). Braunwald’s Cardiology Practice Standards, pg. 290.
10

11          However, even though Desert View Hospital does not have a cath lab necessary to treat this
            patient, the medical chart reveals that the patient was admitted as an inpatient to Desert View
12          Hospital. Therefore, the inpatient admission was not medically necessary because Desert
            View Hospital was not a setting appropriate for the subject patient’s medical needs and
13          condition. See Medicare Program Integrity Manual § 13.5.4 (2019); see also Winter, 953
            F.3d at 1114 (inpatient admissions of a patient to a medical facility, which lacks the ability to
14
            provide treatment for the patient’s condition, gives rise to a false certification of medical
15          necessity).

16          Desert View Hospital (in conspiracy with Vista Health, Valley Health, and Universal Health)
            knowingly submitted a false claim to Medicare/Anthem in the amount of $17,076.85 for the
17          inpatient admission of the subject patient.
18
            The Vista Health Defendants (in conspiracy with Desert View Hospital) also knowingly
19          submitted a false claim in the amount of $_________ for payment to Medicare/Anthem for
            hospitalist services rendered to the subject patient.
20
     115.   Patient 4
21
            Patient 4 presented to Desert View Hospital on ____________________ with complaints of
22
            NSTEMI-type acute coronary syndrome manifest as heart palpations, abnormal EKG, and
23          shortness of breath with positive cardiac enzymes (a heart attack). Patient 4’s presentation
            was consistent with High-Risk Criteria.
24
            Dr. Mirza wrote in Patient 4’s chart that the patient will “get an echocardiogram, carotid
25          ultrasound, and Lexiscan stress test for a further cardiac workup.”
26
            According to Braunwald’s Cardiology Practice Standards, patients (like this patient) having a
27          heart attack must be immediately transferred to an acute care hospital that has a cardiac cath
            lab, which is properly equipped and staffed to provide angiograms and coronary intervention
28          (stents). Braunwald’s Cardiology Practice Standards, pg. 290.

                                                   Page 19 of 91
        Case 2:19-cv-01560-JAD-VCF Document 53 Filed 11/10/20 Page 20 of 91




            However, even though Desert View Hospital does not have a cath lab necessary to treat this
1           patient, the medical chart reveals that the patient was admitted as an inpatient to Desert View
2           Hospital. Therefore, the inpatient admission was not medically necessary because Desert
            View Hospital was not a setting appropriate for the subject patient’s medical needs and
3           condition. See Medicare Program Integrity Manual § 13.5.4 (2019); see also Winter, 953
            F.3d at 1114 (inpatient admissions of a patient to a medical facility, which lacks the ability to
4           provide treatment for the patient’s condition, gives rise to a false certification of medical
            necessity).
5

6           In addition, according to the medical chart, this patient underwent several unnecessary tests to
            determine whether the patient has coronary artery disease and heart attack risk.
7           However, according to the medical chart, the subject patient was already diagnosed with a
            heart attack using a very inexpensive blood test.
8
            The conduct of Desert View Hospital (in conspiracy with the Vista Health Defendants)
9
            violated (among other things) 42 U.S.C. § 1395y(a)(1)(A); Winter, 953 F.3d at 1114 (“claims
10          for unnecessary treatment are false claims”).

11          Desert View Hospital (in conspiracy with Vista Health, Valley Health, and Universal Health)
            knowingly submitted a false claim to Medicaid in the amount of $18,726.54 for the inpatient
12          admission and the unreasonable and medically unnecessary testing performed on the subject
            patient.
13

14          The Vista Health Defendants (in conspiracy with Desert View Hospital) also knowingly
            submitted a false claim in the amount of $_________ for payment to Medicaid for hospitalist
15          services rendered to the subject patient.

16   116.   Patient 5
17
            Patient 5 presented to Desert View Hospital on _______________and was diagnosed with
18          myocardial infarction, NSTEMI-type (a heart attack). Patient 5’s presentation was consistent
            with High-Risk Criteria.
19
            In his notes, the admitting physician states in his plan, “if troponin continued to be mounting
20          upward trend probably need intervention cardiology services which will be discussed [sic].”
            However, Patient 5 already had the diagnosis of NSTEMI.
21

22          According to Braunwald’s Cardiology Practice Standards, patients (like this patient) having a
            heart attack must be immediately transferred to an acute care hospital that has a cardiac cath
23          lab, which is properly equipped and staffed to provide angiograms and coronary intervention
            (stents). Braunwald’s Cardiology Practice Standards, pg. 290.
24
            However, even though Desert View Hospital does not have a cath lab necessary to treat this
25
            patient, the medical chart reveals that the patient was admitted as an inpatient to Desert View
26          Hospital. Therefore, the inpatient admission was not medically necessary because Desert
            View Hospital was not a setting appropriate for the subject patient’s medical needs and
27          condition. See Medicare Program Integrity Manual § 13.5.4 (2019); see also Winter, 953
            F.3d at 1114 (inpatient admissions of a patient to a medical facility, which lacks the ability to
28

                                                   Page 20 of 91
        Case 2:19-cv-01560-JAD-VCF Document 53 Filed 11/10/20 Page 21 of 91




            provide treatment for the patient’s condition, gives rise to a false certification of medical
1           necessity).
2
            In addition, according to the medical chart, this patient underwent several unneeded cardiac
3           tests and an unnecessary nuclear stress test, a very costly test used to determine whether a
            patient has coronary artery disease and heart attack risk. However, according to the medical
4           chart, the subject patient was already diagnosed with a heart attack using a very inexpensive
            blood test.
5

6           The conduct of Desert View Hospital (in conspiracy with the Vista Health Defendants)
            violated (among other things) 42 U.S.C. § 1395y(a)(1)(A); Winter, 953 F.3d at 1114 (“claims
7           for unnecessary treatment are false claims”).

8           Desert View Hospital (in conspiracy with Vista Health, Valley Health, and Universal Health)
            knowingly submitted a false claim to Medicaid in the amount of $25,585.54 for the inpatient
9
            admission and the unreasonable and medically unnecessary testing performed on the subject
10          patient.

11          The Vista Health Defendants (in conspiracy with Desert View Hospital) also knowingly
            submitted a false claim in the amount of $_________ for payment to Medicaid for hospitalist
12          services rendered to the subject patient.
13
     117.   Patient 6
14
            Patient 6 presented to Desert View Hospital on _____________ with complaints of dizziness
15          while undergoing dialysis. A blood test revealed that the patient suffered from congestive
            heart failure, and myocardial infarction with serum troponin 0.24. Patient 6’s condition was
16          consistent with High-Risk Criteria.
17
            However, even though Desert View Hospital does not have an Intensive Care Unit (“ICU”) to
18          deal with the subject patient’s serious medical comorbidities, the medical chart reveals that
            the patient was admitted as an inpatient to Desert View Hospital. Therefore, the inpatient
19          admission was not medically necessary because Desert View Hospital was not a setting
            appropriate for the subject patient’s medical needs and condition. See Medicare Program
20          Integrity Manual § 13.5.4 (2019); see also Winter, 953 F.3d at 1114 (inpatient admissions of a
            patient to a medical facility, which lacks the ability to provide treatment for the patient’s
21
            condition, gives rise to a false certification of medical necessity).
22
            The conduct of Desert View Hospital (in conspiracy with the Vista Health Defendants)
23          violated (among other things) 42 U.S.C. § 1395y(a)(1)(A); Winter, 953 F.3d at 1114 (“claims
            for unnecessary treatment are false claims”).
24
            Desert View Hospital (in conspiracy with Vista Health, Valley Health, and Universal Health)
25
            knowingly submitted a false claim to Medicare/Humana in the amount of $6,581.53 for the
26          inpatient admission of the subject patient.

27          The Vista Health Defendants (in conspiracy with Desert View Hospital) also knowingly
            submitted a false claim in the amount of $_________ for payment to Medicare/Humana for
28          hospitalist services rendered to the subject patient.

                                                  Page 21 of 91
        Case 2:19-cv-01560-JAD-VCF Document 53 Filed 11/10/20 Page 22 of 91




     118.   Patient 7
1

2           Patient 7 presented to Desert View Hospital on _____________with complaints of worsening
            shortness of breath due to congestive heart failure, in the context of multiple critical diagnoses
3           including a gastrointestinal bleed only one week prior. On admission, there was clinical and
            chest x-ray evidence of congestive heart failure with further confirmation based on laboratory
4           studies, and laboratory evidence of non-ST segment elevation myocardial infarction. Patient
            7’s condition was consistent with Very-High-Risk Criteria.
5

6           However, even though Desert View Hospital does not have an ICU to deal with the subject
            patient’s serious medical comorbidities, the medical chart reveals that the patient was
7           admitted as an inpatient to Desert View Hospital. Therefore, the inpatient admission was not
            medically necessary because Desert View Hospital was not a setting appropriate for the
8           subject patient’s medical needs and condition. See Medicare Program Integrity Manual §
            13.5.4 (2019); see also Winter, 953 F.3d at 1114 (inpatient admissions of a patient to a
9
            medical facility, which lacks the ability to provide treatment for the patient’s condition, gives
10          rise to a false certification of medical necessity).

11          The conduct of Desert View Hospital (in conspiracy with the Vista Health Defendants)
            violated (among other things) 42 U.S.C. § 1395y(a)(1)(A); Winter, 953 F.3d at 1114 (“claims
12          for unnecessary treatment are false claims”).
13
            Desert View Hospital (in conspiracy with Vista Health, Valley Health, and Universal Health)
14          knowingly submitted a false claim to Medicare/AARP in the amount of $31,876.63 for the
            inpatient admission of the subject patient.
15
            The Vista Health Defendants (in conspiracy with Desert View Hospital) also knowingly
16          submitted a false claim in the amount of $_________ for payment to Medicare/AARP for
            hospitalist services rendered to the subject patient.
17

18   119.   Patient 8

19          Patient 8 presented to Desert View Hospital on ____________ with complaints of cardiac
            instability and a history of coronary bypass surgery with congestive heart failure and rapid
20          atrial fibrillation.
21
            Patient 8 already had an established cardiologist and electrophysiologist in Las Vegas and was
22          scheduled for evaluation and treatment of the atrial fibrillation condition with a procedure
            (TEE/Cardioversion) not available at Desert View Hospital.
23
            However, even though Desert View Hospital is not an appropriate setting to perform a
24          cardioversion (a procedure that requires a certified nurse anesthetist or anesthesiologist and a
            Transesophageal Echo), the medical chart reveals that the patient was admitted as an inpatient
25
            to Desert View Hospital and underwent a cardioversion. Therefore, the inpatient admission
26          was not medically necessary because Desert View Hospital was not a setting appropriate for
            the subject patient’s medical needs and condition. See Medicare Program Integrity Manual §
27          13.5.4 (2019); see also Winter, 953 F.3d at 1114 (inpatient admissions of a patient to a
            medical facility, which lacks the ability to provide treatment for the patient’s condition, gives
28          rise to a false certification of medical necessity).

                                                   Page 22 of 91
        Case 2:19-cv-01560-JAD-VCF Document 53 Filed 11/10/20 Page 23 of 91




1           The conduct of Desert View Hospital (in conspiracy with the Vista Health Defendants)
2           violated (among other things) 42 U.S.C. § 1395y(a)(1)(A); Winter, 953 F.3d at 1114 (“claims
            for unnecessary treatment are false claims”).
3
            Desert View Hospital (in conspiracy with Vista Health, Valley Health, and Universal Health)
4           knowingly submitted a false claim to Medicare/Anthem in the amount of $34,798.36 for the
            inpatient admission.
5

6           The Vista Health Defendants (in conspiracy with Desert View Hospital) also knowingly
            submitted a false claim in the amount of $_________ for payment to Humana/Medicare for
7           hospitalist services rendered to the subject patient.

8    120.   Patient 8(a)
9
            Patient 8(a) presented to Desert View Hospital on ____________ with complaints of severe
10          cardiac chest pain.

11          However, even though Desert View Hospital does not have an ICU to deal with the subject
            patient’s serious medical comorbidities, the medical chart reveals that the patient was
12          admitted as an inpatient to Desert View Hospital. Therefore, the inpatient admission was not
            medically necessary because Desert View Hospital was not a setting appropriate for the
13
            subject patient’s medical needs and condition. See Medicare Program Integrity Manual §
14          13.5.4 (2019); see also Winter, 953 F.3d at 1114 (inpatient admissions of a patient to a
            medical facility, which lacks the ability to provide treatment for the patient’s condition, gives
15          rise to a false certification of medical necessity).

16          The conduct of Desert View Hospital (in conspiracy with the Vista Health Defendants)
            violated (among other things) 42 U.S.C. § 1395y(a)(1)(A); Winter, 953 F.3d at 1114 (“claims
17
            for unnecessary treatment are false claims”).
18
            Desert View Hospital (in conspiracy with Vista Health, Valley Health, and Universal Health)
19          knowingly submitted a false claim to Medicare in the amount of $__________ for the
            inpatient admission of the subject patient.
20
            The Vista Health Defendants (in conspiracy with Desert View Hospital) also knowingly
21
            submitted a false claim in the amount of $_________ for payment to Medicare for hospitalist
22          services rendered to the subject patient.

23   121.   Patient 8(b)

24          Patient 8(b) presented to Desert View Hospital on ____________ with complaints of
            generalized weakness and shortness of breath.
25

26          However, even though Desert View Hospital does not have an ICU to deal with the subject
            patient’s serious medical comorbidities, the medical chart reveals that the patient was
27          admitted as an inpatient to Desert View Hospital. Therefore, the inpatient admission was not
            medically necessary because Desert View Hospital was not a setting appropriate for the
28          subject patient’s medical needs and condition. See Medicare Program Integrity Manual §

                                                   Page 23 of 91
        Case 2:19-cv-01560-JAD-VCF Document 53 Filed 11/10/20 Page 24 of 91




            13.5.4 (2019); see also Winter, 953 F.3d at 1114 (inpatient admissions of a patient to a
1           medical facility, which lacks the ability to provide treatment for the patient’s condition, gives
2           rise to a false certification of medical necessity).

3           The conduct of Desert View Hospital (in conspiracy with the Vista Health Defendants)
            violated (among other things) 42 U.S.C. § 1395y(a)(1)(A); Winter, 953 F.3d at 1114 (“claims
4           for unnecessary treatment are false claims”).
5           Desert View Hospital (in conspiracy with Vista Health, Valley Health, and Universal Health)
6           knowingly submitted a false claim to Medicare/Humana in the amount of $__________ for
            the inpatient admission of the subject patient.
7
            The Vista Health Defendants (in conspiracy with Desert View Hospital) also knowingly
8           submitted a false claim in the amount of $_________ for payment to Medicare/Humana for
            hospitalist services rendered to the subject patient.
9

10   122.   Patient 9

11          Patient 9 presented to Desert View Hospital on _____________ with a diagnosis of
            cerebrovascular accident, a stroke patient.
12
            According to the “Stroke Guidelines for the Early Management of Patients with Acute
13
            Ischemic Stroke,” January 31, 2013 (the “Stroke Guidelines”), patients having a stroke (like
14          the subject patient) must be immediately transferred to a Primary Stroke Center (“PSC”) or
            Comprehensive Stroke Center (“CSC”).
15
            However, even though Desert View Hospital is not a PSC or CSC necessary to treat this
16          patient, the medical chart reveals that the patient was admitted to Desert View Hospital.
            Therefore, the admission was not medically necessary because Desert View Hospital was not
17
            a setting appropriate for the subject patient’s medical needs and condition. See Medicare
18          Program Integrity Manual § 13.5.4 (2019); see also Winter, 953 F.3d at 1114 (admissions of
            patient to a medical facility, which lacks the ability to provide treatment for the patient’s
19          condition, gives rise to a false certification of medical necessity).

20          In addition, according to the medical chart, this patient underwent unnecessary pulmonary
            testing, a very costly test/treatment not indicated for a stroke patient.
21

22          The conduct of Desert View Hospital (in conspiracy with the Vista Health Defendants)
            violated (among other things) 42 U.S.C. § 1395y(a)(1)(A); Winter, 953 F.3d at 1114 (“claims
23          for unnecessary treatment are false claims”).

24          Desert View Hospital (in conspiracy with Vista Health, Valley Health, and Universal Health)
            knowingly submitted a false claim to Medicaid in the amount of $49,962.41 for the admission
25
            and the unreasonable and medically unnecessary testing performed on the subject patient.
26
            The Vista Health Defendants (in conspiracy with Desert View Hospital) also knowingly
27          submitted a false claim in the amount of $_________ for payment to Medicaid for hospitalist
            services rendered to the subject patient.
28

                                                   Page 24 of 91
        Case 2:19-cv-01560-JAD-VCF Document 53 Filed 11/10/20 Page 25 of 91




     123.   Patient 10
1

2           Patient 10 presented to Desert View Hospital on ___________ with a diagnosis of “TIA with
            left-sided weakness resolved with some numbness on the left side of the face.”
3
            According to the Stroke Guidelines, patients having a stroke (like the subject patient) must be
4           immediately transferred to a Primary Stroke Center (“PSC”) or Comprehensive Stroke Center
            (“CSC”).
5

6           However, even though Desert View Hospital is not a PSC or CSC necessary to treat this
            patient, the medical chart reveals that the patient was admitted to Desert View Hospital.
7           Therefore, the admission was not medically necessary because Desert View Hospital was not
            a setting appropriate for the subject patient’s medical needs and condition. See Medicare
8           Program Integrity Manual § 13.5.4 (2019); see also Winter, 953 F.3d at 1114 (admissions of
            patient to a medical facility, which lacks the ability to provide treatment for the patient’s
9
            condition, gives rise to a false certification of medical necessity).
10
            The conduct of Desert View Hospital (in conspiracy with the Vista Health Defendants)
11          violated (among other things) 42 U.S.C. § 1395y(a)(1)(A); Winter, 953 F.3d at 1114 (“claims
            for unnecessary treatment are false claims”).
12
            Desert View Hospital (in conspiracy with Vista Health, Valley Health, and Universal Health)
13
            knowingly submitted a false claim to Humana Medicare in the amount of $24,918.63 for the
14          admission of the subject patient.

15          The Vista Health Defendants (in conspiracy with Desert View Hospital) also knowingly
            submitted a false claim in the amount of $_________ for payment to Humana Medicare for
16          hospitalist services rendered to the subject patient.
17
     124.   Patient 11
18
            Patient 11 presented to Desert View Hospital on _____________ with a diagnosis of
19          cerebrovascular accident, a stroke.

20          According to the Stroke Guidelines, patients having a stroke (like the subject patient) must be
            immediately transferred to a Primary Stroke Center (“PSC”) or Comprehensive Stroke Center
21
            (“CSC”).
22
            However, even though Desert View Hospital is not a PSC or CSC necessary to treat this
23          patient, the medical chart reveals that the patient was admitted to Desert View Hospital.
            Therefore, the admission was not medically necessary because Desert View Hospital was not
24          a setting appropriate for the subject patient’s medical needs and condition. See Medicare
            Program Integrity Manual § 13.5.4 (2019); see also Winter, 953 F.3d at 1114 (admissions of
25
            patient to a medical facility, which lacks the ability to provide treatment for the patient’s
26          condition, gives rise to a false certification of medical necessity).

27          The conduct of Desert View Hospital (in conspiracy with the Vista Health Defendants)
            violated (among other things) 42 U.S.C. § 1395y(a)(1)(A); Winter, 953 F.3d at 1114 (“claims
28          for unnecessary treatment are false claims”).

                                                  Page 25 of 91
        Case 2:19-cv-01560-JAD-VCF Document 53 Filed 11/10/20 Page 26 of 91




1           Desert View Hospital (in conspiracy with Vista Health, Valley Health, and Universal Health)
2           knowingly submitted a false claim to Medicare/Humana in the amount of $22,008.54 for the
            admission of the subject patient.
3
            The Vista Health Defendants (in conspiracy with Desert View Hospital) also knowingly
4           submitted a false claim in the amount of $_________ for payment to Medicare/Humana for
            hospitalist services rendered to the subject patient.
5

6    125.   Patient 12

7           Patient 12 presented to Desert View Hospital on_______________ with a diagnosis of a TIA.

8           According to the Stroke Guidelines, patients having a stroke (like the subject patient) must be
            immediately transferred to a Primary Stroke Center (“PSC”) or Comprehensive Stroke Center
9
            (“CSC”).
10
            However, even though Desert View Hospital is not a PSC or CSC necessary to treat this
11          patient, the medical chart reveals that the patient was admitted to Desert View Hospital.
            Therefore, the admission was not medically necessary because Desert View Hospital was not
12          a setting appropriate for the subject patient’s medical needs and condition. See Medicare
            Program Integrity Manual § 13.5.4 (2019); see also Winter, 953 F.3d at 1114 (admissions of
13
            patient to a medical facility, which lacks the ability to provide treatment for the patient’s
14          condition, gives rise to a false certification of medical necessity).

15          The conduct of Desert View Hospital (in conspiracy with the Vista Health Defendants)
            violated (among other things) 42 U.S.C. § 1395y(a)(1)(A); Winter, 953 F.3d at 1114 (“claims
16          for unnecessary treatment are false claims”).
17
            Desert View Hospital (in conspiracy with Vista Health, Valley Health, and Universal Health)
18          knowingly submitted a false claim to Medicare/Tricare in the amount of $22,145.42 for the
            admission of the subject patient.
19
            The Vista Health Defendants (in conspiracy with Desert View Hospital) also knowingly
20          submitted a false claim in the amount of $_________ for payment to Medicare/Tricare for
            hospitalist services rendered to the subject patient.
21

22   126.   Patient 13

23          Patient 13 presented to Desert View Hospital on ______________ with a diagnosis of a TIA.

24          According to the Stroke Guidelines, patients having a stroke (like the subject patient) must be
            immediately transferred to a Primary Stroke Center (“PSC”) or Comprehensive Stroke Center
25
            (“CSC”).
26
            However, even though Desert View Hospital is not a PSC or CSC necessary to treat this
27          patient, the medical chart reveals that the patient was admitted to Desert View Hospital.
            Therefore, the admission was not medically necessary because Desert View Hospital was not
28          a setting appropriate for the subject patient’s medical needs and condition. See Medicare

                                                  Page 26 of 91
        Case 2:19-cv-01560-JAD-VCF Document 53 Filed 11/10/20 Page 27 of 91




            Program Integrity Manual § 13.5.4 (2019); see also Winter, 953 F.3d at 1114 (admissions of
1           patient to a medical facility, which lacks the ability to provide treatment for the patient’s
2           condition, gives rise to a false certification of medical necessity).

3           The conduct of Desert View Hospital (in conspiracy with the Vista Health Defendants)
            violated (among other things) 42 U.S.C. § 1395y(a)(1)(A); Winter, 953 F.3d at 1114 (“claims
4           for unnecessary treatment are false claims”).
5           Desert View Hospital (in conspiracy with Vista Health, Valley Health, and Universal Health)
6           knowingly submitted a false claim to Optumcare Network of Nevada/United Healthcare
            Medicare in the amount of $89,813.15 for the admission of the subject patient.
7
            The Vista Health Defendants (in conspiracy with Desert View Hospital) also knowingly
8           submitted a false claim in the amount of $_________ for payment to Optumcare Network of
            Nevada/United Healthcare Medicare for hospitalist services rendered to the subject patient.
9

10   127.   Patient 14

11          Patient 14 presented to Desert View Hospital on _____________ with a diagnosis of a TIA.

12          According to the Stroke Guidelines, patients having a stroke (like the subject patient) must be
            immediately transferred to a Primary Stroke Center (“PSC”) or Comprehensive Stroke Center
13
            (“CSC”).
14
            However, even though Desert View Hospital is not a PSC or CSC necessary to treat this
15          patient, the medical chart reveals that the patient was admitted to Desert View Hospital.
            Therefore, the admission was not medically necessary because Desert View Hospital was not
16          a setting appropriate for the subject patient’s medical needs and condition. See Medicare
            Program Integrity Manual § 13.5.4 (2019); see also Winter, 953 F.3d at 1114 (admissions of
17
            patient to a medical facility, which lacks the ability to provide treatment for the patient’s
18          condition, gives rise to a false certification of medical necessity).

19          The conduct of Desert View Hospital (in conspiracy with the Vista Health Defendants)
            violated (among other things) 42 U.S.C. § 1395y(a)(1)(A); Winter, 953 F.3d at 1114 (“claims
20          for unnecessary treatment are false claims”).
21
            Desert View Hospital (in conspiracy with Vista Health, Valley Health, and Universal Health)
22          knowingly submitted a false claim to Medicare/Humana in the amount of $27,151.80 for the
            admission and the unreasonable and medically unnecessary testing performed on the subject
23          patient.

24          The Vista Health Defendants (in conspiracy with Desert View Hospital) also knowingly
            submitted a false claim in the amount of $_________ for payment to Medicare/Humana for
25
            hospitalist services rendered to the subject patient.
26
     128.   Patient 14(a)
27
            Patient 14(a) presented to Desert View Hospital on _____________ with a diagnosis of a
28          stroke.

                                                  Page 27 of 91
        Case 2:19-cv-01560-JAD-VCF Document 53 Filed 11/10/20 Page 28 of 91




1           According to the Stroke Guidelines, patients having a stroke (like the subject patient) must be
2           immediately transferred to a Primary Stroke Center (“PSC”) or Comprehensive Stroke Center
            (“CSC”).
3
            However, even though Desert View Hospital is not a PSC or CSC necessary to treat this
4           patient, the medical chart reveals that the patient was admitted to Desert View Hospital.
            Therefore, the admission was not medically necessary because Desert View Hospital was not
5           a setting appropriate for the subject patient’s medical needs and condition. See Medicare
6           Program Integrity Manual § 13.5.4 (2019); see also Winter, 953 F.3d at 1114 (admissions of
            patient to a medical facility, which lacks the ability to provide treatment for the patient’s
7           condition, gives rise to a false certification of medical necessity).

8           The conduct of Desert View Hospital (in conspiracy with the Vista Health Defendants)
            violated (among other things) 42 U.S.C. § 1395y(a)(1)(A); Winter, 953 F.3d at 1114 (“claims
9
            for unnecessary treatment are false claims”).
10
            Desert View Hospital (in conspiracy with Vista Health, Valley Health, and Universal Health)
11          knowingly submitted a false claim to Medicare/Humana in the amount of $____________for
            the admission and the unreasonable and medically unnecessary testing performed on the
12          subject patient.
13
            The Vista Health Defendants (in conspiracy with Desert View Hospital) also knowingly
14          submitted a false claim in the amount of $_________ for payment to Medicare/Humana for
            hospitalist services rendered to the subject patient.
15
     129.   Patient 14(b)
16
            Patient 14(b) presented to Desert View Hospital on _____________ with a diagnosis of a
17
            stroke.
18
            According to the Stroke Guidelines, patients having a stroke (like the subject patient) must be
19          immediately transferred to a Primary Stroke Center (“PSC”) or Comprehensive Stroke Center
            (“CSC”).
20
            However, even though Desert View Hospital is not a PSC or CSC necessary to treat this
21
            patient, the medical chart reveals that the patient was admitted to Desert View Hospital.
22          Therefore, the admission was not medically necessary because Desert View Hospital was not
            a setting appropriate for the subject patient’s medical needs and condition. See Medicare
23          Program Integrity Manual § 13.5.4 (2019); see also Winter, 953 F.3d at 1114 (admissions of
            patient to a medical facility, which lacks the ability to provide treatment for the patient’s
24          condition, gives rise to a false certification of medical necessity).
25
            The conduct of Desert View Hospital (in conspiracy with the Vista Health Defendants)
26          violated (among other things) 42 U.S.C. § 1395y(a)(1)(A); Winter, 953 F.3d at 1114 (“claims
            for unnecessary treatment are false claims”).
27
            Desert View Hospital (in conspiracy with Vista Health, Valley Health, and Universal Health)
28          knowingly submitted a false claim to Medicare/Humana in the amount of $____________for

                                                  Page 28 of 91
           Case 2:19-cv-01560-JAD-VCF Document 53 Filed 11/10/20 Page 29 of 91




              the admission and the unreasonable and medically unnecessary testing performed on the
1             subject patient.
2
              The Vista Health Defendants (in conspiracy with Desert View Hospital) also knowingly
3             submitted a false claim in the amount of $_________ for payment to Medicare/Humana for
              hospitalist services rendered to the subject patient.
4
     130.     Patient 15
5

6             Patient 15 presented to Desert View Hospital on _____________ with serious rectal bleeding
              in the context of a history of coronary stents taking recommended dual antiplatelet therapy,
7             consisting of aspirin and clopidogrel.

8             According to the Acute Lower Gastrointestinal Bleeding published in the prestigious New
              England Journal of Medicine on March 16, 2017 (“GI Bleeding Standards”), patients (like the
9
              subject patient) having a GI Bleed must be immediately undergo a colonoscopy, which Desert
10            View Hospital was not staffed and/or equipped to perform on patients admitted to Desert
              View Hospital.
11
              However, even though Desert View Hospital was not staffed and/or equipped to perform
12            colonoscopies on GI bleed patients admitted to Desert View Hospital, the medical chart
              reveals that the patient was admitted to Desert View Hospital. Therefore, the admission was
13
              not medically necessary because Desert View Hospital was not a setting appropriate for the
14            subject patient’s medical needs and condition. See Medicare Program Integrity Manual §
              13.5.4 (2019); see also Winter, 953 F.3d at 1114 (admissions of a patient to a medical facility,
15            which lacks the ability to provide treatment for the patient’s condition, gives rise to a false
              certification of medical necessity).
16
              In addition, according to the medical chart, this patient underwent CT scan of the head,
17
              carotid ultrasound, an echocardiogram (very expensive testing), which had nothing to do with
18            treatment for rectal bleeding.

19            The conduct of Desert View Hospital (in conspiracy with the Vista Health Defendants)
              violated (among other things) 42 U.S.C. § 1395y(a)(1)(A); Winter, 953 F.3d at 1114 (“claims
20            for unnecessary treatment are false claims”).
21
              Desert View Hospital (in conspiracy with Vista Health, Valley Health, and Universal Health)
22            knowingly submitted a false claim to Medicare in the amount of $34,905.26 for the inpatient
              admission and the unreasonable and medically unnecessary testing performed on the subject
23            patient.

24            The Vista Health Defendants (in conspiracy with Desert View Hospital) also knowingly
              submitted a false claim in the amount of $_________ for payment to Medicare for hospitalist
25
              services rendered to the subject patient.
26
     ///
27
     ///
28

                                                    Page 29 of 91
        Case 2:19-cv-01560-JAD-VCF Document 53 Filed 11/10/20 Page 30 of 91




     131.   Patient 16
1

2           Patient 16 presented to Desert View Hospital on _____________ with multiple critical
            medical conditions including, but not limited to, renal failure and congestive heart failure, and
3           pneumonia.

4           Patients (such as this one) having renal failure and other organ failures must be immediately
            transferred to a higher level facility to obtain critical care evaluation and treatment.
5

6           However, even though Desert View Hospital does not have an ICU to deal with the subject
            patient’s serious multiple medical comorbidities, the medical chart reveals that the patient was
7           admitted as an inpatient to Desert View Hospital. Therefore, the inpatient admission was not
            medically necessary because Desert View Hospital was not a setting appropriate for the
8           subject patient’s medical needs and condition. See Medicare Program Integrity Manual §
            13.5.4 (2019); see also Winter, 953 F.3d at 1114 (inpatient admissions of a patient to a
9
            medical facility, which lacks the ability to provide treatment for the patient’s condition, gives
10          rise to a false certification of medical necessity).

11          The conduct of Desert View Hospital (in conspiracy with the Vista Health Defendants)
            violated (among other things) 42 U.S.C. § 1395y(a)(1)(A); Winter, 953 F.3d at 1114 (“claims
12          for unnecessary treatment are false claims”).
13
            Desert View Hospital (in conspiracy with Vista Health, Valley Health, and Universal Health)
14          knowingly submitted a false claim to Medicare in the amount of $42,356.08 for the inpatient
            admission of the subject patient.
15
            The Vista Health Defendants (in conspiracy with Desert View Hospital) also knowingly
16          submitted a false claim in the amount of $_________ for payment to Medicare for hospitalist
            services rendered to the subject patient.
17

18   132.   Patient 17

19          Patient 17 presented to Desert View Hospital on ______________ with diagnoses of sepsis
            and pneumonia, in the context of underlying congestive heart failure and renal failure.
20
            Patients (such as this one) having renal failure and other organ failures must be immediately
21
            transferred to a higher level facility to obtain critical care evaluation and treatment.
22
            However, even though Desert View Hospital does not have an ICU to deal with the subject
23          patient’s serious multiple medical comorbidities, the medical chart reveals that the patient was
            admitted as an inpatient to Desert View Hospital. Therefore, the inpatient admission was not
24          medically necessary because Desert View Hospital was not a setting appropriate for the
            subject patient’s medical needs and condition. See Medicare Program Integrity Manual §
25
            13.5.4 (2019); see also Winter, 953 F.3d at 1114 (inpatient admissions of a patient to a
26          medical facility, which lacks the ability to provide treatment for the patient’s condition, gives
            rise to a false certification of medical necessity).
27

28

                                                   Page 30 of 91
        Case 2:19-cv-01560-JAD-VCF Document 53 Filed 11/10/20 Page 31 of 91




            The conduct of Desert View Hospital (in conspiracy with the Vista Health Defendants)
1           violated (among other things) 42 U.S.C. § 1395y(a)(1)(A); Winter, 953 F.3d at 1114 (“claims
2           for unnecessary treatment are false claims”).

3           Desert View Hospital (in conspiracy with Vista Health, Valley Health, and Universal Health)
            knowingly submitted a false claim to Medicare/Anthem in the amount of $29,740.78 for the
4           inpatient admission of the subject patient.
5           The Vista Health Defendants (in conspiracy with Desert View Hospital) also knowingly
6           submitted a false claim in the amount of $_________ for payment to Medicare/Anthem for
            hospitalist services rendered to the subject patient.
7
     133.   Patient 18
8
            Patient 18 presented to Desert View Hospital on _____________ with a diagnosis of acute
9
            renal failure and altered mental status.
10
            Patients (such as this one) having renal failure must be immediately transferred to a higher
11          level facility to obtain critical care evaluation and treatment.

12          However, even though Desert View Hospital does not have an ICU to deal with the subject
            patient’s serious multiple medical comorbidities, the medical chart reveals that the patient was
13
            admitted as an inpatient to Desert View Hospital. Therefore, the inpatient admission was not
14          medically necessary because Desert View Hospital was not a setting appropriate for the
            subject patient’s medical needs and condition. See Medicare Program Integrity Manual §
15          13.5.4 (2019); see also Winter, 953 F.3d at 1114 (inpatient admissions of a patient to a
            medical facility, which lacks the ability to provide treatment for the patient’s condition, gives
16          rise to a false certification of medical necessity).
17
            The conduct of Desert View Hospital (in conspiracy with the Vista Health Defendants)
18          violated (among other things) 42 U.S.C. § 1395y(a)(1)(A); Winter, 953 F.3d at 1114 (“claims
            for unnecessary treatment are false claims”).
19
            Desert View Hospital (in conspiracy with Vista Health, Valley Health, and Universal Health)
20          knowingly submitted a false claim to Medicare/Humana in the amount of $46,950.90 for the
            inpatient admission of the subject patient.
21

22          The Vista Health Defendants (in conspiracy with Desert View Hospital) also knowingly
            submitted a false claim in the amount of $_________ for payment to Medicare/Humana for
23          hospitalist services rendered to the subject patient.

24   134.   Patient 19
25
            Patient     19 presented         to     Desert     View      Hospital on _____________ with
26          multiple critical diagnoses of congestive heart failure, deep vein thrombosis, acute renal
            failure, and atrial fibrillation with rapid ventricular response.
27
            However, even though Desert View Hospital does not have an ICU to deal with the subject
28          patient’s serious multiple medical comorbidities, the medical chart reveals that the patient was

                                                   Page 31 of 91
        Case 2:19-cv-01560-JAD-VCF Document 53 Filed 11/10/20 Page 32 of 91




            admitted as an inpatient to Desert View Hospital. Therefore, the inpatient admission was not
1           medically necessary because Desert View Hospital was not a setting appropriate for the
2           subject patient’s medical needs and condition. See Medicare Program Integrity Manual §
            13.5.4 (2019); see also Winter, 953 F.3d at 1114 (inpatient admissions of a patient to a
3           medical facility, which lacks the ability to provide treatment for the patient’s condition, gives
            rise to a false certification of medical necessity).
4
            The conduct of Desert View Hospital (in conspiracy with the Vista Health Defendants)
5           violated (among other things) 42 U.S.C. § 1395y(a)(1)(A); Winter, 953 F.3d at 1114 (“claims
6           for unnecessary treatment are false claims”).

7           Desert View Hospital (in conspiracy with Vista Health, Valley Health, and Universal Health)
            knowingly submitted a false claim to Medicare/United/Optumcare in the amount of
8           $28,377.09 for the inpatient admission of the subject patient.
9
            The Vista Health Defendants (in conspiracy with Desert View Hospital) also knowingly
10          submitted a false claim in the amount of $_________ for payment to
            Medicare/United/Optumcare for hospitalist services rendered to the subject patient.
11
     135.   Patient 20
12
            Patient 20 presented to Desert View Hospital on _____________ with acute hypoxic
13
            respiratory failure.
14
            However, even though Desert View Hospital does not have an ICU to deal with the subject
15          patient’s serious multiple medical comorbidities, the medical chart reveals that the patient was
            admitted as an inpatient to Desert View Hospital. Therefore, the inpatient admission was not
16          medically necessary because Desert View Hospital was not a setting appropriate for the
            subject patient’s medical needs and condition. See Medicare Program Integrity Manual §
17
            13.5.4 (2019); see also Winter, 953 F.3d at 1114 (inpatient admissions of a patient to a
18          medical facility, which lacks the ability to provide treatment for the patient’s condition, gives
            rise to a false certification of medical necessity).
19
            The conduct of Desert View Hospital (in conspiracy with the Vista Health Defendants)
20          violated (among other things) 42 U.S.C. § 1395y(a)(1)(A); Winter, 953 F.3d at 1114 (“claims
            for unnecessary treatment are false claims”).
21

22          Desert View Hospital (in conspiracy with Vista Health, Valley Health, and Universal Health)
            knowingly submitted a false claim to Medicare/Anthem in the amount of $19,122.44 for the
23          inpatient admission of the subject patient.

24          The Vista Health Defendants (in conspiracy with Desert View Hospital) also knowingly
            submitted a false claim in the amount of $_________ for payment to Medicare/Anthem for
25
            hospitalist services rendered to the subject patient.
26
     136.   Patient 21
27
            Patient 21 presented to Desert View Hospital on _____________ with a diagnosis of
28          congestive heart failure, one of many such admissions for this patient.

                                                   Page 32 of 91
        Case 2:19-cv-01560-JAD-VCF Document 53 Filed 11/10/20 Page 33 of 91




1           However, even though Desert View Hospital does not have an ICU to deal with the subject
2           patient’s serious multiple medical comorbidities, the medical chart reveals that the patient was
            admitted as an inpatient to Desert View Hospital. Therefore, the inpatient admission was not
3           medically necessary because Desert View Hospital was not a setting appropriate for the
            subject patient’s medical needs and condition. See Medicare Program Integrity Manual §
4           13.5.4 (2019); see also Winter, 953 F.3d at 1114 (inpatient admissions of a patient to a
            medical facility, which lacks the ability to provide treatment for the patient’s condition, gives
5           rise to a false certification of medical necessity).
6
            The conduct of Desert View Hospital (in conspiracy with the Vista Health Defendants)
7           violated (among other things) 42 U.S.C. § 1395y(a)(1)(A); Winter, 953 F.3d at 1114 (“claims
            for unnecessary treatment are false claims”).
8
            Desert View Hospital (in conspiracy with Vista Health, Valley Health, and Universal Health)
9
            knowingly submitted a false claim to Medicare/Humana in the amount of $40,456.43 for the
10          inpatient admission of the subject patient.

11          The Vista Health Defendants (in conspiracy with Desert View Hospital) also knowingly
            submitted a false claim in the amount of $_________ for payment to Medicare/Humana for
12          hospitalist services rendered to the subject patient.
13
     137. Patient 22
14
            Patient 22 presented to Desert View Hospital with complaints of weakness, fatigue, poor
15          appetite, and abdominal discomfort. No cardiac complaints.

16          According to the medical chart, this patient underwent an unnecessary nuclear stress test even
            though the patient did not have any cardiac complaints.
17

18          The conduct of Desert View Hospital (in conspiracy with the Vista Health Defendants)
            violated (among other things) 42 U.S.C. § 1395y(a)(1)(A); Winter, 953 F.3d at 1114 (“claims
19          for unnecessary treatment are false claims”).

20          Desert View Hospital (in conspiracy with Vista Health, Valley Health, and Universal Health)
            knowingly submitted a false claim to Medicare/SR Care Plus P3 in the amount of $24,175.69
21
            for the admission and the unreasonable and medically unnecessary testing performed on the
22          subject patient.

23          The Vista Health Defendants (in conspiracy with Desert View Hospital) also knowingly
            submitted a false claim in the amount of $_________ for payment to Medicare/SR Care Plus
24          P3 for hospitalist services rendered to the subject patient.
25
     138.   Patient 23    Omitted
26
     139.   Patient 24
27
            On _______________, Patient 24 was admitted as an inpatient into Desert View Hospital with
28          complaints of dizziness.

                                                   Page 33 of 91
        Case 2:19-cv-01560-JAD-VCF Document 53 Filed 11/10/20 Page 34 of 91




1           However, there was no medical indication for an inpatient admission of this patient and any
2           certification by the admitting physician, that this patient would require hospital care for more
            than two (2) midnights is false within the meaning of 42 CFR § 412.3(d)(1). Furthermore,
3           the inpatient admission of this patient did not meet InterQual criteria.

4           In addition, according to the medical chart, this patient was subjected to an MRI of the brain,
            CT scan of the brain, carotid ultrasound, and a cardiac echocardiogram, which were not
5           indicated and did not correlate with the patient’s complaints in the medical chart.
6
            The conduct of Desert View Hospital (in conspiracy with the Vista Health Defendants)
7           violated (among other things) 42 U.S.C. § 1395y(a)(1)(A); Winter, 953 F.3d at 1114 (“claims
            for unnecessary treatment are false claims”).
8
            Desert View Hospital (in conspiracy with Vista Health, Valley Health, and Universal Health)
9
            knowingly submitted a false claim to Medicare/AARP in the amount of $68,353.73 for the
10          admission and the unreasonable and medically unnecessary testing performed on the subject
            patient.
11
            The Vista Health Defendants (in conspiracy with Desert View Hospital) also knowingly
12          submitted a false claim in the amount of $_________ for payment to Medicare/AARP for
            hospitalist services rendered to the subject patient.
13

14   140.   Patient 25

15          Patient 25 presented to Desert View Hospital on ______________ with weakness and
            shortness of breath due to a left molar tooth infection.
16
            However, there was no medical indication for an inpatient admission of this patient and any
17
            certification by the admitting physician that this patient would require hospital care for more
18          than two (2) midnights is false within the meaning of 42 CFR § 412.3(d)(1). Furthermore,
            the inpatient admission of this patient did not meet InterQual criteria.
19
            In addition, according to the medical chart, this patient with the “tooth infection” was
20          subjected to an echocardiogram, which was not indicated and did not correlate with the
            patient’s complaints in the medical chart.
21

22          The conduct of Desert View Hospital (in conspiracy with the Vista Health Defendants)
            violated (among other things) 42 U.S.C. § 1395y(a)(1)(A); Winter, 953 F.3d at 1114 (“claims
23          for unnecessary treatment are false claims”).

24          Desert View Hospital (in conspiracy with Vista Health, Valley Health, and Universal Health)
            knowingly submitted a false claim to Medicare/Humana in the amount of $30,660.04 for the
25
            admission and the unreasonable and medically unnecessary testing performed on the subject
26          patient.

27          The Vista Health Defendants (in conspiracy with Desert View Hospital) also knowingly
            submitted a false claim in the amount of $_________ for payment to Medicare/Humana for
28          hospitalist services rendered to the subject patient.

                                                  Page 34 of 91
        Case 2:19-cv-01560-JAD-VCF Document 53 Filed 11/10/20 Page 35 of 91




     141.   Patient 26
1

2           Patient 26 presented to Desert View Hospital on _____________ with weakness and fatigue
            and found to have hyponatremia (low sodium level) when the laboratory studies returned.
3
            According to the medical chart, despite the absence of any cardiac symptoms or any abnormal
4           cardiac findings on examination, the patient underwent an echocardiogram during the
            hospitalization.
5

6           In his admission note, Dr. Mirza stated, “because of history of hypertension, will get an
            echocardiogram.” However, history of hypertension does not meet appropriate use criteria for
7           obtaining a hospital echocardiogram in a patient admitted for noncardiac reasons.

8           The conduct of Desert View Hospital (in conspiracy with the Vista Health Defendants)
            violated (among other things) 42 U.S.C. § 1395y(a)(1)(A); Winter, 953 F.3d at 1114 (“claims
9
            for unnecessary treatment are false claims”).
10
            Desert View Hospital (in conspiracy with Vista Health, Valley Health, and Universal Health)
11          knowingly submitted a false claim to Medicare/AARP in the amount of $26,765.81 for the
            admission and the unreasonable and medically unnecessary testing performed on the subject
12          patient.
13
            The Vista Health Defendants (in conspiracy with Desert View Hospital) also knowingly
14          submitted a false claim in the amount of $_________ for payment to Medicare/AARP for
            hospitalist services rendered to the subject patient.
15
     142.   Patient 27
16
            Patient 27 presented to Desert View Hospital on ______________ after a recent discharge for
17
            airways disease and COPD. He was re-admitted for similar reasons with admission diagnosis
18          of COPD and sepsis.

19          In a _____________ progress note, Dr. Mirza states, “wife reported that he is not breathing
            well. She would like to have a stress test and an echocardiogram done while he is here…
20          Which I will order.”
21
            According to the medical chart, despite the absence of any cardiac complaints or any
22          abnormal cardiac findings on examination, the patient underwent a nuclear stress test and
            an echocardiogram during the hospitalization.
23
            The conduct of Desert View Hospital (in conspiracy with the Vista Health Defendants)
24          violated (among other things) 42 U.S.C. § 1395y(a)(1)(A); Winter, 953 F.3d at 1114 (“claims
            for unnecessary treatment are false claims”).
25

26          Desert View Hospital (in conspiracy with Vista Health, Valley Health, and Universal Health)
            knowingly submitted a false claim to Medicare/Humana in the amount of $41,527.51 for the
27          admission and the unreasonable and medically unnecessary testing performed on the subject
            patient.
28

                                                 Page 35 of 91
        Case 2:19-cv-01560-JAD-VCF Document 53 Filed 11/10/20 Page 36 of 91




            The Vista Health Defendants (in conspiracy with Desert View Hospital) also knowingly
1           submitted a false claim in the amount of $_________ for payment to Medicare/Humana for
2           hospitalist services rendered to the subject patient.

3    143.   Patient 28

4           Patient 28 presented to Desert View Hospital on ______________ because of atrial
            fibrillation. This was 1 of at least 4 admissions for the same diagnosis in the past two (2)
5           months at Desert View Hospital.
6
            Despite having had multiple echocardiograms in the previous two (2) months, including one
7           at Summerlin Hospital to which this patient had been transferred in the interim for atrial
            fibrillation ablation and insertion of a pacemaker as set forth in the medical chart, this patient
8           underwent yet another echocardiogram on ________________.
9
            In the medical chart, Muhammad Syed, M.D. (the patient’s attending physician) clearly stated
10          as follows: “Since patient recently had an extensive cardiac workup done at Summerlyn [sic],
            will not repeat cardiac workup at this time, will just monitor heart rate and cardiac enzymes.”
11
            However, despite Dr. Syed’s findings and acknowledging in the medical chart that a TEE (a
12          more in-depth echocardiogram) was done two weeks prior, Dr. Mirza ordered and the patient
            underwent an echocardiogram.
13

14          The test was not indicated due to recent multiple echocardiograms performed on this patient.

15          The conduct of Desert View Hospital (in conspiracy with the Vista Health Defendants)
            violated (among other things) 42 U.S.C. § 1395y(a)(1)(A); Winter, 953 F.3d at 1114 (“claims
16          for unnecessary treatment are false claims”).
17
            Desert View Hospital (in conspiracy with Vista Health, Valley Health, and Universal Health)
18          knowingly submitted a false claim to Medicare/Humana in the amount of $47,698.26 for the
            admission and the unreasonable and medically unnecessary testing performed on the subject
19          patient.

20          The Vista Health Defendants (in conspiracy with Desert View Hospital) also knowingly
            submitted a false claim in the amount of $_________ for payment to Medicare/Humana for
21
            hospitalist services rendered to the subject patient.
22
     144.   Patient 29
23
            Patient 29 presented to Desert View Hospital on _____________ with complaints of nausea
24          and vomiting along with passing of gas and diarrhea. Patient 29 had had a similar episode in
            ____________.
25

26          Despite the absence of cardiac symptoms in the medical chart, this patient underwent an
            echocardiogram and carotid ultrasound, which did not correlate with this patient’s complaints
27          during the hospitalization.

28

                                                   Page 36 of 91
        Case 2:19-cv-01560-JAD-VCF Document 53 Filed 11/10/20 Page 37 of 91




            The conduct of Desert View Hospital (in conspiracy with the Vista Health Defendants)
1           violated (among other things) 42 U.S.C. § 1395y(a)(1)(A); Winter, 953 F.3d at 1114 (“claims
2           for unnecessary treatment are false claims”).

3           Desert View Hospital (in conspiracy with Vista Health, Valley Health, and Universal Health)
            knowingly submitted a false claim to Medicare/Mutual of Omaha in the amount of $44,459.38
4           for the admission and the unreasonable and medically unnecessary testing performed on the
            subject patient.
5

6           The Vista Health Defendants (in conspiracy with Desert View Hospital) also knowingly
            submitted a false claim in the amount of $_________ for payment to Medicare/Mutual of
7           Omaha for hospitalist services rendered to the subject patient.

8    145.   Patient 30
9
            Patient 30 presented to Desert View Hospital on _____________ with an admission diagnosis
10          of palpitations and underwent a nuclear stress test on ________________.

11          In the medical chart, Dr. Mirza states that the patient came to the hospital because of
            palpitations but had a normal cardiac rhythm on arrival. Dr. Mirza further states that the
12          patient was excessively fatigued and deconditioned and therefore “needs a [sic] echo and
            Lexiscan stress test, along with treatment as per ACC guidelines.”
13

14          This patient underwent a Lexiscan stress test, which did not correlate with this patient’s
            complaints during the hospitalization.
15
            The conduct of Desert View Hospital (in conspiracy with the Vista Health Defendants)
16          violated (among other things) 42 U.S.C. § 1395y(a)(1)(A); Winter, 953 F.3d at 1114 (“claims
            for unnecessary treatment are false claims”).
17

18          Desert View Hospital (in conspiracy with Vista Health, Valley Health, and Universal Health)
            knowingly submitted a false claim to Medicare/Humana in the amount of $19,844.71 for the
19          admission and the unreasonable and medically unnecessary testing performed on the subject
            patient.
20
            The Vista Health Defendants (in conspiracy with Desert View Hospital) also knowingly
21
            submitted a false claim in the amount of $_________ for payment to Medicare/Humana for
22          hospitalist services rendered to the subject patient.

23   146. Patient 31

24          Patient 31 presented to Desert View Hospital on _____________ with a chief complaint of
            groin pain due to an injury. In the hospital emergency room, Patient 31 denied any cardiac
25
            symptoms.
26
            However, this patient underwent a Lexiscan stress test, which had nothing to do with the
27          patient’s groin injury.

28

                                                Page 37 of 91
        Case 2:19-cv-01560-JAD-VCF Document 53 Filed 11/10/20 Page 38 of 91




            The conduct of Desert View Hospital (in conspiracy with the Vista Health Defendants)
1           violated (among other things) 42 U.S.C. § 1395y(a)(1)(A); Winter, 953 F.3d at 1114 (“claims
2           for unnecessary treatment are false claims”).

3           Desert View Hospital (in conspiracy with Vista Health, Valley Health, and Universal Health)
            knowingly submitted a false claim to Medicare/Humana in the amount of $33,518.20 for the
4           admission and the unreasonable and medically unnecessary testing performed on the subject
            patient.
5

6           The Vista Health Defendants (in conspiracy with Desert View Hospital) also knowingly
            submitted a false claim in the amount of $_________ for payment to Medicare/Humana for
7           hospitalist services rendered to the subject patient.

8    147.   Patient 32

9           Patient 32 presented to Desert View Hospital on _____________ with notation in the
            admission history that there was chest pain that had resolved by the time the patient arrived in
10
            the emergency room.       Patient 32’s EKG and cardiac enzymes showed no evidence of
11          myocardial infarction.

12          Patient 32 was diagnosed as Acute Coronary Syndrome (“ACS”). However, Patient 32 did
            not meet the criteria for this diagnosis.
13
            Nonetheless, Patient 32 was kept at Desert View Hospital as an inpatient and underwent an
14
            echocardiogram and a nuclear stress test. Patient had already had an echocardiogram on
15          ________________. However, there was no medical indication for an inpatient admission of
            Patient 32 and any certification by the admitting physician that this patient would require
16          hospital care for more than two (2) midnights is false within the meaning of 42 CFR §
            412.3(d)(1). Furthermore, the inpatient admission of Patient 32 did not meet InterQual
17          criteria.
18
            In addition, while at Desert View Hospital, Patient 32 also underwent multiple other tests
19          including a CT angiogram of the chest with history noted to be fever and cough, which patient
            did not have according to the admission history, a CT scan of the abdomen and pelvis with
20          and without contrast even though Patient 32 was admitted with chest pain, and an abdominal
            ultrasound two (2) days in a row even though nothing was mentioned in the admission history
21          about abdominal symptoms.
22
            None of these tests were indicated and did not correlate with Patient 32’s complaints during
23          the hospitalization.

24          The conduct of Desert View Hospital (in conspiracy with the Vista Health Defendants)
            violated (among other things) 42 U.S.C. § 1395y(a)(1)(A); Winter, 953 F.3d at 1114 (“claims
25          for unnecessary treatment are false claims”).
26
            Desert View Hospital (in conspiracy with Vista Health, Valley Health, and Universal Health)
27          knowingly submitted a false claim to Medicare/Humana in the amount of $19,001.68 for the
            admission and the unreasonable and medically unnecessary testing performed on the subject
28          patient.

                                                  Page 38 of 91
        Case 2:19-cv-01560-JAD-VCF Document 53 Filed 11/10/20 Page 39 of 91




            The Vista Health Defendants (in conspiracy with Desert View Hospital) also knowingly
1           submitted a false claim in the amount of $_________ for payment to Medicare/Humana for
2           hospitalist services rendered to the subject patient.
     148.   Patient 33
3

4           Patient 33 presented to Desert View Hospital on ______________ with syncope/fainting. In
            the admission history, it was documented that Patient 33 was in no distress and, in the
5           emergency room, she already underwent a brain CT scan that showed no significant
            abnormality.
6

7           Despite the unremarkable brain CT scan, Patient 33 underwent a brain MRI scan on
            _______________. On admission, Dr. Mirza inappropriately pre-determined that Patient 33
8           would be admitted as an inpatient for 2-3 days.

9           However, there was no medical indication for an inpatient admission of Patient 33 and any
            certification by the admitting physician that this patient would require hospital care for more
10
            than two (2) midnights is false within the meaning of 42 CFR § 412.3(d)(1). Furthermore,
11          the inpatient admission of Patient 33 did not meet InterQual criteria.

12          While at Desert View Hospital, Patient 33 underwent multiple tests including an
            echocardiogram even though the physical exam documented no abnormality of the heart.
13          Patient 33 also underwent a nuclear medicine stress test, which was not indicated by the
            medical chart.
14

15          The conduct of Desert View Hospital (in conspiracy with the Vista Health Defendants)
            violated (among other things) 42 U.S.C. § 1395y(a)(1)(A); Winter, 953 F.3d at 1114 (“claims
16          for unnecessary treatment are false claims”).

17          Desert View Hospital (in conspiracy with Vista Health, Valley Health, and Universal Health)
            knowingly submitted a false claim to Medicare/Humana in the amount of $34,111.51 for the
18
            admission and the unreasonable and medically unnecessary testing performed on the subject
19          patient.

20          The Vista Health Defendants (in conspiracy with Desert View Hospital) also knowingly
            submitted a false claim in the amount of $_________ for payment to Medicare/Humana for
21          hospitalist services rendered to the subject patient.
22   149.   Patient 34
23
            Patient 34 presented to Desert View Hospital on _____________ with a chief complaint of
24          shortness of breath due to pneumonia. Prior to that admission, Patient 34 had been at Desert
            View Hospital during which admission she underwent implantation of a pacemaker and
25          subsequently developed pneumonia.

26          In the admission history and physical, Dr. Mirza states, “needs a echo [sic] and Lexiscan
            stress test, along with treatment as per, will be addressed as well. In the ER cardiac enzymes
27
            were not elevated. EKG showed nonspecific changes no acute ST elevations seen.”
28

                                                  Page 39 of 91
        Case 2:19-cv-01560-JAD-VCF Document 53 Filed 11/10/20 Page 40 of 91




            Despite being admitted with a noncardiac problem with a recent history of cardiac admissions
1           and cardiac testing, repeat cardiac testing was ordered by Dr. Mirza and performed by Desert
2           View Hospital.

3           None of these tests were indicated and did not correlate with Patient 34’s complaints during
            the hospitalization.
4
            In addition, even though Desert View Hospital is not properly staffed (no
5           anesthesiologist/nurse anesthetist, staff trained to assist in cardiac procedures, and/or staff to
6           address complications), and was not properly equipped (no cardiac cath lab) to implant
            pacemakers, a pacemaker implant was performed on Patient 34. Therefore, the pacemaker
7           implant was not medically necessary because Desert View Hospital was not a setting
            appropriate for the subject patient’s medical needs and condition. See Medicare Program
8           Integrity Manual § 13.5.4 (2019).
9
            The conduct of Desert View Hospital (in conspiracy with the Vista Health Defendants)
10          violated (among other things) 42 U.S.C. § 1395y(a)(1)(A); Winter, 953 F.3d at 1114 (“claims
            for unnecessary treatment are false claims”).
11
            Desert View Hospital (in conspiracy with Vista Health, Valley Health, and Universal Health)
12          knowingly submitted a false claim to Medicare/Humana in the amount of $95,983.11 for the
            admission and the unreasonable and medically unnecessary testing performed on the subject
13
            patient.
14
            The Vista Health Defendants (in conspiracy with Desert View Hospital) also knowingly
15          submitted a false claim in the amount of $_________ for payment to Medicare/Humana for
            hospitalist services rendered to the subject patient.
16
     150.   Patient 35
17
            Patient 35 presented to Desert View Hospital on ______________ with shortness of breath
18
            and palpitations and was found to have atrial fibrillation.
19
            This was a new onset, not accompanied by symptoms of acute coronary syndrome, no EKG or
20          cardiac enzyme evidence of myocardial ischemia. Despite the absence of an indication, the
            patient underwent a nuclear stress test on _________________.
21
            The nuclear stress test was not indicated and did not correlate with Patient 35’s complaints
22
            during the hospitalization.
23
            The conduct of Desert View Hospital (in conspiracy with the Vista Health Defendants)
24          violated (among other things) 42 U.S.C. § 1395y(a)(1)(A); Winter, 953 F.3d at 1114 (“claims
            for unnecessary treatment are false claims”).
25
            Desert View Hospital (in conspiracy with Vista Health, Valley Health, and Universal Health)
26
            knowingly submitted a false claim to Medicare/Humana in the amount of $37,461.13 for the
27          admission and the unreasonable and medically unnecessary testing performed on the subject
            patient.
28

                                                   Page 40 of 91
        Case 2:19-cv-01560-JAD-VCF Document 53 Filed 11/10/20 Page 41 of 91




            The Vista Health Defendants (in conspiracy with Desert View Hospital) also knowingly
1           submitted a false claim in the amount of $_________ for payment to Medicare/Humana for
2           hospitalist services rendered to the subject patient.
     151.   Patient 35(a)
3

4           Patient 35(a) presented to Desert View Hospital on ______________ with an aching of the
            right posterior jaw.
5
            The medical chart is devoid of any mention of previous heart disease or current heart disease.
6           However, Patient 35(a) underwent an echocardiogram.
7
            The echocardiogram was not indicated and did not correlate with Patient 35(a)’s complaints
8           during the hospitalization.

9           The conduct of Desert View Hospital (in conspiracy with the Vista Health Defendants)
            violated (among other things) 42 U.S.C. § 1395y(a)(1)(A); Winter, 953 F.3d at 1114 (“claims
10
            for unnecessary treatment are false claims”).
11
            Desert View Hospital (in conspiracy with Vista Health, Valley Health, and Universal Health)
12          knowingly submitted a false claim to Medicaid in the amount of $_____________ for the
            admission and the unreasonable and medically unnecessary testing performed on the subject
13          patient.
14
            The Vista Health Defendants (in conspiracy with Desert View Hospital) also knowingly
15          submitted a false claim in the amount of $_________ for payment to Medicaid for hospitalist
            services rendered to the subject patient.
16
     152.   Patient 35(b)
17
            Patient 35(b) presented to Desert View Hospital on ______________ with a history of back
18          pain of 2 days duration that occurred during lifting heavy objects.
19
            The medical chart is devoid of any cardiac symptoms. However, Patient 35(b) underwent an
20          echocardiogram.

21          The echocardiogram was not indicated and did not correlate with Patient 35(b)’s complaints
            during the hospitalization.
22
            The conduct of Desert View Hospital (in conspiracy with the Vista Health Defendants)
23
            violated (among other things) 42 U.S.C. § 1395y(a)(1)(A); Winter, 953 F.3d at 1114 (“claims
24          for unnecessary treatment are false claims”).

25          Desert View Hospital (in conspiracy with Vista Health, Valley Health, and Universal Health)
            knowingly submitted a false claim to Medicare/Humana in the amount of $__________ for
26          the admission and the unreasonable and medically unnecessary testing performed on the
            subject patient.
27

28

                                                  Page 41 of 91
        Case 2:19-cv-01560-JAD-VCF Document 53 Filed 11/10/20 Page 42 of 91




            The Vista Health Defendants (in conspiracy with Desert View Hospital) also knowingly
1           submitted a false claim in the amount of $_________ for payment to Medicare/Humana for
2           hospitalist services rendered to the subject patient.
     153.   Patient 35(c)
3

4           Patient 35(c) presented to Desert View Hospital on ______________ with complaints of an
            episode of dizziness that occurred when in bed ongoing from the previous night.
5
            The medical chart is devoid of any cardiac symptoms. However, Patient 35(c) underwent an
6           echocardiogram and a Lexiscan nuclear stress test.
7
            The echocardiogram and the nuclear stress test were not indicated and did not correlate with
8           Patient 35(c)’s complaints during the hospitalization.

9           The conduct of Desert View Hospital (in conspiracy with the Vista Health Defendants)
            violated (among other things) 42 U.S.C. § 1395y(a)(1)(A); Winter, 953 F.3d at 1114 (“claims
10
            for unnecessary treatment are false claims”).
11
            Desert View Hospital (in conspiracy with Vista Health, Valley Health, and Universal Health)
12          knowingly submitted a false claim to Medicare in the amount of $__________ for the
            admission and the unreasonable and medically unnecessary testing performed on the subject
13          patient.
14
            The Vista Health Defendants (in conspiracy with Desert View Hospital) also knowingly
15          submitted a false claim in the amount of $_________ for payment to Medicare for hospitalist
            services rendered to the subject patient.
16
     154.   Patient 35(d)
17
            Patient 35(d) presented to Desert View Hospital on ______________ with a complaint of
18          upper abdominal pain.
19
            The medical chart is devoid of any cardiac symptoms. However, Patient 35(d), an 88-year old
20          woman, underwent an echocardiogram and a Lexiscan nuclear stress test.

21          The echocardiogram and the nuclear stress test were not indicated and did not correlate with
            Patient 35(d)’s complaints during the hospitalization.
22
            The conduct of Desert View Hospital (in conspiracy with the Vista Health Defendants)
23
            violated (among other things) 42 U.S.C. § 1395y(a)(1)(A); Winter, 953 F.3d at 1114 (“claims
24          for unnecessary treatment are false claims”).

25          Desert View Hospital (in conspiracy with Vista Health, Valley Health, and Universal Health)
            knowingly submitted a false claim to Medicare/Humana in the amount of $___________ for
26          the admission and the unreasonable and medically unnecessary testing performed on the
            subject patient.
27

28

                                                 Page 42 of 91
        Case 2:19-cv-01560-JAD-VCF Document 53 Filed 11/10/20 Page 43 of 91




            The Vista Health Defendants (in conspiracy with Desert View Hospital) also knowingly
1           submitted a false claim in the amount of $_________ for payment to Medicare/Humana for
2           hospitalist services rendered to the subject patient.
     155.   Patient 35(e)
3

4           Patient 35(e) presented to Desert View Hospital on ______________ with a complaint of
            chest pain.
5
            Patient 35(e) had coronary disease for many years, has cardiomyopathy, has a cardiology team
6           at UCLA, and has been evaluated by other cardiologists including Relator Arik as recently as
7           January 30, 2020. Despite having echo and nuclear cardiac imaging on December 28, 2019
            and January 16, 2020, Patient 35(e) was again admitted to the hospital and underwent the
8           same tests on _________.

9           Patient 35(e) medical records, including the results for echo and the nuclear cardiac imaging,
            were not requested by Desert View Hospital and Dr. Mirza insisted that the tests be repeated
10
            at Desert View Hospital.
11
            No changes were made in the patient’s therapy and no changes were made in the management
12          plan for the patient. The tests were not indicated due to having been done recently.

13          The conduct of Desert View Hospital (in conspiracy with the Vista Health Defendants)
            violated (among other things) 42 U.S.C. § 1395y(a)(1)(A); Winter, 953 F.3d at 1114 (“claims
14
            for unnecessary treatment are false claims”).
15
            Desert View Hospital (in conspiracy with Vista Health, Valley Health, and Universal Health)
16          knowingly submitted a false claim to Medicare in the amount of $____________ for the
            admission and the unreasonable and medically unnecessary testing performed on the subject
17          patient.
18
            The Vista Health Defendants (in conspiracy with Desert View Hospital) also knowingly
19          submitted a false claim in the amount of $_________ for payment to Medicare for hospitalist
            services rendered to the subject patient.
20
     156.   Patient 35(f)
21
            Patient 35(f) presented to Desert View Hospital on ______________ with a diagnosis of
22          bronchitis.
23
            The medical chart is devoid of any cardiac symptoms. However, Patient 35(f), underwent,
24          among other things, echocardiogram, a Lexiscan nuclear stress test, and a chest CT
            Angiogram.
25
            The echocardiogram, a Lexiscan nuclear stress test, and a chest CT Angiogram were not
26          supported by the patient’s medical chart, were not indicated and did not correlate with Patient
            35(f)’s complaints during the hospitalization.
27

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                                                  Page 43 of 91
        Case 2:19-cv-01560-JAD-VCF Document 53 Filed 11/10/20 Page 44 of 91




            The conduct of Desert View Hospital (in conspiracy with the Vista Health Defendants)
1           violated (among other things) 42 U.S.C. § 1395y(a)(1)(A); Winter, 953 F.3d at 1114 (“claims
2           for unnecessary treatment are false claims”).

3           Desert View Hospital (in conspiracy with Vista Health, Valley Health, and Universal Health)
            knowingly submitted a false claim to Medicare in the amount of $_________ for the
4           admission and the unreasonable and medically unnecessary testing performed on the subject
            patient.
5

6           The Vista Health Defendants (in conspiracy with Desert View Hospital) also knowingly
            submitted a false claim in the amount of $_________ for payment to Medicare for hospitalist
7           services rendered to the subject patient.

8    157. Patient 35(g)

9           Patient 35(g) presented to Desert View Hospital on ______________ with a diagnosis of
            congestive heart failure.
10

11          However, Patient 35(g), underwent, among other things, an abdominal CT scan. The
            abdominal CT scan was not indicated and did not correlate with Patient 35(g)’s complaints
12          during the hospitalization.

13          The conduct of Desert View Hospital (in conspiracy with the Vista Health Defendants)
            violated (among other things) 42 U.S.C. § 1395y(a)(1)(A); Winter, 953 F.3d at 1114 (“claims
14
            for unnecessary treatment are false claims”).
15
            Desert View Hospital (in conspiracy with Vista Health, Valley Health, and Universal Health)
16          knowingly submitted a false claim to Medicare/Humana in the amount of $__________ for
            the admission and the unreasonable and medically unnecessary testing performed on the
17          subject patient.
18
            The Vista Health Defendants (in conspiracy with Desert View Hospital) also knowingly
19          submitted a false claim in the amount of $_________ for payment to Medicare/Humana for
            hospitalist services rendered to the subject patient.
20
     158.   Patient 35(h)
21
            Patient 35(h) presented to Desert View Hospital on ______________ with a complaint of
22          generalized weakness.
23
            However, Patient 35(h), age 84, underwent (among other things) repeated laboratory studies,
24          chest x-ray, brain scan, lower extremity arterial and venous ultrasound, and cardiac echo.
            These tests were not indicated and did not correlate with Patient 35(h)’s complaints during the
25          hospitalization.

26          The conduct of Desert View Hospital (in conspiracy with the Vista Health Defendants)
            violated (among other things) 42 U.S.C. § 1395y(a)(1)(A); Winter, 953 F.3d at 1114 (“claims
27
            for unnecessary treatment are false claims”).
28

                                                  Page 44 of 91
        Case 2:19-cv-01560-JAD-VCF Document 53 Filed 11/10/20 Page 45 of 91




            Desert View Hospital (in conspiracy with Vista Health, Valley Health, and Universal Health)
1           knowingly submitted a false claim to Medicare/Humana in the amount of $_________ for the
2           admission and the unreasonable and medically unnecessary testing performed on the subject
            patient.
3
            The Vista Health Defendants (in conspiracy with Desert View Hospital) also knowingly
4           submitted a false claim in the amount of $_________ for payment to Medicare/Humana for
            hospitalist services rendered to the subject patient.
5
     159.   Patient 35(i)
6

7           Patient 35(i) presented to Desert View Hospital on ______________ with a diagnosis of
            dizziness with near syncope.
8
            However, Patient 35(i), underwent (among other things) an echocardiogram, carotid
9           ultrasound, and brain MRI. These tests were not indicated and did not correlate with Patient
            35(i)’s complaints during the hospitalization.
10

11          The conduct of Desert View Hospital (in conspiracy with the Vista Health Defendants)
            violated (among other things) 42 U.S.C. § 1395y(a)(1)(A); Winter, 953 F.3d at 1114 (“claims
12          for unnecessary treatment are false claims”).

13          Desert View Hospital (in conspiracy with Vista Health, Valley Health, and Universal Health)
            knowingly submitted a false claim to Medicare/Humana in the amount of $__________ for
14
            the admission and the unreasonable and medically unnecessary testing performed on the
15          subject patient.

16          The Vista Health Defendants (in conspiracy with Desert View Hospital) also knowingly
            submitted a false claim in the amount of $_________ for payment to Medicare/Humana for
17          hospitalist services rendered to the subject patient.
18   160.   Patient 35(j)
19
            Patient 35(j) presented to Desert View Hospital on ______________ with complaints of
20          dizziness and weakness.

21          However, Patient 35(j), underwent (among other things) a CT of the neck, an echocardiogram,
            and a nuclear stress test. These tests were not indicated and did not correlate with Patient
22          35(j)’s complaints during the hospitalization.
23
            The conduct of Desert View Hospital (in conspiracy with the Vista Health Defendants)
24          violated (among other things) 42 U.S.C. § 1395y(a)(1)(A); Winter, 953 F.3d at 1114 (“claims
            for unnecessary treatment are false claims”).
25
            Desert View Hospital (in conspiracy with Vista Health, Valley Health, and Universal Health)
26          knowingly submitted a false claim to Medicare in the amount of $__________ for the
            admission and the unreasonable and medically unnecessary testing performed on the subject
27
            patient.
28

                                                 Page 45 of 91
        Case 2:19-cv-01560-JAD-VCF Document 53 Filed 11/10/20 Page 46 of 91




            The Vista Health Defendants (in conspiracy with Desert View Hospital) also knowingly
1           submitted a false claim in the amount of $_________ for payment to Medicare for hospitalist
2           services rendered to the subject patient.
     161.   Patient 35(k)
3

4           Patient 35(k) presented to Desert View Hospital on ______________ with complaints of
            shortness of breath.
5
            However, Patient 35(k), underwent (among other things) an echocardiogram and a nuclear
6           stress test. An echocardiogram was not indicated and medically unnecessary because the
7           patient had recently had it performed. The nuclear stress test was not indicated and was
            medically unnecessary because the patient had a recent previous normal coronary angiogram.
8
            The conduct of Desert View Hospital (in conspiracy with the Vista Health Defendants)
9           violated (among other things) 42 U.S.C. § 1395y(a)(1)(A); Winter, 953 F.3d at 1114 (“claims
            for unnecessary treatment are false claims”).
10

11          Desert View Hospital (in conspiracy with Vista Health, Valley Health, and Universal Health)
            knowingly submitted a false claim to Medicare in the amount of $_________ for the
12          admission and the unreasonable and medically unnecessary testing performed on the subject
            patient.
13
            The Vista Health Defendants (in conspiracy with Desert View Hospital) also knowingly
14
            submitted a false claim in the amount of $_________ for payment to Medicare for hospitalist
15          services rendered to the subject patient.
     162.   Patient 35(l) Omitted
16
     163.   Patient 35(m)
17

18          Patient 35(m) presented to Desert View Hospital on ______________ with complaints of
            dizziness while lying in bed. No other symptoms were reported.
19
            However, Patient 35(m), underwent (among other things) an echocardiogram, and a nuclear
20
            stress test. These tests were not indicated and were medically unnecessary.
21
            The conduct of Desert View Hospital (in conspiracy with the Vista Health Defendants)
22          violated (among other things) 42 U.S.C. § 1395y(a)(1)(A); Winter, 953 F.3d at 1114 (“claims
            for unnecessary treatment are false claims”).
23
            Desert View Hospital (in conspiracy with Vista Health, Valley Health, and Universal Health)
24
            knowingly submitted a false claim to Medicare in the amount of $_________ for the
25          admission and the unreasonable and medically unnecessary testing performed on the subject
            patient.
26
            The Vista Health Defendants (in conspiracy with Desert View Hospital) also knowingly
27          submitted a false claim in the amount of $_________ for payment to Medicare for hospitalist
            services rendered to the subject patient.
28

                                                Page 46 of 91
        Case 2:19-cv-01560-JAD-VCF Document 53 Filed 11/10/20 Page 47 of 91




1    164.   Patient 35(n)

2           Patient 35(n) presented to Desert View Hospital on ______________ with complaints of
3           shortness of breath, leg swelling, and out of medication.

4           However, Patient 35(n), underwent (among other things) an echocardiogram and a CT
            angiogram of the chest. These tests were not indicated and were medically unnecessary
5           because they were recently done on the patient.
6           The conduct of Desert View Hospital (in conspiracy with the Vista Health Defendants)
7           violated (among other things) 42 U.S.C. § 1395y(a)(1)(A); Winter, 953 F.3d at 1114 (“claims
            for unnecessary treatment are false claims”).
8
            Desert View Hospital (in conspiracy with Vista Health, Valley Health, and Universal Health)
9           knowingly submitted a false claim to Medicaid in the amount of $_______ for the admission
            and the unreasonable and medically unnecessary testing performed on the subject patient.
10

11          The Vista Health Defendants (in conspiracy with Desert View Hospital) also knowingly
            submitted a false claim in the amount of $_________ for payment to Medicaid for hospitalist
12          services rendered to the subject patient.

13   165.   Patient 35(o)

14          Patient 35(o) presented to Desert View Hospital on ______________ due to dizziness leading
            to a fall that resulted in superficial laceration on the head.
15

16          However, Patient 35(o), underwent (among other things) an echocardiogram, a carotid
            ultrasound, and a nuclear stress test. These tests were not indicated and were medically
17          unnecessary based on the patient’s complaints.

18          The conduct of Desert View Hospital (in conspiracy with the Vista Health Defendants)
            violated (among other things) 42 U.S.C. § 1395y(a)(1)(A); Winter, 953 F.3d at 1114 (“claims
19
            for unnecessary treatment are false claims”).
20
            Desert View Hospital (in conspiracy with Vista Health, Valley Health, and Universal Health)
21          knowingly submitted a false claim to Medicare/Humana in the amount of $_________ for the
            admission and the unreasonable and medically unnecessary testing performed on the subject
22          patient.
23
            The Vista Health Defendants (in conspiracy with Desert View Hospital) also knowingly
24          submitted a false claim in the amount of $_________ for payment to Medicare/AARP for
            hospitalist services rendered to the subject patient.
25
     166.   Patient 35(p)
26
            Patient 35(p) presented to Desert View Hospital on ______________ due to elevated blood
27          pressure.
28

                                                Page 47 of 91
        Case 2:19-cv-01560-JAD-VCF Document 53 Filed 11/10/20 Page 48 of 91




            However, Patient 35(p), underwent (among other things) a nuclear stress test. This test was
1           not indicated and was medically unnecessary because according to his medical chart, the
2           patient “was chest pain free.”

3           The patient also underwent (among other things) an echocardiogram which was previously
            recently performed. This test was not indicated and medically unnecessary because it was
4           recently performed.
5           The conduct of Desert View Hospital (in conspiracy with the Vista Health Defendants)
6           violated (among other things) 42 U.S.C. § 1395y(a)(1)(A); Winter, 953 F.3d at 1114 (“claims
            for unnecessary treatment are false claims”).
7
            Desert View Hospital (in conspiracy with Vista Health, Valley Health, and Universal Health)
8           knowingly submitted a false claim to Medicare in the amount of $________ for the admission
            and the unreasonable and medically unnecessary testing performed on the subject patient.
9

10          The Vista Health Defendants (in conspiracy with Desert View Hospital) also knowingly
            submitted a false claim in the amount of $_________ for payment to Medicare for hospitalist
11          services rendered to the subject patient.

12   167.   Patient 35(q)

13          Patient 35(q) presented to Desert View Hospital on ______________ due to generalized
            weakness due to side effects of a new medication.
14

15          This test was not indicated and was medically unnecessary because according to his medical
            chart, the patient “was chest pain free.”
16
            The conduct of Desert View Hospital (in conspiracy with the Vista Health Defendants)
17          violated (among other things) 42 U.S.C. § 1395y(a)(1)(A); Winter, 953 F.3d at 1114 (“claims
            for unnecessary treatment are false claims”).
18

19          Desert View Hospital (in conspiracy with Vista Health, Valley Health, and Universal Health)
            knowingly submitted a false claim to Medicare in the amount of $_________ for the
20          admission and the unreasonable and medically unnecessary testing performed on the subject
            patient.
21
            The Vista Health Defendants (in conspiracy with Desert View Hospital) also knowingly
22
            submitted a false claim in the amount of $_________ for payment to Medicare for hospitalist
23          services rendered to the subject patient.

24   168.   Patient 35(r)

25          Patient 35(r) presented to Desert View Hospital on ______________ due to dizziness,
            weakness, and dark stools.
26
            However, Patient 35(r), underwent (among other things) a carotid ultrasound,
27
            echocardiogram, a CT of the brain, and a blood transfusion. These tests and the blood
28          transfusion were not indicated and were medically unnecessary based on the patient’s
            complaints, a diagnosis of hemorrhoidal bleeding, and hemoglobin of 9.

                                                Page 48 of 91
        Case 2:19-cv-01560-JAD-VCF Document 53 Filed 11/10/20 Page 49 of 91




1           The conduct of Desert View Hospital (in conspiracy with the Vista Health Defendants)
2           violated (among other things) 42 U.S.C. § 1395y(a)(1)(A); Winter, 953 F.3d at 1114 (“claims
            for unnecessary treatment are false claims”).
3
            Desert View Hospital (in conspiracy with Vista Health, Valley Health, and Universal Health)
4           knowingly submitted a false claim to Medicare in the amount of $__________ for the
            admission and the unreasonable and medically unnecessary testing performed on the subject
5           patient.
6
            The Vista Health Defendants (in conspiracy with Desert View Hospital) also knowingly
7           submitted a false claim in the amount of $_________ for payment to Medicare for hospitalist
            services rendered to the subject patient.
8
     169.   Patient 36
9

10          Patient 36 presented to Desert View Hospital on ___________. This patient was admitted
            with noncardiac chest pain.
11
            However, Patient 36 underwent (among other things), an echocardiogram and nuclear stress
12          test, which were not indicated and were medically unnecessary based on the patient’s
            complaints in the medical chart.
13

14          The conduct of Desert View Hospital (in conspiracy with the Vista Health Defendants)
            violated (among other things) 42 U.S.C. § 1395y(a)(1)(A); Winter, 953 F.3d at 1114 (“claims
15          for unnecessary treatment are false claims”).

16          Desert View Hospital (in conspiracy with Vista Health, Valley Health, and Universal Health)
            knowingly submitted a false claim to Medicare/AARP in the amount of $58,476.03 for the
17
            admission and the unreasonable and medically unnecessary testing performed on the subject
18          patient.

19          The Vista Health Defendants (in conspiracy with Desert View Hospital) also knowingly
            submitted a false claim in the amount of $_________ for payment to Medicare/AARP for
20          hospitalist services rendered to the subject patient.
21
     170.   Patient 37
22
            Patient 37 presented to Desert View Hospital on _______________. Multiple diagnoses are
23          listed on page two (2) of the emergency department Summary of Care.

24          According to the billing records, Desert View Hospital (in conspiracy with Vista Health,
            Valley Health, and Universal Health) knowingly submitted a false claim to
25
            Medicare/CHAMPVA in the amount of $47,268.75 for, among other things,
26          “ICU/Intermediate.” However, Desert View Hospital does not provide “ICU/Intermediate”
            care services to patients.
27

28

                                                Page 49 of 91
        Case 2:19-cv-01560-JAD-VCF Document 53 Filed 11/10/20 Page 50 of 91




            The Vista Health Defendants (in conspiracy with Desert View Hospital) also knowingly
1           submitted a false claim in the amount of $_________ for payment to Medicare/CHAMPVA
2           for hospitalist services rendered to the subject patient.

3           The conduct of Desert View Hospital (in conspiracy with the Vista Health Defendants)
            violated (among other things) the False Claims Act.
4
     171.   Patient 38
5

6           Patient 38 presented to Desert View Hospital on ______________with symptoms of
            bronchitis.
7
            However, based on the medical chart, there was no medical indication for an inpatient
8           admission of Patient 38 and any certification by the admitting physician that this patient
            would require hospital care for more than two (2) midnights is false within the meaning of 42
9
            CFR § 412.3(d)(1). Furthermore, the inpatient admission of Patient 38 did not meet InterQual
10          criteria.

11          The conduct of Desert View Hospital (in conspiracy with the Vista Health Defendants)
            violated (among other things) 42 U.S.C. § 1395y(a)(1)(A); Winter, 953 F.3d at 1114 (“claims
12          for unnecessary treatment are false claims”).
13
            Desert View Hospital (in conspiracy with Vista Health, Valley Health, and Universal Health)
14          knowingly submitted a false claim to Medicare/AARP in the amount of $12,836.17 for the
            admission and the unreasonable and medically unnecessary testing performed on the subject
15          patient.

16          The Vista Health Defendants (in conspiracy with Desert View Hospital) also knowingly
            submitted a false claim in the amount of $_________ for payment to Medicare/AARP for
17
            hospitalist services rendered to the to the subject patient.
18
     172.   Patient 39 Omitted
19
     173.   Patient 40
20
            Patient 40 presented to Desert View Hospital on ______________ and was admitted for
21
            sepsis.
22
            However, Patient 40, underwent (among other things), an echocardiogram and nuclear stress
23          test, which were not indicated and was medically unnecessary based on the patient’s
            complaints in the medical chart.
24
            The conduct of Desert View Hospital (in conspiracy with the Vista Health Defendants)
25
            violated (among other things) 42 U.S.C. § 1395y(a)(1)(A); Winter, 953 F.3d at 1114 (“claims
26          for unnecessary treatment are false claims”).

27          Desert View Hospital (in conspiracy with Vista Health, Valley Health, and Universal Health)
            knowingly submitted a false claim to Medicare/Magellan in the amount of $67,649.78 for the
28

                                                 Page 50 of 91
        Case 2:19-cv-01560-JAD-VCF Document 53 Filed 11/10/20 Page 51 of 91




            admission and the unreasonable and medically unnecessary testing performed on the subject
1           patient.
2
            The Vista Health Defendants (in conspiracy with Desert View Hospital) also knowingly
3           submitted a false claim in the amount of $_________ for payment to Medicare/Magellan for
            hospitalist services rendered to the subject patient.
4
     174.   Patient 41 Omitted
5

6    175.   Patient 42 Omitted

7    176.   Patient 42(a)

8           Patient 42(a) presented to Desert View Hospital on __________ with cough and shortness of
            breath and believed he had a fever at home.
9

10          However, based on the medical chart, there was no medical indication for an inpatient
            admission of Patient 42(a) and any certification by the admitting physician that this patient
11          would require hospital care for more than two (2) midnights is false within the meaning of 42
            CFR § 412.3(d)(1). Furthermore, the inpatient admission of Patient 42(a) did not meet
12          InterQual criteria.
13
            The conduct of Desert View Hospital (in conspiracy with the Vista Health Defendants)
14          violated (among other things) 42 U.S.C. § 1395y(a)(1)(A); Winter, 953 F.3d at 1114 (“claims
            for unnecessary treatment are false claims”).
15
            Desert View Hospital (in conspiracy with Vista Health, Valley Health, and Universal Health)
16          knowingly submitted a false claim to Medicaid in the amount of $________ for the admission
            and the unreasonable and medically unnecessary testing performed on the subject patient.
17

18          The Vista Health Defendants (in conspiracy with Desert View Hospital) also knowingly
            submitted a false claim in the amount of $_________ for payment to Medicaid for hospitalist
19          services rendered to the to the subject patient.

20   177.   Patient 43
21
            Patient 43 presented to Desert View Hospital on ____________ with a chief complaint of
22          nausea and vomiting and generalized weakness going on for a week.

23          However, Patient 43, underwent (among other things) a nuclear stress test, which was not
            indicated and medically unnecessary based on the patient’s complaints in the medical chart.
24
            The conduct of Desert View Hospital (in conspiracy with the Vista Health Defendants)
25
            violated (among other things) 42 U.S.C. § 1395y(a)(1)(A); Winter, 953 F.3d at 1114 (“claims
26          for unnecessary treatment are false claims”).

27          Desert View Hospital (in conspiracy with Vista Health, Valley Health, and Universal Health)
            knowingly submitted a false claim to Medicare/Humana in the amount of $32,400.97 for the
28

                                                 Page 51 of 91
        Case 2:19-cv-01560-JAD-VCF Document 53 Filed 11/10/20 Page 52 of 91




            admission and the unreasonable and medically unnecessary testing performed on the subject
1           patient.
2
            The Vista Health Defendants (in conspiracy with Desert View Hospital) also knowingly
3           submitted a false claim in the amount of $_________ for payment to Medicare/Humana for
            hospitalist services rendered to the subject patient.
4
     178.   Patient 43(a)
5

6           Patient 43(a) presented to Desert View Hospital on ____________ with a rapid atrial
            fibrillation.
7
            However, even though Desert View Hospital is not equipped to perform a cardioversion (a
8           procedure involving direct shock of the patient’s heart while sedated) was performed on
            Patient 43(a) for which there was not appropriate staff (no anesthesiologist/nurse anesthetist),
9
            equipment (no transesophageal echo), or facility (no procedure room). Therefore, the
10          cardioversion was not medically necessary because Desert View Hospital was not a setting
            appropriate for the subject patient’s medical needs and condition. See Medicare Program
11          Integrity Manual § 13.5.4 (2019).

12          The conduct of Desert View Hospital (in conspiracy with the Vista Health Defendants)
            violated (among other things) 42 U.S.C. § 1395y(a)(1)(A); Winter, 953 F.3d at 1114 (“claims
13
            for unnecessary treatment are false claims”).
14
            Desert View Hospital (in conspiracy with Vista Health, Valley Health, and Universal Health)
15          knowingly submitted a false claim to Medicare in the amount of $__________ for the
            inpatient admission and the unreasonable and medically unnecessary testing performed on the
16          subject patient.
17
            The Vista Health Defendants (in conspiracy with Desert View Hospital) also knowingly
18          submitted a false claim in the amount of $_________ for payment to Medicare for hospitalist
            services rendered to the subject patient.
19
     179.   Patient 43(b)
20
            Patient 43(b) presented to Desert View Hospital on ____________ with a rapid atrial
21
            fibrillation.
22
            Patient 43(b) was admitted as an inpatient into Desert View Hospital. However, there was no
23          medical indication for an inpatient admission of Patient 43(b) and any certification by the
            admitting physician that this patient would require hospital care for more than two (2)
24          midnights is false within the meaning of 42 CFR § 412.3(d)(1). Furthermore, the inpatient
            admission of Patient 43(b) did not meet InterQual criteria.
25

26          In addition, even though Desert View Hospital is not equipped to perform a cardioversion (a
            procedure involving direct shock of the patient’s heart while sedated) was performed on
27          Patient 43(b) for which there was not appropriate staff (no anesthesiologist/nurse anesthetist),
            equipment (no transesophageal echo), or facility (no procedure room). Therefore, the
28          cardioversion was not medically necessary because Desert View Hospital was not a setting

                                                  Page 52 of 91
        Case 2:19-cv-01560-JAD-VCF Document 53 Filed 11/10/20 Page 53 of 91




            appropriate for the subject patient’s medical needs and condition. See Medicare Program
1           Integrity Manual § 13.5.4 (2019).
2
            The conduct of Desert View Hospital (in conspiracy with the Vista Health Defendants)
3           violated (among other things) 42 U.S.C. § 1395y(a)(1)(A); Winter, 953 F.3d at 1114 (“claims
            for unnecessary treatment are false claims”).
4
            Desert View Hospital (in conspiracy with Vista Health, Valley Health, and Universal Health)
5           knowingly submitted a false claim to Medicare/Humana in the amount of $__________ for
6           the inpatient admission and the unreasonable and medically unnecessary testing performed on
            the subject patient.
7
            The Vista Health Defendants (in conspiracy with Desert View Hospital) also knowingly
8           submitted a false claim in the amount of $_________ for payment to Medicare/Humana for
            hospitalist services rendered to the subject patient.
9

10   180.   Patient 44

11          Patient 44 presented to Desert View Hospital on ____________ and was diagnosed with rapid
            atrial fibrillation.
12
            Patient 44 was admitted as an inpatient. However, there was no medical indication for an
13
            inpatient admission of Patient 44 and any certification by the admitting physician that this
14          patient would require hospital care for more than two (2) midnights is false within the
            meaning of 42 CFR § 412.3(d)(1). Furthermore, the inpatient admission of Patient 44 did not
15          meet InterQual criteria.

16          In addition, Patient 44 underwent a chest CT angiogram and Lexiscan nuclear stress test,
            which were not indicated and did not correlate with the patient’s complaints in the medical
17
            chart.
18
            The conduct of Desert View Hospital (in conspiracy with the Vista Health Defendants)
19          violated (among other things) 42 U.S.C. § 1395y(a)(1)(A); Winter, 953 F.3d at 1114 (“claims
            for unnecessary treatment are false claims”).
20
            Desert View Hospital (in conspiracy with Vista Health, Valley Health, and Universal Health)
21
            knowingly submitted a false claim to Medicaid in the amount of $___________ for the
22          admission and the unreasonable and medically unnecessary testing performed on the subject
            patient.
23
            The Vista Health Defendants (in conspiracy with Desert View Hospital) also knowingly
24          submitted a false claim in the amount of $_________ for payment to Medicaid for hospitalist
            services rendered to the subject patient.
25

26   181.   Patient 45

27          Patient 45 presented to Desert View Hospital on ____________ with complaints of three (3)
            months history of cough and congestion.
28

                                                 Page 53 of 91
        Case 2:19-cv-01560-JAD-VCF Document 53 Filed 11/10/20 Page 54 of 91




            Patient 45 was admitted as an inpatient. However, there was no medical indication for an
1           inpatient admission of Patient 45 and any certification by the admitting physician that this
2           patient would require hospital care for more than two (2) midnights is false within the
            meaning of 42 CFR § 412.3(d)(1). Furthermore, the inpatient admission of Patient 45 did not
3           meet InterQual criteria.

4           In addition, Patient 45 underwent, among other things, a CT of the soft tissue of the neck and
            CT of the brain. However, these tests were not indicated and did not correlate with Patient
5           45’s complaints during the hospitalization.
6
            The conduct of Desert View Hospital (in conspiracy with the Vista Health Defendants)
7           violated (among other things) 42 U.S.C. § 1395y(a)(1)(A); Winter, 953 F.3d at 1114 (“claims
            for unnecessary treatment are false claims”).
8
            Desert View Hospital (in conspiracy with Vista Health, Valley Health, and Universal Health)
9
            knowingly submitted a false claim to Medicare in the amount of $___________ for the
10          admission and the unreasonable and medically unnecessary testing performed on the subject
            patient.
11
            The Vista Health Defendants (in conspiracy with Desert View Hospital) also knowingly
12          submitted a false claim in the amount of $_________ for payment to Medicare for hospitalist
            services rendered to the subject patient.
13

14   182.   Patient 46

15          Patient 46 presented to Desert View Hospital on ____________ due to high blood pressure
            without any symptoms.
16
            Patient 46 was admitted as an inpatient. However, there was no medical indication for an
17
            inpatient admission of Patient 46 and any certification by the admitting physician that this
18          patient would require hospital care for more than two (2) midnights is false within the
            meaning of 42 CFR § 412.3(d)(1). Furthermore, the inpatient admission of Patient 46 did not
19          meet InterQual criteria.

20          In addition, Patient 46 underwent, among other things, an echocardiogram and a CT of the
            brain. However, these tests were not indicated and was medically unnecessary.
21

22          The conduct of Desert View Hospital (in conspiracy with the Vista Health Defendants)
            violated (among other things) 42 U.S.C. § 1395y(a)(1)(A); Winter, 953 F.3d at 1114 (“claims
23          for unnecessary treatment are false claims”).

24          Desert View Hospital (in conspiracy with Vista Health, Valley Health, and Universal Health)
            knowingly submitted a false claim to Medicare in the amount of $___________ for the
25
            admission and the unreasonable and medically unnecessary testing performed on the subject
26          patient.

27          The Vista Health Defendants (in conspiracy with Desert View Hospital) also knowingly
            submitted a false claim in the amount of $_________ for payment to Medicare for hospitalist
28          services rendered to the subject patient.

                                                  Page 54 of 91
        Case 2:19-cv-01560-JAD-VCF Document 53 Filed 11/10/20 Page 55 of 91




1    183.   Patient 47
2
            Patient 47 presented to Desert View Hospital on ____________ due to shortness of breath.
3
            Patient 47 was admitted as an inpatient. However, there was no medical indication for an
4           inpatient admission of Patient 47 and any certification by the admitting physician that this
            patient would require hospital care for more than two (2) midnights is false within the
5           meaning of 42 CFR § 412.3(d)(1). Furthermore, the inpatient admission of Patient 47 did
6           not meet InterQual criteria.

7           In addition, Patient 47 underwent, among other things, an CT angiogram. However, this test
            was not indicated and was medically unnecessary because patient’s chest x-ray was clear.
8
            The conduct of Desert View Hospital (in conspiracy with the Vista Health Defendants)
9
            violated (among other things) 42 U.S.C. § 1395y(a)(1)(A); Winter, 953 F.3d at 1114 (“claims
10          for unnecessary treatment are false claims”).

11          Desert View Hospital (in conspiracy with Vista Health, Valley Health, and Universal Health)
            knowingly submitted a false claim to Medicare/Humana in the amount of $___________ for
12          the admission and the unreasonable and medically unnecessary testing performed on the
            subject patient.
13

14          The Vista Health Defendants (in conspiracy with Desert View Hospital) also knowingly
            submitted a false claim in the amount of $_________ for payment to Medicare/Humana for
15          hospitalist services rendered to the subject patient.

16   184.   Patient 48
17
            Patient 48 presented to Desert View Hospital on ____________ due to generalized weakness,
18          poor appetite, and gait instability.

19          Patient 48 was admitted as an inpatient. However, there was no medical indication for an
            inpatient admission of Patient 48 and any certification by the admitting physician that this
20          patient would require hospital care for more than two (2) midnights is false within the
            meaning of 42 CFR § 412.3(d)(1). Furthermore, the inpatient admission of Patient 48 did
21
            not meet InterQual criteria.
22
            In addition, Patient 48 underwent, among other things, an echocardiogram and Lexiscan
23          nuclear stress. An echocardiogram was not indicated and was medically unnecessary because
            the patient had recently had it performed. The nuclear stress test was not indicated and was
24          was medically unnecessary because the patient had a recent previous normal coronary
            angiogram.
25

26          The conduct of Desert View Hospital (in conspiracy with the Vista Health Defendants)
            violated (among other things) 42 U.S.C. § 1395y(a)(1)(A); Winter, 953 F.3d at 1114 (“claims
27          for unnecessary treatment are false claims”).

28

                                                 Page 55 of 91
        Case 2:19-cv-01560-JAD-VCF Document 53 Filed 11/10/20 Page 56 of 91




            Desert View Hospital (in conspiracy with Vista Health, Valley Health, and Universal Health)
1           knowingly submitted a false claim to Medicare in the amount of $___________ for the
2           admission and the unreasonable and medically unnecessary testing performed on the subject
            patient.
3
            The Vista Health Defendants (in conspiracy with Desert View Hospital) also knowingly
4           submitted a false claim in the amount of $_________ for payment to Medicare for hospitalist
            services rendered to the subject patient.
5

6    185.   Patient 49

7           Patient 49 presented to Desert View Hospital on ____________ due to dizziness and blurry
            vision.
8
            Patient 49 was admitted as an inpatient. However, there was no medical indication for an
9
            inpatient admission of Patient 49 and any certification by the admitting physician that this
10          patient would require hospital care for more than two (2) midnights is false within the
            meaning of 42 CFR § 412.3(d)(1). Furthermore, the inpatient admission of Patient 49 did
11          not meet InterQual criteria.

12          In addition, Patient 49 underwent, among other things, an echocardiogram and Lexiscan
            nuclear stress, which were not indicated and did not correlate with the patient’s complaints in
13
            the medical chart.
14
            The conduct of Desert View Hospital (in conspiracy with the Vista Health Defendants)
15          violated (among other things) 42 U.S.C. § 1395y(a)(1)(A); Winter, 953 F.3d at 1114 (“claims
            for unnecessary treatment are false claims”).
16
            Desert View Hospital (in conspiracy with Vista Health, Valley Health, and Universal Health)
17
            knowingly submitted a false claim to Medicaid in the amount of $__________ for the
18          admission and the unreasonable and medically unnecessary testing performed on the subject
            patient.
19
            The Vista Health Defendants (in conspiracy with Desert View Hospital) also knowingly
20          submitted a false claim in the amount of $_________ for payment to Medicaid for hospitalist
            services rendered to the subject patient.
21

22   186.   Patient 50

23          Patient 50 presented to Desert View Hospital on ____________ due to an accidental fall.

24          Patient 50 was admitted as an inpatient. However, there was no medical indication for an
            inpatient admission of Patient 50 and any certification by the admitting physician that this
25
            patient would require hospital care for more than two (2) midnights is false within the
26          meaning of 42 CFR § 412.3(d)(1). Furthermore, the inpatient admission of Patient 50 did
            not meet InterQual criteria.
27

28

                                                  Page 56 of 91
        Case 2:19-cv-01560-JAD-VCF Document 53 Filed 11/10/20 Page 57 of 91




            In addition, Patient 50 underwent, among other things, an echocardiogram.              An
1           echocardiogram was not indicated and was medically unnecessary because the patient did not
2           have any cardiac symptoms and/or findings.

3           The conduct of Desert View Hospital (in conspiracy with the Vista Health Defendants)
            violated (among other things) 42 U.S.C. § 1395y(a)(1)(A); Winter, 953 F.3d at 1114 (“claims
4           for unnecessary treatment are false claims”).
5           Desert View Hospital (in conspiracy with Vista Health, Valley Health, and Universal Health)
6           knowingly submitted a false claim to Medicare/Humana in the amount of $__________ for
            the admission and the unreasonable and medically unnecessary testing performed on the
7           subject patient.

8           The Vista Health Defendants (in conspiracy with Desert View Hospital) also knowingly
            submitted a false claim in the amount of $_________ for payment to Medicare/Humana for
9
            hospitalist services rendered to the subject patient.
10
     187.   Patient 51
11
            Patient 51 presented to Desert View Hospital on ____________ with chief complaints of
12          blurry vision and headaches.
13
            Patient 51 was admitted as an inpatient for six (6) days. However, there was no medical
14          indication for an inpatient admission of Patient 51 and any certification by the admitting
            physician that this patient would require hospital care for more than two (2) midnights is false
15          within the meaning of 42 CFR § 412.3(d)(1). Furthermore, the inpatient admission of
            Patient 51 did not meet InterQual criteria.
16
            In addition, Patient 51 underwent, among other things, an echocardiogram, CT scan of the
17
            cervical spine, and a nuclear stress test. These tests were not indicated and was medically
18          unnecessary because the patient did not have any cardiac symptoms and/or findings.

19          The conduct of Desert View Hospital (in conspiracy with the Vista Health Defendants)
            violated (among other things) 42 U.S.C. § 1395y(a)(1)(A); Winter, 953 F.3d at 1114 (“claims
20          for unnecessary treatment are false claims”).
21
            Desert View Hospital (in conspiracy with Vista Health, Valley Health, and Universal Health)
22          knowingly submitted a false claim to Medicare in the amount of $__________ for the
            admission and the unreasonable and medically unnecessary testing performed on the subject
23          patient.

24          The Vista Health Defendants (in conspiracy with Desert View Hospital) also knowingly
            submitted a false claim in the amount of $_________ for payment to Medicare for hospitalist
25
            services rendered to the subject patient.
26
     188.   Patient 52
27
            Patient 52 presented to Desert View Hospital on ____________ with a chief complaint of
28          shortness of breath.

                                                  Page 57 of 91
        Case 2:19-cv-01560-JAD-VCF Document 53 Filed 11/10/20 Page 58 of 91




1           Patient 52 was admitted as an inpatient. However, there was no medical indication for an
2           inpatient admission of Patient 52 and any certification by the admitting physician that this
            patient would require hospital care for more than two (2) midnights is false within the
3           meaning of 42 CFR § 412.3(d)(1). Furthermore, the inpatient admission of Patient 52 did
            not meet InterQual criteria.
4
            In addition, Patient 52 underwent, among other things, a nuclear stress test. This test was not
5           indicated and did not correlate with the patient’s complaints in the medical chart.
6
            The conduct of Desert View Hospital (in conspiracy with the Vista Health Defendants)
7           violated (among other things) 42 U.S.C. § 1395y(a)(1)(A); Winter, 953 F.3d at 1114 (“claims
            for unnecessary treatment are false claims”).
8
            Desert View Hospital (in conspiracy with Vista Health, Valley Health, and Universal Health)
9
            knowingly submitted a false claim to Medicare/Humana in the amount of $__________ for
10          the admission and the unreasonable and medically unnecessary testing performed on the
            subject patient.
11
            The Vista Health Defendants (in conspiracy with Desert View Hospital) also knowingly
12          submitted a false claim in the amount of $_________ for payment to Medicare/Humana for
            hospitalist services rendered to the subject patient.
13

14   189.   Patient 53

15          Patient 53 presented to Desert View Hospital on _____________ with complaints of bleeding
            from this patient’s known hemorrhoids and no other symptoms. Patient reported no abdominal
16          pain, nausea or vomiting. The hemorrhoidal bleeding stopped while the patient was at the
            emergency room.
17

18          No rectal exam was documented at any time during Patient 53’s stay at Desert View Hospital.
            The patient’s blood count was normal. There were no indicators that this patient had any kind
19          of lower gastrointestinal bleeding.

20          Patient 53 was admitted as an inpatient. However, there was no medical indication for an
            inpatient admission of Patient 53 and any certification by the admitting physician that this
21
            patient would require hospital care for more than two (2) midnights is false within the
22          meaning of 42 CFR § 412.3(d)(1). Furthermore, the inpatient admission of Patient 53 did
            not meet InterQual criteria.
23
            In addition, while an inpatient at Desert View Hospital, Patient 53 underwent an
24          echocardiogram, a test which was not reasonable, necessary or relevant to the patient’s
            complaints, admission diagnosis or treatment plan.
25

26          The conduct of Desert View Hospital (in conspiracy with the Vista Health Defendants)
            violated (among other things) 42 U.S.C. § 1395y(a)(1)(A); Winter, 953 F.3d at 1114 (“claims
27          for unnecessary treatment are false claims”).

28

                                                  Page 58 of 91
        Case 2:19-cv-01560-JAD-VCF Document 53 Filed 11/10/20 Page 59 of 91




            Desert View Hospital (in conspiracy with Vista Health, Valley Health, and Universal Health)
1           knowingly submitted a false claim to Medicare in the amount of $__________ for the
2           admission and the unreasonable and medically unnecessary testing performed on the subject
            patient.
3
            The Vista Health Defendants (in conspiracy with Desert View Hospital) also knowingly
4           submitted a false claim in the amount of $_________ for payment to Medicare for hospitalist
            services rendered to the subject patient.
5

6    190.   Patient 54

7           Patient 54 presented to Desert View Hospital on ____________ due to having fever two (2)
            days before arriving and had developed a productive cough with left-sided chest pain.
8
            In the emergency department, it was documented that the patient did not have an elevated
9
            temperature and the patient’s oxygen levels were documented as normal, ranging from 94%-
10          99%. Although the patient’s heart rate was elevated at 109 when the patient arrived at the
            emergency department, by the time the patient left the emergency department, the heart rate
11          was normal at 86. A chest CT scan was taken and it indicated left upper lobe abnormality
            stated by the radiologist to be postobstructive pneumonia, not acute.
12
            Based on the symptoms, Patient 54 should have been discharged with a prescription for=
13
            antibiotics and a referral for a follow up.
14
            Instead, Patient 54 was admitted for inpatient care at Desert View Hospital with a diagnosis of
15          pneumonia and kept at the hospital for five (5) days.

16          To support the inappropriate admission of Patient 54, and in stark contrast to the findings
            from the emergency department, in his notes, Dr. Mirza claimed that the patient was short of
17
            breath, could not breathe at night or when lying flat, claimed that the patient was having
18          fevers (even though there was no documented fever for the entirety of the patient’s stay),
            chills and rigors. In fact, Dr. Mirza claimed that the patient’s symptoms were 10 out of 10.
19          Further, Dr. Mirza claimed that the patient’s saturation of oxygen was 92% even though there
            is no documented finding of the oxygen saturation being at that level at any time.
20
            Patient 54 was admitted as an inpatient. However, there was no medical indication for an
21
            inpatient admission of Patient 54 and any certification by the admitting physician that this
22          patient would require hospital care for more than two (2) midnights is false within the
            meaning of 42 CFR § 412.3(d)(1). Furthermore, the inpatient admission of Patient 54 did
23          not meet InterQual criteria.

24          The conduct of Desert View Hospital (in conspiracy with the Vista Health Defendants)
            violated (among other things) 42 U.S.C. § 1395y(a)(1)(A); Winter, 953 F.3d at 1114 (“claims
25
            for unnecessary treatment are false claims”).
26
            Desert View Hospital (in conspiracy with Vista Health, Valley Health, and Universal Health)
27          knowingly submitted a false claim to Medicare in the amount of $__________ for the
            admission and of the subject patient.
28

                                                  Page 59 of 91
        Case 2:19-cv-01560-JAD-VCF Document 53 Filed 11/10/20 Page 60 of 91




            The Vista Health Defendants (in conspiracy with Desert View Hospital) also knowingly
1           submitted a false claim in the amount of $_________ for payment to Medicare for hospitalist
2           services rendered to the subject patient.

3    191.   Patient 55

4           Patient 55 presented on Desert View Hospital on ___________ due to chronic right shoulder
            and bilateral knee pain “keeping [the patient] up all night”. Patient 55 stated the pain had
5           been going on for more than one year and had worsened over the 2 months prior to arriving in
6           the emergency department. Patient denied any other symptoms and the emergency
            department notes clearly state that the patient has no complaints of cough, shortness of breath
7           and his oxygen level is 98%.

8           Patient 55 underwent a right shoulder x-ray which was negative for a fracture.
9
            Patient 55 should have been evaluated at the emergency department and discharged with a
10          referral for an outpatient follow up.

11          Instead, Patient 55 underwent a chest x-ray which was incidentally abnormal, and an EKG
            showing Atrial Fibrillation, a long-standing and stable condition for which Patient 55 had
12          already been receiving treatment. Patient 55 had no symptoms requiring either test.
13
            In his notes, Dr. Mirza claims that the patient’s symptoms are 10/10 while the patient was
14          exhibiting no symptoms whatsoever related to Pneumonia or Atrial Fibrillation.

15          Patient 55 was admitted as an inpatient at Desert View Hospital for five (5) days with
            diagnosis of Pneumonia, Atrial Fibrillation and right shoulder fracture even though the
16          shoulder x-ray was negative for a fracture.
17
            In addition, while an inpatient at Desert View Hospital, Patient 55 underwent an
18          echocardiogram, a test which was not reasonable, necessary or relevant to the patient’s
            complaints, admission diagnosis or treatment plan.
19
            Patient 55 was discharged with a diagnosis of COPD and hypovolemia, and bronchitis –
20          diagnosis completely different than his admission diagnosis.
21
            Patient 55 was admitted as an inpatient. However, there was no medical indication for an
22          inpatient admission of Patient 55 and any certification by the admitting physician that this
            patient would require hospital care for more than two (2) midnights is false within the
23          meaning of 42 CFR § 412.3(d)(1). Furthermore, the inpatient admission of Patient 55 did
            not meet InterQual criteria.
24
            In addition, while an inpatient at Desert View Hospital, Patient 55 underwent, among others,
25
            an echocardiogram, a test which was not reasonable, necessary or relevant to the patient’s
26          complaints, admission diagnosis or treatment plan.

27          The conduct of Desert View Hospital (in conspiracy with the Vista Health Defendants)
            violated (among other things) 42 U.S.C. § 1395y(a)(1)(A); Winter, 953 F.3d at 1114 (“claims
28          for unnecessary treatment are false claims”).

                                                  Page 60 of 91
           Case 2:19-cv-01560-JAD-VCF Document 53 Filed 11/10/20 Page 61 of 91




1             Desert View Hospital (in conspiracy with Vista Health, Valley Health, and Universal Health)
2             knowingly submitted a false claim to Medicare in the amount of $__________ for the
              admission and the unreasonable and medically unnecessary testing performed on the subject
3             patient.

4             The Vista Health Defendants (in conspiracy with Desert View Hospital) also knowingly
              submitted a false claim in the amount of $_________ for payment to Medicare for hospitalist
5             services rendered to the subject patient.
6
     192.     Patient 56
7
              Patient 56 presented on Desert View Hospital on ___________ due to complaints of anxiety
8             with a several-day history of cough and congestion. The documented vital signs in the
              emergency room were unremarkable. The patient was treated in the emergency room and it is
9
              documented that the patient’s breathing was improved and she was feeling better. Oxygen
10            levels were normal. The patient was not hypoxic or short of breath.

11            This patient should have been treated in the emergency department and then discharged with a
              recommended outpatient follow up.
12
              Instead, Patient 56 was subjected to a chest x-ray which showed possible changes but it
13
              showed no evidence of pneumonia and no evidence of COPD. However, the clinical
14            impression of the emergency room physician was COPD exacerbation and anxiety.

15            Patient 56 was admitted as an inpatient at Desert View Hospital for four (4) days with a
              diagnosis of acute COPD with a possible component of congestive heart failure. The
16            admitting hospitalist documented that Patient 56 complained of wheezing and sputum, none of
              which the patient complained about while treated at the emergency department.
17

18            However, there was no medical indication for an inpatient admission of Patient 56 and any
              certification by the admitting physician that this patient would require hospital care for more
19            than two (2) midnights is false within the meaning of 42 CFR § 412.3(d)(1). Furthermore,
              the inpatient admission of Patient 56 did not meet InterQual criteria.
20
              The conduct of Desert View Hospital (in conspiracy with the Vista Health Defendants)
21
              violated (among other things) 42 U.S.C. § 1395y(a)(1)(A); Winter, 953 F.3d at 1114 (“claims
22            for unnecessary treatment are false claims”).

23            Desert View Hospital (in conspiracy with Vista Health, Valley Health, and Universal Health)
              knowingly submitted a false claim to Medicare in the amount of $__________ for the
24            admission of the subject patient.
25
              The Vista Health Defendants (in conspiracy with Desert View Hospital) also knowingly
26            submitted a false claim in the amount of $_________ for payment to Medicare for hospitalist
              services rendered to the subject patient.
27
     ///
28

                                                    Page 61 of 91
        Case 2:19-cv-01560-JAD-VCF Document 53 Filed 11/10/20 Page 62 of 91




     193.   Patient 57
1

2           Patient 57 presented to their primary care physician on __________with a two (2)-week
            history of right lower quadrant abdominal pain, difficulty with urination, and chills. The
3           primary care physician directed Patient 57 to the Desert View Hospital emergency
            department.
4
            While on her way to the hospital, Patient 57 nearly lost consciousness due to dizziness and
5           generalized weakness when she was standing. When Patient 57 arrived to the Desert View
6           Hospital emergency department, the patient’s vital signs included critically low blood
            pressure 90/57 with an elevated heart rate of 90. In addition, the initial hemoglobin was 6.6
7           and the CBC parameters were consistent with acute instead of chronic anemia.

8           Patient 57 needed to be transferred to a higher level of care facility in order to have
            gastrointestinal testing which Desert View Hospital does not have the capability of
9
            performing.
10
            Instead, this patient was admitted as observation, given 1 unit of blood and discharged home
11          the next day, without the necessary treatment which the Desert View Hospital knew it does
            not have the capability of providing.
12
            However, even though Desert View Hospital was not equipped to treat the patient, the
13
            medical chart reveals that the patient was admitted to Desert View Hospital. Therefore, the
14          admission was not medically necessary because Desert View Hospital was not a setting
            appropriate for the subject patient’s medical needs and condition. See Medicare Program
15          Integrity Manual § 13.5.4 (2019); see also Winter, 953 F.3d at 1114 (admissions of a patient
            to a medical facility, which lacks the ability to provide treatment for the patient’s condition,
16          gives rise to a false certification of medical necessity).
17
            The conduct of Desert View Hospital (in conspiracy with the Vista Health Defendants)
18          violated (among other things) 42 U.S.C. § 1395y(a)(1)(A); Winter, 953 F.3d at 1114 (“claims
            for unnecessary treatment are false claims”).
19
            Desert View Hospital (in conspiracy with Vista Health, Valley Health, and Universal Health)
20          knowingly submitted a false claim to Medicare in the amount of $__________ for the
            inpatient admission of the subject patient.
21

22          The Vista Health Defendants (in conspiracy with Desert View Hospital) also knowingly
            submitted a false claim in the amount of $_________ for payment to Medicare for hospitalist
23          services rendered to the subject patient.

24   194.   Patient 58
25
            Patient 58 presented to Desert View Hospital on ___________ and was diagnosed with sepsis,
26          pyelonephritis, seizure and altered mental status from severe hyponatremia.

27          This patient required transfer to a higher level of care facility for ICU and neurology
            evaluation.
28

                                                  Page 62 of 91
        Case 2:19-cv-01560-JAD-VCF Document 53 Filed 11/10/20 Page 63 of 91




            However, even though Desert View Hospital does not have an ICU to deal with the subject
1           patient’s serious multiple medical comorbidities, the medical chart reveals that the patient was
2           admitted as an inpatient to Desert View Hospital for four (4) days. Therefore, the inpatient
            admission was not medically necessary because Desert View Hospital was not a setting
3           appropriate for the subject patient’s medical needs and condition. See Medicare Program
            Integrity Manual § 13.5.4 (2019); see also Winter, 953 F.3d at 1114 (inpatient admissions of a
4           patient to a medical facility, which lacks the ability to provide treatment for the patient’s
            condition, gives rise to a false certification of medical necessity).
5

6           The conduct of Desert View Hospital (in conspiracy with the Vista Health Defendants)
            violated (among other things) 42 U.S.C. § 1395y(a)(1)(A); Winter, 953 F.3d at 1114 (“claims
7           for unnecessary treatment are false claims”).

8           Desert View Hospital (in conspiracy with Vista Health, Valley Health, and Universal Health)
            knowingly submitted a false claim to Medicare in the amount of $___________ for the
9
            inpatient admission of the subject patient.
10
            The Vista Health Defendants (in conspiracy with Desert View Hospital) also knowingly
11          submitted a false claim in the amount of $_________ for payment to Medicare for hospitalist
            services rendered to the subject patient.
12
     195.   Patient 59
13

14          Patient 59 presented to Desert View Hospital on ___________ with worsening pain of the
            fifth toe of the right foot. The patient had a history of diabetes and previous amputations due
15          to infection. The patient had elevated white blood cells count and an MRI showed evidence
            of osteomyelitis.
16
            Patient 59 needed an immediate transfer to a higher level of care because the patient required
17
            immediate evaluation, consultation, and treatment by an orthopedist.
18
            Instead, Patient 59 was admitted as an inpatient at Desert View Hospital for five (5) days and
19          received IV antibiotics and discharged.

20          Subsequently, after the discharge from Desert View Hospital, the patient had to be treated at a
            higher level of care facility as an inpatient for one (1) week and then had to have four (4)
21
            weeks of rehabilitation.
22
            Even though Desert View Hospital was not equipped to treat the patient, the medical chart
23          reveals that the patient was admitted to Desert View Hospital. Therefore, the inpatient
            admission was not medically necessary because Desert View Hospital was not a setting
24          appropriate for the subject patient’s medical needs and condition. See Medicare Program
            Integrity Manual § 13.5.4 (2019); see also Winter, 953 F.3d at 1114 (admissions of a patient
25
            to a medical facility, which lacks the ability to provide treatment for the patient’s condition,
26          gives rise to a false certification of medical necessity).

27          The conduct of Desert View Hospital (in conspiracy with the Vista Health Defendants)
            violated (among other things) 42 U.S.C. § 1395y(a)(1)(A); Winter, 953 F.3d at 1114 (“claims
28          for unnecessary treatment are false claims”).

                                                  Page 63 of 91
           Case 2:19-cv-01560-JAD-VCF Document 53 Filed 11/10/20 Page 64 of 91




1             Desert View Hospital (in conspiracy with Vista Health, Valley Health, and Universal Health)
2             knowingly submitted a false claim to Medicare in the amount of $__________ for the
              inpatient admission of the subject patient.
3
              The Vista Health Defendants (in conspiracy with Desert View Hospital) also knowingly
4             submitted a false claim in the amount of $_________ for payment to Medicare for hospitalist
              services rendered to the subject patient.
5

6    196.     Patient 60

7             Patient 60 presented to Desert View Hospital on _________ with active severe vomiting of
              copious amounts of blood in the context of a history of a bleeding gastric ulcer. In the
8             emergency room she reported symptoms of nausea and abdominal pain. There was a
              significant drop in hemoglobin and hematocrit noted on Complete Blood Count (CBC)
9
              testing.
10
              This patient should have been transferred to a higher level of care facility in order to receive
11            appropriate care for active gastrointestinal bleeding which Desert View Hospital is not
              equipped to provide.
12
              Even though Desert View Hospital was not equipped to treat the patient, the medical chart
13
              reveals that the patient was admitted to Desert View Hospital for five (5) days. Therefore, the
14            inpatient admission was not medically necessary because Desert View Hospital was not a
              setting appropriate for the subject patient’s medical needs and condition. See Medicare
15            Program Integrity Manual § 13.5.4 (2019); see also Winter, 953 F.3d at 1114 (admissions of a
              patient to a medical facility, which lacks the ability to provide treatment for the patient’s
16            condition, gives rise to a false certification of medical necessity).
17
              In addition, while an inpatient at Desert View Hospital, Patient 60 underwent, among others, a
18            nuclear stress test and a cardiac echocardiogram, tests which was not reasonable, necessary or
              relevant to the patient’s complaints, admission diagnosis or treatment plan.
19
              The conduct of Desert View Hospital (in conspiracy with the Vista Health Defendants)
20            violated (among other things) 42 U.S.C. § 1395y(a)(1)(A); Winter, 953 F.3d at 1114 (“claims
              for unnecessary treatment are false claims”).
21

22            Desert View Hospital (in conspiracy with Vista Health, Valley Health, and Universal Health)
              knowingly submitted a false claim to Medicare in the amount of $__________ for the
23            admission and the unreasonable and medically unnecessary testing performed on the subject
              patient.
24
              The Vista Health Defendants (in conspiracy with Desert View Hospital) also knowingly
25
              submitted a false claim in the amount of $_________ for payment to Medicare for hospitalist
26            services rendered to the subject patient.

27   ///

28   ///

                                                    Page 64 of 91
        Case 2:19-cv-01560-JAD-VCF Document 53 Filed 11/10/20 Page 65 of 91




     197.   Patient 61
1

2           Patient 61 presented to Desert View Hospital on ____________ due to slurring of speech with
            generalized weakness consistent with acute stroke. An MRI scan of the brain was done which
3           confirmed an acute stroke of the left posterior frontal lobe involving Broca’s area. Broca’s
            area is the part of the brain that controls speech.
4
            This patient needed to be transferred to a higher level of care facility as Desert View Hospital
5           has no stroke treatment program.
6
            Instead, Patient 61 was admitted as an inpatient to Desert View Hospital and kept for four (4)
7           days. In the discharge summary for the Patient 61’s stay at Desert View Hospital, there is no
            mention in the MRI findings confirming the patient had a stroke.
8
            Shortly after her discharge, Patient 61 had another stroke.
9

10          Even though Desert View Hospital was not equipped to treat the patient, the medical chart
            reveals that the patient was admitted to Desert View Hospital. Therefore, the inpatient
11          admission was not medically necessary because Desert View Hospital was not a setting
            appropriate for the subject patient’s medical needs and condition. See Medicare Program
12          Integrity Manual § 13.5.4 (2019); see also Winter, 953 F.3d at 1114 (admissions of a patient
            to a medical facility, which lacks the ability to provide treatment for the patient’s condition,
13
            gives rise to a false certification of medical necessity).
14
            In addition, while an inpatient at Desert View Hospital, Patient 61 underwent, among other
15          things, an echocardiogram while exhibiting no chest pain, no shortness of breath, no dizziness
            or any other symptoms which would indicate said testing. Therefore, such testing was not
16          reasonable, necessary or relevant to the patient’s complaints, admission diagnosis or treatment
            plan.
17

18          The conduct of Desert View Hospital (in conspiracy with the Vista Health Defendants)
            violated (among other things) 42 U.S.C. § 1395y(a)(1)(A); Winter, 953 F.3d at 1114 (“claims
19          for unnecessary treatment are false claims”).

20          Desert View Hospital (in conspiracy with Vista Health, Valley Health, and Universal Health)
            knowingly submitted a false claim to Medicare in the amount of $__________ for the
21
            admission and the unreasonable and medically unnecessary testing performed on the subject
22          patient.

23          The Vista Health Defendants (in conspiracy with Desert View Hospital) also knowingly
            submitted a false claim in the amount of $_________ for payment to Medicare for hospitalist
24          services rendered to the subject patient.
25
     198.   Patient 62
26
            Patient 62 presented to Desert View Hospital on __________ with symptoms of facial tingling
27          and no other symptoms.

28

                                                   Page 65 of 91
           Case 2:19-cv-01560-JAD-VCF Document 53 Filed 11/10/20 Page 66 of 91




              Even though Patient 62 had no complaints which would indicate that the patient had a urinary
1             tract infection (“UTI”), a urinalysis on Patient 62 was done which came back positive.
2
              This patient should have been treated with antibiotics for a UTI while at the emergency
3             department and discharged with a referral for an outpatient neurology consult.

4             Instead, Patient 62 was diagnosed with a UTI and a Transient Ischemic Attack (“TIA”)
              without the requisite symptoms. Even though Desert View Hospital is not equipped to treat
5             patients with TIA (had this patient suffered one), Patient 62 was admitted as an inpatient to
6             Desert View Hospital for three (3) days.

7             There was no medical indication for an inpatient admission of this patient and any
              certification by the admitting physician that this patient would require hospital care for more
8             than two (2) midnights is false within the meaning of 42 CFR § 412.3(d)(1). Furthermore,
              the inpatient admission of this patient did not meet InterQual criteria.
9

10            In addition, while an inpatient at Desert View Hospital, Patient 62 underwent, among others,
              an echocardiogram while exhibiting no chest pain, no shortness of breath, no dizziness or any
11            other symptoms which would indicate said testing. Therefore, such testing was not reasonable,
              necessary or relevant to the patient’s complaints, admission diagnosis or treatment plan.
12
              The conduct of Desert View Hospital (in conspiracy with the Vista Health Defendants)
13
              violated (among other things) 42 U.S.C. § 1395y(a)(1)(A); Winter, 953 F.3d at 1114 (“claims
14            for unnecessary treatment are false claims”).

15            Desert View Hospital (in conspiracy with Vista Health, Valley Health, and Universal Health)
              knowingly submitted a false claim to Medicaid in the amount of $__________ for the
16            admission and the unreasonable and medically unnecessary testing performed on the subject
              patient.
17

18            The Vista Health Defendants (in conspiracy with Desert View Hospital) also knowingly
              submitted a false claim in the amount of $_________ for payment to Medicaid for hospitalist
19            services rendered to the subject patient.

20   199.     Patient 63
21
              Patient 63 presented to Desert View Hospital on ____________ with complaints of shortness
22            of breath. While in the emergency department, Patient 63 was diagnosed with acute
              exasperation of COPD and high flow oxygen.
23
              Approximately four (4) months prior to presenting to Desert View Hospital, Patient 63
24            underwent a full cardiac workup including stress test and an echocardiogram while an
              outpatient.
25

26            Patient 63 should have received treatment for exasperation of the patient’s COPD and
              discharged.
27
     ///
28

                                                    Page 66 of 91
        Case 2:19-cv-01560-JAD-VCF Document 53 Filed 11/10/20 Page 67 of 91




            Instead, the Desert View Hospital hospitalist changed Patient 63’s diagnosis to acute coronary
1           syndrome, congestive heart failure and COPD. Further, Patient 63 was admitted as an
2           inpatient at Desert View Hospital for four (4) days.

3           There was no medical indication for an inpatient admission of this patient and any
            certification by the admitting physician that this patient would require hospital care for more
4           than two (2) midnights is false within the meaning of 42 CFR § 412.3(d)(1). Furthermore,
            the inpatient admission of this patient did not meet InterQual criteria.
5

6           In addition, while an inpatient at Desert View Hospital, Patient 63 underwent, among others, a
            stress test and an echocardiogram, the same exact tests the patient just recently underwent as
7           an outpatient and which were not indicated and did not correlate with Patient 63’s complaints
            during the hospitalization. Therefore, such testing was not reasonable, necessary or relevant to
8           the patient’s complaints, admission diagnosis or treatment plan.
9
            The conduct of Desert View Hospital (in conspiracy with the Vista Health Defendants)
10          violated (among other things) 42 U.S.C. § 1395y(a)(1)(A); Winter, 953 F.3d at 1114 (“claims
            for unnecessary treatment are false claims”).
11
            Desert View Hospital (in conspiracy with Vista Health, Valley Health, and Universal Health)
12          knowingly submitted a false claim to Medicare in the amount of $__________ for the
            admission and the unreasonable and medically unnecessary testing performed on the subject
13
            patient.
14
            The Vista Health Defendants (in conspiracy with Desert View Hospital) also knowingly
15          submitted a false claim in the amount of $_________ for payment to Medicare for hospitalist
            services rendered to the subject patient.
16
     200.   Patient 64
17

18          Patient 64 presented to Desert View Hospital on __________ with speech difficulties, right
            facial numbness, and loss of vision in the right eye. Onset was sudden. Patient also reported
19          difficulty text messaging.

20          Based on the symptoms, Patient 64 should have immediately been transferred to a stroke
            center for a consultation with neurology and if needed, neurosurgery or neuroradiology.
21

22          Instead, Patient 64 was admitted as observation status and discharged the next day after being
            subjected to a CAT scan, carotid ultrasound, and brain MRI. Those tests should not have been
23          done at Desert View Hospital as Desert View Hospital has no specialists who could treat
            Patient 64 based on the results of the subject testing.
24
            Even though Desert View Hospital was not equipped to treat the patient, the medical chart
25
            reveals that the patient was admitted to Desert View Hospital. Therefore, the admission was
26          not medically necessary because Desert View Hospital was not a setting appropriate for the
            subject patient’s medical needs and condition. See Medicare Program Integrity Manual §
27          13.5.4 (2019); see also Winter, 953 F.3d at 1114 (admissions of a patient to a medical facility,
            which lacks the ability to provide treatment for the patient’s condition, gives rise to a false
28          certification of medical necessity).

                                                  Page 67 of 91
        Case 2:19-cv-01560-JAD-VCF Document 53 Filed 11/10/20 Page 68 of 91




1           In addition, while an inpatient at Desert View Hospital, Patient 64 underwent, among others,
2           an echocardiogram while exhibiting no symptoms which would indicate said testing.
            Therefore, such testing was not reasonable, necessary or relevant to the patient’s complaints,
3           admission diagnosis or treatment plan.

4           The conduct of Desert View Hospital (in conspiracy with the Vista Health Defendants)
            violated (among other things) 42 U.S.C. § 1395y(a)(1)(A); Winter, 953 F.3d at 1114 (“claims
5           for unnecessary treatment are false claims”).
6
            Desert View Hospital (in conspiracy with Vista Health, Valley Health, and Universal Health)
7           knowingly submitted a false claim to Medicaid in the amount of $__________ for the
            admission and the unreasonable and medically unnecessary testing performed on the subject
8           patient.
9
            The Vista Health Defendants (in conspiracy with Desert View Hospital) also knowingly
10          submitted a false claim in the amount of $_________ for payment to Medicaid for hospitalist
            services rendered to the subject patient.
11
     201.   Patient 65
12
            Patient 65 presented to Desert View Hospital on ___________ with a dry cough, generalized
13
            weakness, elevated temperature, slight shortness of breath and generalized weakness going on
14          for 5 or 6 days. In the emergency room, the only findings were a mildly elevated temperature
            of 38°C.
15
            Patient 65 should have been under observation or discharged from the emergency department
16          with instructions to follow up on an outpatient basis.
17
            Instead, Patient 65 had a chest x-ray which was read by the radiologist as “Normal chest”.
18          Patient 65’s blood was drawn which showed that white blood count was low normal at 4900.
            There was no evidence of dehydration.
19
            Patient 65 was diagnosed with acute pneumonia despite a complete absence of any findings to
20          support such diagnosis. In addition, Patient 65’s oxygen level was 94% and she was
            unnecessarily placed on oxygen.
21

22          Patient 65 was admitted as an inpatient to Desert View Hospital and remained as an inpatient
            for four (4) days.
23
            There was no medical indication for an inpatient admission of this patient and any
24          certification by the admitting physician that this patient would require hospital care for more
            than two (2) midnights is false within the meaning of 42 CFR § 412.3(d)(1). Furthermore,
25
            the inpatient admission of this patient did not meet InterQual criteria.
26
            In addition, while an inpatient at Desert View Hospital, Patient 65 underwent, among others,
27          an echocardiogram, which was not indicated and did not correlate with Patient 65’s
            complaints during the hospitalization. Therefore, such testing was not reasonable, necessary
28          or relevant to the patient’s complaints, admission diagnosis or treatment plan.

                                                  Page 68 of 91
        Case 2:19-cv-01560-JAD-VCF Document 53 Filed 11/10/20 Page 69 of 91




1           The conduct of Desert View Hospital (in conspiracy with the Vista Health Defendants)
2           violated (among other things) 42 U.S.C. § 1395y(a)(1)(A); Winter, 953 F.3d at 1114 (“claims
            for unnecessary treatment are false claims”).
3
            Desert View Hospital (in conspiracy with Vista Health, Valley Health, and Universal Health)
4           knowingly submitted a false claim to Medicaid in the amount of $__________ for the
            admission and the unreasonable and medically unnecessary testing performed on the subject
5           patient.
6
            The Vista Health Defendants (in conspiracy with Desert View Hospital) also knowingly
7           submitted a false claim in the amount of $_________ for payment to Medicaid for hospitalist
            services rendered to the subject patient.
8
     202.   Patient 66
9

10          Patient 66 presented to Desert View Hospital on ___________ with complaints of severe neck
            pain, anxiety and fatigue. Patient reported no chest pain. Objective findings included low
11          potassium and magnesium which were treated at the emergency department.

12          Appropriate treatment for Patient 66 should have been observation or discharge with referral
            for an outpatient follow up.
13

14          Instead Patient 66 was admitted as an inpatient to Desert View Hospital for three (3) days
            with a diagnosis of Acute Coronary Syndrome, Critical Electrolyte Imbalance and Congestive
15          Heart Failure.

16          There was no medical indication for an inpatient admission of this patient and any
            certification by the admitting physician that this patient would require hospital care for more
17
            than two (2) midnights is false within the meaning of 42 CFR § 412.3(d)(1). Furthermore,
18          the inpatient admission of this patient did not meet InterQual criteria.

19          In addition, while an inpatient at Desert View Hospital, Patient 66 underwent, among others,
            an echocardiogram, which was not indicated and did not correlate with Patient 66’s
20          complaints during the hospitalization. Therefore, such testing was not reasonable, necessary
            or relevant to the patient’s complaints, admission diagnosis or treatment plan.
21

22          The conduct of Desert View Hospital (in conspiracy with the Vista Health Defendants)
            violated (among other things) 42 U.S.C. § 1395y(a)(1)(A); Winter, 953 F.3d at 1114 (“claims
23          for unnecessary treatment are false claims”).

24          Desert View Hospital (in conspiracy with Vista Health, Valley Health, and Universal Health)
            knowingly submitted a false claim to Medicaid in the amount of $__________ for the
25
            admission and the unreasonable and medically unnecessary testing performed on the subject
26          patient.

27          The Vista Health Defendants (in conspiracy with Desert View Hospital) also knowingly
            submitted a false claim in the amount of $_________ for payment to Medicaid for hospitalist
28          services rendered to the subject patient.

                                                  Page 69 of 91
        Case 2:19-cv-01560-JAD-VCF Document 53 Filed 11/10/20 Page 70 of 91




     203.   Patient 67
1

2           Patient 67 presented to their primary care physician on __________. Patient 67 was an
            established congestive heart failure and cirrhosis patient with recurrent ascites (abdominal
3           fluid due to cirrhosis). Upon examination, the primary care physician determined that Patient
            67 was experiencing an episode of significant abdominal swelling.
4
            Patient 67 was sent to Desert View Hospital for drainage of swelling, a procedure known as
5           paracentesis, only. This is a 30-60 minute outpatient procedure. Patient 67 had no other
6           symptoms and needed no other treatment.

7           Despite a clear directive from the primary care physician and absence of any acute symptoms,
            upon presentation to Desert View Hospital, Patient 67 was seen by Dr. Mirza and admitted as
8           an inpatient for three (3) days.
9
            There was no medical indication for an inpatient admission of this patient and any
10          certification by the admitting physician that this patient would require hospital care for more
            than two (2) midnights is false within the meaning of 42 CFR § 412.3(d)(1). Furthermore,
11          the inpatient admission of this patient did not meet InterQual criteria.

12          In addition, while an inpatient at Desert View Hospital, Patient 67 underwent, among others,
            an echocardiogram, which was not indicated and did not correlate with Patient 67’s
13
            complaints during the hospitalization. Therefore, such testing was not reasonable, necessary
14          or relevant to the patient’s complaints, admission diagnosis or treatment plan.

15          The conduct of Desert View Hospital (in conspiracy with the Vista Health Defendants)
            violated (among other things) 42 U.S.C. § 1395y(a)(1)(A); Winter, 953 F.3d at 1114 (“claims
16          for unnecessary treatment are false claims”).
17
            Desert View Hospital (in conspiracy with Vista Health, Valley Health, and Universal Health)
18          knowingly submitted a false claim to Medicare in the amount of $__________ for the
            admission and the unreasonable and medically unnecessary testing performed on the subject
19          patient.

20          The Vista Health Defendants (in conspiracy with Desert View Hospital) also knowingly
            submitted a false claim in the amount of $_________ for payment to Medicare for hospitalist
21
            services rendered to the subject patient.
22
     204.   Patient 68
23
            Patient 68 presented to Desert View Hospital on __________ with complaints of being
24          dehydrated, weak and lethargic, not eating or drinking properly for approximately 1 week.
            Also, Patient 68’s family reported that he recently fell three (3) times including a fall off of a
25
            ladder at which time he hit his head.
26
            Patient 68 needed to be treated with intravenous fluids for his dehydration, and an MRI of his
27          brain on an outpatient basis.

28

                                                   Page 70 of 91
        Case 2:19-cv-01560-JAD-VCF Document 53 Filed 11/10/20 Page 71 of 91




            Instead, Patient 68 was admitted as an inpatient at Desert View Hospital for four (4) days for
1           acute renal failure, dehydration and altered mental status.
2
            There was no medical indication for an inpatient admission of this patient and any
3           certification by the admitting physician that this patient would require hospital care for more
            than two (2) midnights is false within the meaning of 42 CFR § 412.3(d)(1). Furthermore,
4           the inpatient admission of this patient did not meet InterQual criteria.
5           In addition, while an inpatient at Desert View Hospital, Patient 68 underwent, among others,
6           an echocardiogram and a nuclear stress test, which was not indicated and did not correlate
            with Patient 68’s complaints during the hospitalization (Patient 68’s oxygen was 98-100%, he
7           reported no chest pain, no shortness of breath, or difficulty breathing). Therefore, such testing
            was not reasonable, necessary or relevant to the patient’s complaints, admission diagnosis or
8           treatment plan.
9
            The conduct of Desert View Hospital (in conspiracy with the Vista Health Defendants)
10          violated (among other things) 42 U.S.C. § 1395y(a)(1)(A); Winter, 953 F.3d at 1114 (“claims
            for unnecessary treatment are false claims”).
11
            Desert View Hospital (in conspiracy with Vista Health, Valley Health, and Universal Health)
12          knowingly submitted a false claim to Medicare in the amount of $__________ for the
            admission and the unreasonable and medically unnecessary testing performed on the subject
13
            patient.
14
            The Vista Health Defendants (in conspiracy with Desert View Hospital) also knowingly
15          submitted a false claim in the amount of $_________ for payment to Medicare for hospitalist
            services rendered to the subject patient.
16
     205.   Patient 69
17

18          Patient 69 presented to Desert View Hospital on _____________ due to choking on food and
            passing out. The patient reported no other notable symptoms.
19
            This patient should have been discharged from the emergency department and referred for
20          Esophagogastroduodenoscopy (EGD) for dysphasia on an outpatient basis.
21
            Even Dr. Mirza, the admitting hospitalist, states in his admission history that while in the
22          emergency room Patient 69 “markedly improved speaking in full sentences[,] awake alert
            without complaints”.
23
            Despite his acknowledgment of Patient 69’s stable condition, Dr. Mirza admitted Patient 69 as
24          an inpatient for four (4) days at Desert View Hospital with the diagnosis of Sepsis, Urinary
            Tract Infection, and Aspiration.
25

26          There was no basis whatsoever for this patient to be diagnosed and admitted for sepsis. In
            fact, the patient’s white cell count was normal at 8400 and the patient had no elevation of
27          temperature on admission. Furthermore, the patient’s blood culture was negative all of which
            negate the diagnosis of sepsis.
28

                                                   Page 71 of 91
        Case 2:19-cv-01560-JAD-VCF Document 53 Filed 11/10/20 Page 72 of 91




            Also, even though there were no complaints or symptoms indicating a urinary tract infection,
1           a urinalysis was done on Patient 69 with an incidental finding of asymptomatic bacteriuria
2           which is normally treated with a prescription for oral antibiotics. Instead, Patient 69 was
            treated with intravenous antibiotics.
3
            Subsequently, a urine culture was done on Patient 69 which came back negative indicating no
4           urinary tract infection. Moreover, as a result of Patient 69 receiving unnecessary intravenous
            antibiotics, Patient developed C. Difficile.
5

6           There was no medical indication for an inpatient admission of this patient and any
            certification by the admitting physician that this patient would require hospital care for more
7           than two (2) midnights is false within the meaning of 42 CFR § 412.3(d)(1). Furthermore,
            the inpatient admission of this patient did not meet InterQual criteria.
8
            In addition, while an inpatient at Desert View Hospital, Patient 69 was subjected to a CT scan
9
            of the brain with and without contrast, CT of the spine, as well as a chest x-ray and laboratory
10          studies which were not indicated and did not correlate with Patient 69’s complaints during the
            hospitalization. Therefore, such testing was not reasonable, necessary or relevant to the
11          patient’s complaints, admission diagnosis or treatment plan.

12          The conduct of Desert View Hospital (in conspiracy with the Vista Health Defendants)
            violated (among other things) 42 U.S.C. § 1395y(a)(1)(A); Winter, 953 F.3d at 1114 (“claims
13
            for unnecessary treatment are false claims”).
14
            Desert View Hospital (in conspiracy with Vista Health, Valley Health, and Universal Health)
15          knowingly submitted a false claim to Medicare in the amount of $__________ for the
            admission and the unreasonable and medically unnecessary testing performed on the subject
16          patient.
17
            The Vista Health Defendants (in conspiracy with Desert View Hospital) also knowingly
18          submitted a false claim in the amount of $_________ for payment to Medicare for hospitalist
            services rendered to the subject patient.
19
     206.   Patient 70
20
            Patient 70 presented to their primary care physician on __________. Patient 70 was an
21
            established cirrhosis patient with recurrent ascites (abdominal fluid due to cirrhosis). Upon
22          examination, the primary care physician determined that Patient 70 was experiencing an
            episode of significant abdominal swelling.
23
            Patient 70 was sent to Desert View Hospital for drainage of swelling, a procedure known as
24          paracentesis, only. This is a 30-60 minute outpatient procedure. Patient 70 had no other
            symptoms and needed no other treatment.
25

26          Instead, upon presentation to Desert View Hospital on ________, Patient 70 was admitted as
            an inpatient at Desert View Hospital for three (3) days.
27
            There was no medical indication for an inpatient admission of this patient and any
28          certification by the admitting physician that this patient would require hospital care for more

                                                  Page 72 of 91
        Case 2:19-cv-01560-JAD-VCF Document 53 Filed 11/10/20 Page 73 of 91




            than two (2) midnights is false within the meaning of 42 CFR § 412.3(d)(1). Furthermore,
1           the inpatient admission of this patient did not meet InterQual criteria.
2
            In addition, while an inpatient at Desert View Hospital, Patient 70 was subjected to a chest x-
3           ray, CT of his abdomen and an MRI which were not indicated and did not correlate with
            Patient 70’s complaints during the hospitalization. Therefore, such testing was not reasonable,
4           necessary or relevant to the patient’s complaints, admission diagnosis or treatment plan.
5           The conduct of Desert View Hospital (in conspiracy with the Vista Health Defendants)
6           violated (among other things) 42 U.S.C. § 1395y(a)(1)(A); Winter, 953 F.3d at 1114 (“claims
            for unnecessary treatment are false claims”).
7
            Desert View Hospital (in conspiracy with Vista Health, Valley Health, and Universal Health)
8           knowingly submitted a false claim to Medicaid in the amount of $__________ for the
            admission and the unreasonable and medically unnecessary testing performed on the subject
9
            patient.
10
            The Vista Health Defendants (in conspiracy with Desert View Hospital) also knowingly
11          submitted a false claim in the amount of $_________ for payment to Medicaid for hospitalist
            services rendered to the subject patient.
12
     207.   Patient 71
13

14          Patient 71 is the same individual as Patient 70. As stated, Patient 71 was an established
            cirrhosis patient with recurrent ascites (abdominal fluid due to cirrhosis). Same as previously,
15          Patient 71 was experiencing an episode of significant abdominal swelling.

16          On ________, Patient 71 presented to Desert View Hospital for drainage of swelling, a
            procedure known as paracentesis, only. This is a 30-60 minute outpatient procedure. Patient
17
            71 had no other symptoms and needed no other treatment.
18
            Instead, the patient was admitted as an inpatient at Desert View Hospital for four (4) days.
19
            In addition, during his time as an inpatient at Desert View Hospital, Patient 71 underwent,
20          among other tests, a CT of his abdomen which was not necessary or relevant to the patient’s
            symptoms.
21

22          There was no medical indication for an inpatient admission of this patient and any
            certification by the admitting physician that this patient would require hospital care for more
23          than two (2) midnights is false within the meaning of 42 CFR § 412.3(d)(1). Furthermore,
            the inpatient admission of this patient did not meet InterQual criteria.
24
            In addition, while an inpatient at Desert View Hospital, Patient 71 was subjected to a CT of
25
            his abdomen which was not indicated and did not correlate with Patient 71’s complaints
26          during the hospitalization. Therefore, such testing was not reasonable, necessary or relevant to
            the patient’s complaints, admission diagnosis or treatment plan.
27

28

                                                   Page 73 of 91
        Case 2:19-cv-01560-JAD-VCF Document 53 Filed 11/10/20 Page 74 of 91




            The conduct of Desert View Hospital (in conspiracy with the Vista Health Defendants)
1           violated (among other things) 42 U.S.C. § 1395y(a)(1)(A); Winter, 953 F.3d at 1114 (“claims
2           for unnecessary treatment are false claims”).

3           Desert View Hospital (in conspiracy with Vista Health, Valley Health, and Universal Health)
            knowingly submitted a false claim to Medicaid in the amount of $__________ for the
4           admission and the unreasonable and medically unnecessary testing performed on the subject
            patient.
5

6           The Vista Health Defendants (in conspiracy with Desert View Hospital) also knowingly
            submitted a false claim in the amount of $_________ for payment to Medicaid for hospitalist
7           services rendered to the subject patient.

8    208.   Patient 72
9
            Patient 72 has a history of kidney transplantation and congestive heart failure, with multiple
10          specialists including cardiology and nephrology coordinating his care.

11          Patient 72 presented to Desert View Hospital on __________ with complaints of a 4-5 day
            history of shortness of breath with exertion and lower extremity swelling and nonproductive
12          cough. The patient denied chest pain, shortness of breath, cough, orthopnea, paroxysmal
            nocturnal dyspnea, weight gain, and exertional chest pain.
13

14          Patient 72’s chest was examined which sounded normal. Chest x-ray was taken and the
            radiologist found no traces of congestive heart failure. Specifically, the radiologist found “no
15          pleural fluid. No evidence of edema.” Patient 72’s respiratory rate was normal.

16          This patient should have been treated with Lasix on an outpatient basis and discharged.
17
            Instead, Patient 72 was admitted as an inpatient to Desert View Hospital under a diagnosis of
18          “acute congestive heart failure and pulmonary edema” even though he exhibited no symptoms
            to support such admission. The admitting hospitalists requested that the patient stay three (3)
19          days but the patient had checked himself out after two (2) days.

20          There was no medical indication for an inpatient admission of this patient and any
            certification by the admitting physician that this patient would require hospital care for more
21
            than two (2) midnights is false within the meaning of 42 CFR § 412.3(d)(1). Furthermore,
22          the inpatient admission of this patient did not meet InterQual criteria.

23          In addition, while an inpatient at Desert View Hospital, Patient 72 was subjected to an
            echocardiogram which was not indicated and did not correlate with Patient 72’s complaints
24          during the hospitalization. Therefore, such testing was not reasonable, necessary or relevant to
            the patient’s complaints, admission diagnosis or treatment plan.
25

26          The conduct of Desert View Hospital (in conspiracy with the Vista Health Defendants)
            violated (among other things) 42 U.S.C. § 1395y(a)(1)(A); Winter, 953 F.3d at 1114 (“claims
27          for unnecessary treatment are false claims”).

28

                                                  Page 74 of 91
        Case 2:19-cv-01560-JAD-VCF Document 53 Filed 11/10/20 Page 75 of 91




            Desert View Hospital (in conspiracy with Vista Health, Valley Health, and Universal Health)
1           knowingly submitted a false claim to Medicaid in the amount of $__________ for the
2           admission and the unreasonable and medically unnecessary testing performed on the subject
            patient.
3
            The Vista Health Defendants (in conspiracy with Desert View Hospital) also knowingly
4           submitted a false claim in the amount of $_________ for payment to Medicaid for hospitalist
            services rendered to the subject patient.
5

6    209.   Patient 73

7           Patient 73 presented to Desert View Hospital on __________ with complaints of progressive
            weakness over a 2-week period and confusion on the day of admission. Urinalysis was done
8           with abnormal results but there was no clinical evidence of urinary tract infection. It does not
            even appear that Patient 73’s urine was cultured to confirm the infection.
9

10          Patient 73 should have been given antibiotics and discharged from Desert View Hospital.

11          Instead, Patient 73 was admitted to Desert View Hospital for a two (2) day observation.

12          There was no medical indication for an inpatient admission of this patient and any
            certification by the admitting physician that this patient would require hospital care for more
13
            than two (2) midnights is false within the meaning of 42 CFR § 412.3(d)(1). Furthermore,
14          the inpatient admission of this patient did not meet InterQual criteria.

15          In addition, while an inpatient at Desert View Hospital, Patient 73 was subjected to an
            echocardiogram which was not indicated and did not correlate with Patient 73’s complaints
16          during the hospitalization. Therefore, such testing was not reasonable, necessary or relevant to
            the patient’s complaints, admission diagnosis or treatment plan.
17

18          The conduct of Desert View Hospital (in conspiracy with the Vista Health Defendants)
            violated (among other things) 42 U.S.C. § 1395y(a)(1)(A); Winter, 953 F.3d at 1114 (“claims
19          for unnecessary treatment are false claims”).

20          Desert View Hospital (in conspiracy with Vista Health, Valley Health, and Universal Health)
            knowingly submitted a false claim to Medicare in the amount of $__________ for the
21
            admission and the unreasonable and medically unnecessary testing performed on the subject
22          patient.

23          The Vista Health Defendants (in conspiracy with Desert View Hospital) also knowingly
            submitted a false claim in the amount of $_________ for payment to Medicare for hospitalist
24          services rendered to the subject patient.
25
     210.   Patient 74
26
            Patient 74 presented to Desert View Hospital on _______ due to a new onset of seizures
27          associated with a fracture of the arm. Although exhibiting no symptoms that would warrant it,
            Patient 74 was subjected to a chest x-ray which was negative for pneumonia. Patient did not
28          have elevated fever and the heart rate was normal.

                                                  Page 75 of 91
        Case 2:19-cv-01560-JAD-VCF Document 53 Filed 11/10/20 Page 76 of 91




1           Patient 74 should have been transferred to a higher level of care facility due to a new onset of
2           seizures and a fracture for an evaluation and treatment by neurology and an orthopedist.

3           Instead, Patient 74 was admitted as an inpatient to Desert Valley Hospital for four (4) days
            with diagnosis of pneumonia, sepsis, and syncope which had no symptomatic or diagnostic
4           support.
5           Shortly after discharge, Patient 74 had another seizure.
6
            However, even though Desert View Hospital was not equipped to treat the patient, the
7           medical chart reveals that the patient was admitted to Desert View Hospital. Therefore, the
            admission was not medically necessary because Desert View Hospital was not a setting
8           appropriate for the subject patient’s medical needs and condition. See Medicare Program
            Integrity Manual § 13.5.4 (2019); see also Winter, 953 F.3d at 1114 (admissions of a patient
9
            to a medical facility, which lacks the ability to provide treatment for the patient’s condition,
10          gives rise to a false certification of medical necessity).

11          There was no medical indication for an inpatient admission of this patient and any
            certification by the admitting physician that this patient would require hospital care for more
12          than two (2) midnights is false within the meaning of 42 CFR § 412.3(d)(1). Furthermore,
            the inpatient admission of this patient did not meet InterQual criteria.
13

14          In addition, while an inpatient at Desert View Hospital, in addition to an unnecessary chest x-
            ray, Patient 74 was subjected to a CT of abdomen which was not indicated and did not
15          correlate with Patient 74’s complaints during the hospitalization. Therefore, such testing was
            not reasonable, necessary or relevant to the patient’s complaints, admission diagnosis or
16          treatment plan.
17
            The conduct of Desert View Hospital (in conspiracy with the Vista Health Defendants)
18          violated (among other things) 42 U.S.C. § 1395y(a)(1)(A); Winter, 953 F.3d at 1114 (“claims
            for unnecessary treatment are false claims”).
19
            Desert View Hospital (in conspiracy with Vista Health, Valley Health, and Universal Health)
20          knowingly submitted a false claim to Medicare in the amount of $__________ for the
            admission and the unreasonable and medically unnecessary testing performed on the subject
21
            patient.
22
            The Vista Health Defendants (in conspiracy with Desert View Hospital) also knowingly
23          submitted a false claim in the amount of $_________ for payment to Medicare for hospitalist
            services rendered to the subject patient.
24
     211.   Patient 75
25

26          Patient 75 presented to Desert View Hospital on _____________ with complaints of a fall
            with injury to her elbow. She had difficulty getting out of her bathtub and slipped and fell
27          hurting her left elbow. She denied hitting her head or loss of consciousness. No mental status
            changes or neurologic findings were described on admission.
28

                                                   Page 76 of 91
           Case 2:19-cv-01560-JAD-VCF Document 53 Filed 11/10/20 Page 77 of 91




              Patient 75 should have been discharged from the emergency department with a referral for a
1             consultation with an orthopedic surgeon.
2
              Instead, Patient 75 was admitted as an inpatient to Desert View Hospital for four (4) days with
3             a diagnosis of acute heart failure even though she had no related complaints and the chest x-
              ray (which was also unnecessary) had no findings of acute heart failure. Patient 75 was also
4             diagnosed with a urinary tract infection even though the patient had no symptoms, and both
              urinalysis and urine culture were negative for infection.
5

6             In addition, while at Desert View Hospital, Patient 75 underwent a CT of her brain and neck
              even though she denied hitting her head or losing consciousness.
7
              Also, while at Desert View Hospital, Patient 75 underwent an echocardiogram which was not
8             necessary or relevant to the patient’s admission diagnosis or treatment plan.
9
              There was no medical indication for an inpatient admission of this patient and any
10            certification by the admitting physician that this patient would require hospital care for more
              than two (2) midnights is false within the meaning of 42 CFR § 412.3(d)(1). Furthermore,
11            the inpatient admission of this patient did not meet InterQual criteria.

12            In addition, while an inpatient at Desert View Hospital, in addition to others, Patient 75
              underwent a chest x-ray, urinalysis, urine culture, CT of her brain and echocardiogram which
13
              were not indicated and did not correlate with Patient 75’s complaints during the
14            hospitalization. Therefore, such testing was not reasonable, necessary or relevant to the
              patient’s complaints, admission diagnosis or treatment plan.
15
              The conduct of Desert View Hospital (in conspiracy with the Vista Health Defendants)
16            violated (among other things) 42 U.S.C. § 1395y(a)(1)(A); Winter, 953 F.3d at 1114 (“claims
              for unnecessary treatment are false claims”).
17

18            Desert View Hospital (in conspiracy with Vista Health, Valley Health, and Universal Health)
              knowingly submitted a false claim to Medicare in the amount of $__________ for the
19            admission and the unreasonable and medically unnecessary testing performed on the subject
              patient.
20
              The Vista Health Defendants (in conspiracy with Desert View Hospital) also knowingly
21
              submitted a false claim in the amount of $_________ for payment to Medicare for hospitalist
22            services rendered to the subject patient.

23   212.     Patient 76

24            Patient 76 presented to Desert View Hospital on ___________ due to having tripped and
              sprained an ankle.
25

26            Patient 76 should have been treated at the emergency department and discharged with a
              referral to an orthopedist.
27
     ///
28

                                                    Page 77 of 91
        Case 2:19-cv-01560-JAD-VCF Document 53 Filed 11/10/20 Page 78 of 91




            Despite having no fever, no shortness of breath, no hypoxia or any other symptoms which
1           would require it, a chest x-ray was performed on Patient 76. Chest x-ray was inconclusive
2           and a follow up chest x-ray was needed.

3           Patient 76 was diagnosed with pneumonia and was admitted as an inpatient for five (5) days
            to Desert View Hospital. During the patient’s stay, the recommended follow up chest x-ray
4           was never performed.
5           Further, while at Desert View Hospital, Patient 76 was subjected to a CT of her head as well
6           as an echocardiogram, neither which were reasonable, necessary or relevant to the patient’s
            complaints, admission diagnosis or treatment plan.
7
            There was no medical indication for an inpatient admission of this patient and any
8           certification by the admitting physician that this patient would require hospital care for more
            than two (2) midnights is false within the meaning of 42 CFR § 412.3(d)(1). Furthermore,
9
            the inpatient admission of this patient did not meet InterQual criteria.
10
            In addition, while an inpatient at Desert View Hospital, in addition to others, Patient 76
11          underwent a chest x-ray, CT of her head as well as an echocardiogram which were not
            indicated and did not correlate with Patient 76’s complaints during the hospitalization.
12          Therefore, such testing was not reasonable, necessary or relevant to the patient’s complaints,
            admission diagnosis or treatment plan.
13

14          The conduct of Desert View Hospital (in conspiracy with the Vista Health Defendants)
            violated (among other things) 42 U.S.C. § 1395y(a)(1)(A); Winter, 953 F.3d at 1114 (“claims
15          for unnecessary treatment are false claims”).

16          Desert View Hospital (in conspiracy with Vista Health, Valley Health, and Universal Health)
            knowingly submitted a false claim to Medicare in the amount of $__________ for the
17
            admission and the unreasonable and medically unnecessary testing performed on the subject
18          patient.

19          The Vista Health Defendants (in conspiracy with Desert View Hospital) also knowingly
            submitted a false claim in the amount of $_________ for payment to Medicare for hospitalist
20          services rendered to the subject patient.
21
     213.   Patient 77
22
            Patient 77 presented to Desert View Hospital with progressive neurologic issues including
23          left-sided weakness consistent with a stroke.

24          Patient 77 should have been transferred to a higher level of care stroke facility for appropriate
            and indicated diagnostics and therapeutics.
25

26          Instead, Patient 77 was admitted as an inpatient to Desert View Hospital for three (3) days
            with a diagnosis of Left Sided Numbness and Weakness.
27
            During Patient 77’s stay at Desert View Hospital, Patient 77 had an MRI study which clearly
28          showed that she had an acute stroke.

                                                   Page 78 of 91
        Case 2:19-cv-01560-JAD-VCF Document 53 Filed 11/10/20 Page 79 of 91




1           Even though Desert View Hospital was not equipped to treat the patient, the medical chart
2           reveals that the patient was admitted to Desert View Hospital. Therefore, the admission was
            not medically necessary because Desert View Hospital was not a setting appropriate for the
3           subject patient’s medical needs and condition. See Medicare Program Integrity Manual §
            13.5.4 (2019); see also Winter, 953 F.3d at 1114 (admissions of a patient to a medical facility,
4           which lacks the ability to provide treatment for the patient’s condition, gives rise to a false
            certification of medical necessity).
5

6           In addition, while an inpatient at Desert View Hospital, Patient 77 underwent, among other
            tests, a chest x-ray, and an echocardiogram while exhibiting no symptoms which would
7           indicate said testing. Therefore, such testing was not reasonable, necessary or relevant to the
            patient’s complaints, admission diagnosis or treatment plan.
8
            The conduct of Desert View Hospital (in conspiracy with the Vista Health Defendants)
9
            violated (among other things) 42 U.S.C. § 1395y(a)(1)(A); Winter, 953 F.3d at 1114 (“claims
10          for unnecessary treatment are false claims”).

11          Desert View Hospital (in conspiracy with Vista Health, Valley Health, and Universal Health)
            knowingly submitted a false claim to Medicare in the amount of $__________ for the
12          admission and the unreasonable and medically unnecessary testing performed on the subject
            patient.
13

14          The Vista Health Defendants (in conspiracy with Desert View Hospital) also knowingly
            submitted a false claim in the amount of $_________ for payment to Medicare for hospitalist
15          services rendered to the subject patient.

16   214.   Patient 78
17
            Patient 78 presented to Desert View Hospital on ___________ due to having a pressure-like
18          dull chest discomfort. Patient 78’s cardiac enzymes were negative. Patient 78’s EKG was
            negative.
19
            According to current cardiology guidelines, Patient 78 should have been discharged from the
20          emergency room with an outpatient cardiology follow-up.
21
            Instead, Patient 78 was admitted as an inpatient to Desert View Hospital for three (3) days
22          with a diagnosis for acute coronary syndrome.

23          There was no medical indication for an inpatient admission of this patient and any
            certification by the admitting physician that this patient would require hospital care for more
24          than two (2) midnights is false within the meaning of 42 CFR § 412.3(d)(1). Furthermore,
            the inpatient admission of this patient did not meet InterQual criteria.
25

26          In addition, while an inpatient at Desert View Hospital, in addition to others, Patient 78
            underwent echocardiogram and a nuclear stress testing which were not indicated and did not
27          correlate with Patient 78’s complaints during the hospitalization. Therefore, such testing was
            not reasonable, necessary or relevant to the patient’s complaints, admission diagnosis or
28          treatment plan.

                                                  Page 79 of 91
        Case 2:19-cv-01560-JAD-VCF Document 53 Filed 11/10/20 Page 80 of 91




               The conduct of Desert View Hospital (in conspiracy with the Vista Health Defendants)
1              violated (among other things) 42 U.S.C. § 1395y(a)(1)(A); Winter, 953 F.3d at 1114 (“claims
2              for unnecessary treatment are false claims”).

3              Desert View Hospital (in conspiracy with Vista Health, Valley Health, and Universal Health)
               knowingly submitted a false claim to Medicare in the amount of $__________ for the
4              admission and the unreasonable and medically unnecessary testing performed on the subject
               patient.
5

6              The Vista Health Defendants (in conspiracy with Desert View Hospital) also knowingly
               submitted a false claim in the amount of $_________ for payment to Medicare for hospitalist
7              services rendered to the subject patient.

8              215.   CMS defines a “reasonable and necessary” service as one that “meets, but does not
9
     exceed, the patient’s medical need,” and is furnished “in accordance with accepted standards of
10
     medical practice for the diagnosis or treatment of the patient’s condition ... in a setting appropriate to
11
     the patient’s medical needs and condition[.]” CMS, Medicare Program Integrity Manual § 13.5.4
12
     (2019).     The inpatient admission and/or the testing/procedures were not supported by the medical
13

14   charts of Patients 1 through 78 and, therefore, not “reasonable and necessary” at Desert View

15   Hospital.

16             216.   For Patients 1 through 78, Desert View Hospital and the Vista Health Defendants were
17
     paid by the federally funded insurer based on the false certification of their compliance with 42
18
     U.S.C. § 1395y(a)(1)(A).
19
               217.   For Patients 1 through 78, Desert View Hospital (in conspiracy with Valley Health and
20
     Universal Health) and the Vista Health Defendants knew that their claim for payment to the federally
21

22   funded insurer was false, or had deliberately ignored its falsity, or had recklessly disregarded its

23   falsity, in violation of the False Claims Act.

24             218.   For Patients 1 through 78, had the federally funded insurer known that the admission
25
     and/or medical testing of Patients 1 through 78 was not reasonable and medically unnecessary, it
26
     would not have paid on the claims of Patients 1 through 78.
27

28

                                                      Page 80 of 91
          Case 2:19-cv-01560-JAD-VCF Document 53 Filed 11/10/20 Page 81 of 91




             219.   Based on information and belief, from January 2019 through May 2019 (due to Desert
1

2    View Hospital’s submission of claims in violation of the False Claims Act), Desert View Hospital’s

3    revenue grew by approximately 50% year-over-year for Humana Medicare Advantage patients and

4    likely for other government funded programs.
5    B.      Altered Inpatient Admission Times
6
             220.   Dr. Arik is aware that (since Valley Health’s acquisition of Desert View Hospital in
7
     August 2016), Desert View Hospital falsely altered inpatient admissions times in order to increase
8
     revenue from Medicare, Medicaid, and other government subsidized insurers. Specifically, the ER
9

10   doctor would call and request an evaluation by the hospitalist whether a patient meets the criteria for

11   inpatient admission. At that time, usually within 1-2 hours (but can go as long as 8 hours or more,

12   depending on the census and work load at Desert View Hospital), a patient would be evaluated by the
13
     hospitalist by looking at labs, reports, and in person evaluation to determine if an inpatient admission
14
     is appropriate. If appropriate, the patient would be examined, a history taken, and admission orders
15
     are placed by the hospitalist. This is done in writing (date/time written) and medications and nurse
16
     orders are also placed. Some basic orders in writing, other orders placed directly in the Electronic
17

18   Health Records (“EHR”).

19           221.   However, the house supervisors (at the direction of Desert View Hospital’s

20   management) would ask the hospitalist to change the inpatient admission order to an earlier time from
21
     when they saw the patient to allow for the increase in the length of stay.
22
             222.   Even though the hospitalist (Dr. Marianne Hazelitt) warned the house supervisors that
23
     doing so would be fraudulent and refused to engage in such conduct, the house supervisors would alter
24
     (back time) the inpatient admission time to reflect an earlier inpatient admission time in complete
25

26   disregard to the actual admission time on the hospitalists’ inpatient admission order.

27           223.   Desert View (in conspiracy with Valley Health and Universal Health) knowingly

28   submitted to Medicare, Medicaid, and other government subsidized insurers claims for payment for

                                                    Page 81 of 91
          Case 2:19-cv-01560-JAD-VCF Document 53 Filed 11/10/20 Page 82 of 91




     additional days of inpatient services not provided based on the express false certification that the
1

2    patient met “inpatient” criteria when the patient was actually in “observation” status in violation of

3    (among other things) 42 U.S.C. § 1395f(a)(3), 42 U.S.C. § 1395y(a)(1)(A), and the False Claims Act.

4            224.   Desert View Hospital (in conspiracy with Vista Health, Valley Health, and Universal
5    Health) knowingly submitted the subject false claims to government funded insurers and contractors in
6
     an amount to be determined through discovery.
7
             225.   The Vista Health Defendants (in conspiracy with Desert View Hospital) also knowingly
8
     submitted the subject false claims to government funded insurers and contractors in an amount to be
9

10   determined through discovery.

11           226.   Desert View Hospital (in conspiracy with Valley Health and Universal Health) and the

12   Vista Health Defendants knew that their claims for payment to the federally funded insurers and
13
     contractors were false, or had deliberately ignored its falsity, or had recklessly disregarded its falsity,
14
     in violation of the False Claims Act.
15
             227.   Desert View Hospital and the Vista Health Defendants were paid by the federally
16
     funded insurers based on the false certifications of time of the inpatient admissions.
17

18           228.   Had the federally funded insurers and contractors known that the time of the admissions

19   were falsified to increase an inpatient length of stay, the federally funded insurers and contractors

20   would not have paid on the subject claims.
21
     C.      Altered Billing Codes
22
             229.   Dr. Arik is aware that (since Valley Health’s acquisition of Desert View Hospital in
23
     August 2016), Desert View Hospital falsely altered billing codes in order to increase revenue from
24
     Medicare, Medicaid, and other government subsidized insurers.
25

26           230.   Medicare and other government-funded programs have a strict policy about medical

27   providers altering billing records.

28

                                                    Page 82 of 91
        Case 2:19-cv-01560-JAD-VCF Document 53 Filed 11/10/20 Page 83 of 91




            231.     For example, when an individual is admitted into a hospital as an “inpatient,” the
1

2    individual’s “inpatient” status can only be changed by the hospital to “observation” status when

3    (among other things) the treating physician approves of the change and prior to the individual’s

4    discharge from the hospital. See also CMS Manual, Transmittal 299, September 2004.
5           232.     At Desert View Hospital, since August 2016, numerous individuals were admitted as
6
     inpatients.
7
            233.     After such individuals were discharged from Desert View Hospital, the hospital would
8
     bill government funded insurers (such as Medicare/Medicare Advantage) for those individuals as
9

10   “inpatients.”

11          234.     However, at times, the claim would be denied by the government funded insurer (such

12   as Medicare/Medicare Advantage) because the patient did not meet “inpatient” admission criteria.
13
            235.     In or about the beginning of 2018, Bonnie Havel, (a billing manager at Desert View
14
     Hospital/Valley Health System/Universal Health during relevant times) and Tina McKintosh (an
15
     assistant director of billing at Valley Health System/Universal Health) expressed deep concerns about
16
     numerous claims being denied by Medicare programs due to failure to meet “inpatient” criteria.
17

18          236.     Consequently, the biller(s) at Desert View Hospital were instructed that they must

19   appeal the denial decisions.

20          237.     The biller(s) were further instructed that, if the denial is upheld after the appeal, the
21
     biller(s) must change the Bill Type, the Revenue Code and the CPT Code on the Claim Form and re-
22
     bill the claim as an “outpatient” service to allow Desert View Hospital to obtain reimbursement from
23
     the government funded insurer.
24
            238.     Ms. Havel advised that “this order has come from Corporate [Valley Health/Universal
25

26   Health] and it must be followed.”

27          239.     Melissa Milk (one of the billers at Desert View Hospital) responded to Ms. Havel and

28   Ms. McKintosh that she would not engage in such conduct as doing so would be wrong, fraudulent,

                                                    Page 83 of 91
        Case 2:19-cv-01560-JAD-VCF Document 53 Filed 11/10/20 Page 84 of 91




     and against the law because altering the billing codes would not be supported by the medical records
1

2    and that only a physician can change the patient’s status criteria (inpatient v. outpatient), which Ms.

3    Havel and Ms. McKintosh did not appear to be concerned about.

4           240.    Ms. Milk further told Ms. Havel and Ms. McKintosh that since the subject patients
5    have already been discharged from Desert View Hospital, their “inpatient” status could not legally be
6
     changed to “outpatient” per Medicare regulations and that the hospital must write off the charges as
7
     required by law.
8
            241.    In response, Ms. Havel and Ms. McKintosh demanded that Ms. Milk train Lydia Hunt,
9

10   another biller, on how to alter the Claim Form and re-bill the numerous denied claims for failure to

11   meet the “inpatient” criteria.

12          242.    Ms. Milk became very concerned and immediately went to speak with the Desert
13
     View Hospital coders to inquire whether they will engage in such fraudulent conduct. The coders
14
     advised Ms. Milk that it would not be lawful and they wanted nothing to do with changing any codes
15
     in order to allow Desert View Hospital to receive payment on a previously denied claim.
16
            243.    Thereafter, Ms. Milk printed Noridian Medicare “Inpatient to Outpatient Status
17

18   Change,” shared it with Ms. Hunt, and advised Ms. Hunt that what Desert View Hospital was

19   requesting is wrong, unlawful, and fraudulent.

20          244.    Despite Ms. Milk’s objection and her cautioning to Desert View Hospital to not
21
     participate in such a fraudulent billing scheme, Desert View Hospital in conspiracy with Valley
22
     Health/Universal Health knowingly submitted numerous altered claims to government funded
23
     programs (including Medicare) for payment and the Medicare-funded programs did make payments
24
     on those claims.
25

26          245.    A true, accurate, and genuine copy of various emails illustrating the practice of

27   submitting false claims to government funded programs (including Medicare) by Defendant Desert

28   Valley Hospital in conspiracy with Valley Health/Universal Health were produced as a part of

                                                   Page 84 of 91
          Case 2:19-cv-01560-JAD-VCF Document 53 Filed 11/10/20 Page 85 of 91




     Relator’s Initial Witness and Document Disclosures Pursuant to FRCP 26 and LR 26-1. RELATOR
1

2    001226-RELATOR 001253.

3              246.   Desert View Hospital (in conspiracy with Vista Health, Valley Health, and Universal

4    Health) knowingly submitted the subject false claims to government funded insurers and contractors
5    in an amount to be determined through discovery.
6
               247.   Desert View Hospital (in conspiracy with Valley Health and Universal Health) and the
7
     Vista Health Defendants knew that their claims for payment to the federally funded insurers and
8
     contractors were false, or had deliberately ignored its falsity, or had recklessly disregarded its falsity,
9

10   in violation of the False Claims Act.

11             248.   Desert View Hospital was paid by federally funded insurers based on altered CPT and

12   Revenue Codes (the false certifications).
13
               249.   Had the federally funded insurers and contractors known of the altered CPT and
14
     Revenue Codes, the federally funded insurers and contractors would not have paid on the subject
15
     claims.
16
     D.        Inflated Billing for Outpatient/ER Patients
17

18             250.   Dr. Arik is aware that (since Valley Health’s acquisition of Desert View Hospital in

19   August 2016), Desert View Hospital falsely billed Medicare, Medicaid, and other government

20   subsidized insurers as follows:
21
               251.   Medicare, Medicaid and other government-funded programs have a limit on certain
22
     services/items per day which are reimbursable, such as blood draws.
23
               252.   For example, at times, a patient would require blood draws greater than what is
24
     reimbursable. As a result, if Desert View Hospital would have billed the accurate number of blood
25

26   draws the patient received, some, or most of the blood draws, would not be reimbursed since the

27   government-funded program only pays for a set maximum number.

28

                                                     Page 85 of 91
           Case 2:19-cv-01560-JAD-VCF Document 53 Filed 11/10/20 Page 86 of 91




               253.   To ensure payment for ALL blood draws, including those that would have been
1

2    excluded from reimbursement, Desert View Hospital had a pattern and practice of knowingly and

3    fraudulently billing for the exact number of blood draws allowed by the government-funded programs

4    but increasing the price of the service to encompass all of the blood draws performed on the patient.
5              254.   Specifically, if at the time, Medicare allowed one blood draw per day that was billed at
6
     $36.00 and there were five (5) blood draws performed, Desert View Hospital would bill for one (1)
7
     blood draw but would price it at an inflated, fraudulent rate of $180.00, which Medicare and other
8
     government-funded programs paid.
9

10             255.   This type of fraudulent billing practice was commonly used (and based on information

11   and belief continues to be used) by Desert View Hospital for billing Medicare and other government

12   programs for medications, IV solution, and radiology services.
13
               256.   Desert View Hospital (in conspiracy with Vista Health, Valley Health, and Universal
14
     Health) knowingly submitted the subject false claims to government funded insurers and contractors
15
     in an amount to be determined through discovery.
16
               257.   Desert View Hospital (in conspiracy with Valley Health and Universal Health) and the
17

18   Vista Health Defendants knew that their claims for payment to the federally funded insurers and

19   contractors were false, or had deliberately ignored its falsity, or had recklessly disregarded its falsity,

20   in violation of the False Claims Act.
21
               258.   Desert View Hospital was paid by federally funded insurers for the subject false
22
     claims.
23
               259.   Had the federally funded insurers and contractors known of the inflated charges as
24
     described herein, the federally funded insurers and contractors would not have paid on the subject
25

26   claims.

27   ///

28   ///

                                                     Page 86 of 91
        Case 2:19-cv-01560-JAD-VCF Document 53 Filed 11/10/20 Page 87 of 91




                                           FIRST CLAIM FOR RELIEF
1

2     (Violations of the Federal False Claims Act, 31 U.S.C. § 3729(a)(1)(A) v. Desert View Hospital
                                   and the Vista Health and Dr. Mirza)
3
             260.    Relator incorporates paragraphs 1 through 259 of this Complaint as though fully set
4
     forth herein.
5

6            261.    By virtue of the acts described above (i.e., the medically unnecessary and non-

7    economical inpatient admissions and testing; altered inpatient admission times, altered billing codes,

8    and inflated billing for Outpatient/ER Patients), Defendants Desert View Hospital, Vista Health and
9
     Dr. Mirza knowingly presented or caused to be presented to the government funded insurers and
10
     contractors false or fraudulent claims for payment or approval, in violation of the False Claims Act, 31
11
     U.S.C. § 3729(a)(1)(A).
12
             262.    As alleged herein, Defendants Desert View Hospital’s, Vista Health’s and Dr. Mirza’s
13

14   claims for payment or approval from the government funded insurers and contractors were false.

15           263.    The government funded insurers and contractors, unaware of the falsity of the claims

16   made or submitted by Defendants Desert View Hospital, Vista Health and Dr. Mirza, paid and
17
     continue to pay for claims that would not be paid if the true facts were known.
18
             264.    As a proximate cause of Defendants Desert View Hospital’s, Vista Health’s and Dr.
19
     Mirza’s false claims, the United States of America has been damaged in an amount exceeding the
20
     jurisdictional limit, and to be proven at trial.
21

22                                       SECOND CLAIM FOR RELIEF

23    (Violations of the Federal False Claims Act, 31 U.S.C. § 3729(a)(1)(B) v. Desert View Hospital,
                                        Vista Health and Dr. Mirza)
24
             265.    Relator incorporates paragraphs 1 through 264 of this Complaint as though fully set
25

26   forth herein.

27           266.    By virtue of the acts described above (i.e., the medically unnecessary and non-

28   economical inpatient admissions and testing; altered inpatient admission times, altered billing codes,

                                                        Page 87 of 91
        Case 2:19-cv-01560-JAD-VCF Document 53 Filed 11/10/20 Page 88 of 91




     and inflated billing for Outpatient/ER Patients), Defendants Desert View Hospital, Vista Health and
1

2    Dr. Mirza knowingly made or used a false record or statement to get a false or fraudulent claim paid or

3    approved by the government funded insurers and contractors in violation of the False Claims Act, 31

4    U.S.C. § 3729(a)(1)(B).
5            267.    As alleged herein, Defendants Desert View Hospital, Vista Health and Dr. Mirza
6
     knowingly made or used or caused to be made or used false government funded insurers and
7
     contractors’ claim forms and supporting materials, such as false certifications of the truthfulness and
8
     accuracy of the claims submitted and medical necessity, to get false or fraudulent claims paid or
9

10   approved by government funded insurers and contractors.

11           268.    The government funded insurers and contractors, unaware of the falsity of the

12   statements or records material to the false claims made or submitted by Defendants Desert View
13
     Hospital, Vista Health and Dr. Mirza, paid and continue to pay for claims that would not have been
14
     paid if the true facts were known.
15
             269.    As a proximate cause of Defendants Desert View Hospital’s, Vista Health’s and Dr.
16
     Mirza’s false claims, the United States of America has been damaged in an amount exceeding the
17

18   jurisdictional limit, and to be proven at trial.

19                                        THIRD CLAIM FOR RELIEF

20        (Violations of the Federal False Claims Act, 31 U.S.C. § 3729(a)(1)(C) v. All Defendants)
21
             270.    Relator incorporates paragraphs 1 through 269 of this Complaint as though fully set
22
     forth herein.
23
             271.    By virtue of the acts described above, Defendants knowingly conspired to: (1) present
24
     or cause to be presented to government funded insurers and contractors, false or fraudulent claims for
25

26   payment or approval; and (2) make or use a false record or statement to get a false or fraudulent claim

27   paid or approved by government funded insurers and contractors, in violation of the False Claims Act,

28   31 U.S.C. § 3729(a)(1)(C).

                                                        Page 88 of 91
           Case 2:19-cv-01560-JAD-VCF Document 53 Filed 11/10/20 Page 89 of 91




              272.    The circumstantial evidence demonstrates that Defendants Desert View Hospital, Vista
1

2    Health, Dr. Mirza, Valley Health, and Universal Health knowingly agreed to defraud government

3    funded insurers and contractors.

4             273.    Upon information and belief, Defendants all performed at least one act in furtherance of
5    the conspiracy, ignored warnings from Relator and its prior employees/business partners to cease their
6
     fraudulent conduct at the expense of taxpayers.
7
              274.     The government funded insurers and contractors, unaware of the falsity of the claims
8
     made or submitted by Defendants, and records or statements material to such claims, paid and
9

10   continue to pay Defendants for claims that would not have been paid if the true facts were known.

11            275.    As a proximate cause of Defendants’ conspiracy, the United States of America has been

12   damaged in an amount exceeding the jurisdictional limit, and to be proven at trial.
13
              WHEREFORE, Relators prays for judgment against Defendants, jointly and severally, as
14
     follows:
15
                1. Defendants to pay an amount equal to three (3) times the amount of damages the United
16
     States has sustained because of the Defendants’ actions, plus a civil penalty against Defendants of not
17

18   less than $5,000.00 and not more than $11,000.00 for each violation of 31 U.S.C. § 3729;

19              2. Relators be awarded the maximum allowed pursuant to 31 U.S.C. § 3730(d);

20              3. Defendants to cease and desist from violating the False Claims Act, 31 U.S.C. § 3729, et
21
     seq.;
22
                4. Relators be awarded all costs of this action, including attorney fees, expenses, and costs
23
     pursuant to 31 U.S.C. § 3730(d); and
24
     ///
25

26   ///

27   ///

28   ///

                                                    Page 89 of 91
        Case 2:19-cv-01560-JAD-VCF Document 53 Filed 11/10/20 Page 90 of 91




               5. The United States and Relators be granted all such other relief as the Court deems just and
1

2    proper.

3              DATED this 10th day of November, 2020.

4                                                           JESSE SBAIH & ASSOCIATES, LTD.
5

6                                                           By /s/ Jesse M. Sbaih________________
                                                              Jesse M. Sbaih (#7898)
7                                                              Ines Olevic-Saleh (#11431)
                                                               The District at Green Valley
8                                                              170 South Green Valley Parkway, Suite 280
                                                              Henderson, Nevada 89012
9                                                                   Attorneys for Relator
10

11
                                  RELATOR’S DEMAND FOR JURY TRIAL
12
               Relator, by and through the law firm of Jesse Sbaih & Associates, Ltd., hereby demands a jury
13

14   trial of all issues in the above-captioned matter.

15             DATED this 10th day of November, 2020.

16                                                  JESSE SBAIH & ASSOCIATES, LTD.
17

18                                                  By /s/ Jesse M. Sbaih________________
                                                      Jesse M. Sbaih (#7898)
19                                                     Ines Olevic-Saleh (#11431)
                                                      The District at Green Valley
20                                                    170 South Green Valley Parkway, Suite 280
                                                      Henderson, Nevada 89012
21
                                                            Attorneys for Relator
22

23

24

25

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                                                     Page 90 of 91
        Case 2:19-cv-01560-JAD-VCF Document 53 Filed 11/10/20 Page 91 of 91




1                                   CERTIFICATE OF SERVICE

2          Pursuant to FRCP Rule 5(b), I certify that I am an employee of the law firm of Jesse Sbaih &
3
     Associates, Ltd., and that on this 10th day of November, 2020, I caused SECOND AMENDED
4
     COMPLAINT FOR VIOLATIONS OF THE FEDERAL FALSE CLAIMS ACT & JURY
5
     TRIAL DEMANDED to be served via electronic service to the following:
6
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18

19

20
                                               /s/ Jennifer Davidson____________________
21                                             An employee of Jesse Sbaih & Associates, Ltd.
22

23

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                                                Page 91 of 91
